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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


        IN RE: XARELTO (RIVAROXABAN)           MDL NO. 2592
        PRODUCTS LIABILITY LITIGATION
                                               SECTION L

        THIS DOCUMENT RELATES TO:              MAG. JUDGE NORTH

        DORA MINGO, NO. 15-03469



                                       - - -

                                FEBRUARY 14, 2017

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                  Videotaped deposition of DEMONDES HAYNES, MD,
             held at Bradley Arant Boult Cummings, One Jackson
             Place, 188 East Capitol Street, Suite 400, Jackson,
             Mississippi, commencing at 9:14 a.m., on the above
             date, before Joan L. Pitt, Registered Merit
             Reporter, Certified Realtime Reporter, and Florida
             Professional Reporter.

                                       - - -

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   1   APPEARANCES:                                               1                       ---
   2     BRADLEY D. HONNOLD, ESQUIRE
         Goza & Honnold, LLC                                      2            THE VIDEOGRAPHER: We are now on the record.
   3     111150 Overbrook Road, Suite 250                         3      My name is Melissa Bardwell, videographer here for
         Leawood, Kansas 66211
   4     913.451.3433                                             4      Golkow Technologies. The date today is February 14,
         bhonnold@gohonlaw.com                                    5      2017. The time is approximately 9:14 a.m.
   5     Representing Plaintiffs
   6                                                              6            This videotaped deposition is being held in
   7     MARY CATHERINE WAY, ESQUIRE                              7      Jackson, Mississippi, in reference to the Xarelto
         ADRIA CONKLIN, ESQUIRE
   8     Mitchell Williams                                        8      (Rivaroxaban) Products Liability Litigation. The
         425 West Capitol Avenue, Suite 1800                      9      deponent today is Demondes Haynes, MD.
   9     Little Rock, Arkansas 72201
         501.688.8890                                            10            Will counsel present please introduce
  10     mway@mwlaw.com
         aconklin@mwlaw.com
                                                                 11      themselves and state your affiliations for the
  11     Representing Defendant Bayer                            12      record.
  12
         MARGARET HOFFMAN, ESQUIRE                               13            MR. HONNOLD: Brad Honnold for Ms. Mingo.
  13     Schwabe Williamson Wyatt                                14            MR. CONKLIN: Adria Conklin for Bayer.
         1211 Southwest 5th Avenue, Suite 1900
  14     Portland, Oregon 97204                                  15            MS. HOFFMANN: Margaret Hoffmann for the
         503.796.2868                                            16      Janssen defendants.
  15     mhoffmann@schwabe.com
         Representing Janssen Defendants                         17            MS. WAY: Mary Catherine Way for Bayer.
  16                                                             18            THE VIDEOGRAPHER: The court reporter today is
  17
       ALSO PRESENT:                                             19      Joan Pitt, and she will now swear in the witness.
  18                                                             20            THE COURT REPORTER: Raise your right hand,
         Melissa Bardwell, Videographer
  19                                                             21      please. Do you swear or affirm the testimony you
  20
  21
                                                                 22      give will be the truth, the whole truth, and nothing
  22                                                             23      but the truth?
  23
  24                                                             24            THE WITNESS: I do.


                                                 Page 3                                                                    Page 5
   1                  ---                                         1        THE COURT REPORTER: Thank you.
   2                 INDEX                                        2        DEMONDES HAYNES, MD, called as a witness by the
   3                  ---
                                                                  3   Plaintiff, having been first duly sworn, testified
   4   Testimony of: DEMONDES HAYNES, MD
                                                                  4   as follows:
   5     DIRECT EXAMINATION BY MR. HONNOLD............. 5
   6                                                              5                 DIRECT EXAMINATION
   7                                                              6   BY MR. HONNOLD:
   8           INDEX EXHIBITS                                     7     Q. Dr. Haynes, good morning.
   9   HAYNES          DESCRIPTION        PAGE                    8     A. Good morning.
  10   No. 1 REPORT FOR XARELTO FEDERAL LITIGATION          13    9     Q. Will you tell me your full name, please?
            EXPERT REPORT OF DEMONDES HAYNES, MD,
                                                                 10     A. Demondes Haynes.
  11        FCCP
  12   No. 2 POWERPOINT PRESENTATION           36
                                                                 11     Q. And you're a physician; right?
            DVT AND PE CLINICAL PRESENTATION &                   12     A. Yes, sir.
  13        DIAGNOSIS                                            13     Q. And by specialty or area of training, you are a
  14   No. 3 ELIQUIS LABEL              153                      14   pulmonologist and a critical care physician; is that
            REFERENCE ID: 3961165                                15   right?
  15
                                                                 16     A. That's correct.
       No. 4    DECEMBER 2014 XARELTO LABEL         153
  16           REFERENCE ID: 3676584
                                                                 17     Q. Can you explain to us what, I guess, that area
  17                                                             18   or areas of medicine entail?
  18                                                             19     A. Yes, sir. Pulmonary medicine entails caring
  19                                                             20   for patients with any lung problems. Some examples
  20
                                                                 21   would be asthma, COPD, emphysema, pulmonary fibrosis.
  21
                                                                 22   We take care of patients with DVT, pulmonary embolism.
  22
  23
                                                                 23        In critical care, we take care of patients
  24                                                             24   mostly in the medical ICU, but any patient with a


                                                                                                2 (Pages 2 to 5)
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   1   critical care issue. So anytime you hear of anyone          1     Q. In terms of your day-to-day practice, do you
   2   needing to go to the intensive care unit, we could          2   have patients who are admitted to your service, or is
   3   potentially care for those patients.                        3   your practice primarily consultative where you're seeing
   4      Q. I've heard before the term "intensivist" used.        4   patients at the request of other physicians?
   5      A. Yes.                                                  5     A. If I'm on the ICU service, and the way we do
   6      Q. So as you use the term "critical care                 6   things at the university is we do the ICU service either
   7   medicine," does that also encompass an intensivist          7   two weeks or a month at a time. So if you're on the ICU
   8   practice?                                                   8   service, then those patients are admitted directly to me
   9      A. It does. Most times when people talk about the        9   in the ICU, what we would call the closed ICU model, and
  10   intensivist model it's those people who only do ICU        10   then if I'm not on the ICU service and what we call the
  11   care, that they don't do much hospital-based care or       11   pulmonary consult service, then I'm just in a
  12   clinic, any clinic, actually, if they're just a pure       12   consultative role. So I don't have patients admitted,
  13   intensivist.                                               13   usually, directly to me in the general hospital ward.
  14         Those of us who do some of both when we're in        14     Q. And then how frequently or often are you
  15   the ICU with the intensivists for that period of time,     15   assigned to that constant duty in the ICU?
  16   and then we may not be in for a month, or varying in       16     A. In the ICU, this year, probably about four
  17   academics, then we're clinic or caring for patients in     17   months out of the 12 in the ICU.
  18   the hospital.                                              18     Q. And then does it go consecutive months or every
  19      Q. Then at your facility, are there physicians who      19   other month, or --
  20   are just intensivists?                                     20     A. No, it varies. So it's split among all those
  21      A. Not in my group. Not in the medical group.           21   of us who work in the ICU. I also -- I should have
  22   There are -- well, let's see. The surgeons, no, all of     22   mentioned this -- do one to two months a year in the ICU
  23   them do something different. Neuro, they do a little       23   at the VA Hospital, so that would count in the months.
  24   something different.                                       24   Sometimes it's four months at the university, one to two


                                                  Page 7                                                               Page 9
   1          There is one just intensivist, I think, in the       1   at the VA in the ICU, but it'll vary. So I may be on
   2   cardiac ICU, who only does ICU work.                        2   service in January and not on again until March or
   3       Q. Presently, how does your professional time           3   April.
   4   break down between the various different things that you    4      Q. Does the VA also have a closed ICU model?
   5   might do between direct patient care, teaching,             5      A. Yes.
   6   administration, independent research, things of that        6      Q. Then do you also see patients in either a
   7   nature?                                                     7   freestanding or university-based clinic?
   8       A. So probably 60 percent of my time is patient         8      A. I do. I see patients on Monday afternoons and
   9   care. Maybe 40 percent -- I'm the fellowship program        9   Thursday mornings, and then when I'm on the consult
  10   director, meaning I'm responsible for deciding which       10   service I also see patients on Tuesday afternoons with
  11   trainees come in to specialize in pulmonary and critical   11   the fellows in the fellows clinic. So two to three half
  12   care, so I oversee their training, their curriculum, and   12   days per week.
  13   making sure that they take all the exams and meet all      13         If it is a month where I'm off the ICU service
  14   the requirements. So I have probably about a 35 to         14   and not on the consultative service, I'm mostly doing
  15   40 percent role in administrative time just doing          15   administrative fellowship work. Then I can add extra
  16   fellowship paperwork.                                      16   days based on room availability for clinic.
  17       Q. And then is some of your time devoted to            17      Q. So if there is a physician at the University
  18   independent research or writing that you might do?         18   Medical Center who wants to request a pulmonology
  19       A. We do. Probably 5 percent of the time. I work       19   consultation, how does that work at any given point in
  20   with the fellows on all of their research projects, so     20   time? Does -- is it -- is it known who is on call from
  21   that's counted for some of my research time, and then      21   pulmonology?
  22   I'll spend a small percentage of time, probably less       22      A. Yes. So we have a schedule for daytime hours.
  23   than 5 percent, writing articles, or reviews, or things    23   If one of the hospitalists or someone in the hospital
  24   of that nature.                                            24   says, "I need a pulmonary consult," they would put the


                                                                                            3 (Pages 6 to 9)
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   1   order in and it would go to our office. Most times the      1      Q. Would it be fair to say then that, in terms of
   2   residents would call the fellow who's on service as         2   all your different practice areas where you come into
   3   well, but there's a master schedule that's online, and      3   contact with patients, that 10 to 15 percent is probably
   4   it would go to whoever is assigned to be on.                4   a fair estimation of your patient population that has
   5      Q. Is the fellow on call usually the initial             5   DVT or PE that you deal with?
   6   responder to the request?                                   6          MS. HOFFMANN: New onset?
   7      A. Not always. Probably the majority of the time,        7          MR. HONNOLD: Well, he --
   8   but sometimes the hospitalists will call one of us          8          MS. HOFFMANN: That was your initial question.
   9   directly and say, you know, "I haven't spoken to your       9          MR. HONNOLD: That's right, but you know that
  10   fellow yet, but I would like you to see this patient."     10      his answer kind of delved into some follow-up, too,
  11      Q. So if you have an idea in terms of the               11      so...
  12   percentage of pulmonology consults that might be made      12   BY MR. HONNOLD:
  13   from other members of the medical staff, what percentage   13      Q. Let me ask -- let me ask a question without
  14   are actually responded to in some way by, I guess,         14   interruption, although it was well-pointed, well-done.
  15   senior medical staff or faculty, beyond fellow?            15          MS. HOFFMANN: Thank you, Counsel.
  16      A. Oh. So 100 percent of our consults are seen by       16   BY MR. HONNOLD:
  17   the attending, seen by us. The initial contact, it         17      Q. The -- what's your best estimate then in terms
  18   would be a guess, but maybe 20 percent of the time they    18   of the direct patient contact that you have deals with
  19   might call us directly, depending on who the hospitalist   19   patients that have DVT or PE, whether that's dealing
  20   is, but all of them are always seen by us. Even if the     20   with patients with acute onset or at some other point in
  21   fellow goes initially, they may go and gather initial      21   the -- in the evolution of their disease?
  22   information, but we always see the patients.               22      A. Again, it would really be a guess. Probably --
  23      Q. Okay. So regardless of who the initial               23   just guessing, probably 15 to 20 percent.
  24   responder is, there is always then an attending            24          MS. WAY: Brad, can we get an agreement on the


                                                       Page 11                                                  Page 13
   1   physician --                                                1      record that an objection by one of the defense
   2     A. Yes.                                                   2      counsel is an objection that's good for all?
   3     Q. -- that will see that patient at some point?           3          MR. HONNOLD: Yes.
   4     A. Oh, yes.                                               4          MS. WAY: Thank you.
   5     Q. Can you break down what percentage of either           5   BY MR. HONNOLD:
   6   your direct patient care in the clinic or the consults      6      Q. At some point you prepared a written report in
   7   that you receive, any idea as to what percentage of         7   this case; is that right?
   8   those pertain to dealing with patients with acute new       8      A. Yes, sir.
   9   onset DVT or PE?                                            9          (Haynes Exhibit No. 1 was marked for
  10     A. In the hospital, it would be a guess, but maybe       10   identification.)
  11   10 to 15 percent. In the clinic, maybe about the same,     11   BY MR. HONNOLD:
  12   10, 15, maybe 20 percent.                                  12      Q. I'm going to hand you what we've marked as
  13     Q. And in the clinic, I take it, might those be          13   Deposition Exhibit No. 1. Can you tell me what that is,
  14   patients who are presenting with some constellation of     14   please?
  15   symptoms and haven't yet been diagnosed with DVT or PE?    15      A. Okay. Yes, this looks to be the report that I
  16     A. Some. So some of those are patients that I            16   have prepared as well as, looks like, my CV, reference
  17   follow where they have some other disorders and they       17   list, and depositions and trials.
  18   come in with a complaint and I'll order an ultrasound      18      Q. And this is -- this report is one that you
  19   and diagnose a DVT, or a CT and diagnose a PE.             19   prepared specifically for use in this case relating to
  20           Some of those have already been diagnosed in       20   Ms. Mingo; is that right?
  21   the hospital and are seeing me as follow-up. Some of       21      A. That's correct.
  22   those could be patients who were diagnosed at an outside   22      Q. And if you go to page 27 of the report, you
  23   facility and are coming to see me for an opinion as        23   signed it on January 6 of this year; is that correct?
  24   well.                                                      24      A. That's correct.


                                                                                     4 (Pages 10 to 13)
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   1      Q. Do you have -- do you either know or have an          1   the Yaz litigation.
   2   estimate as to how much time it took you to prepare the     2       Q. And Yaz as you use the term is an oral
   3   report?                                                     3   contraceptive; is that right?
   4      A. Probably about 35 to 40 hours.                        4       A. Yes.
   5      Q. Do you have any type of documentation in terms        5       Q. And do you know, the report that you prepared
   6   of billing records or correspondence that might reflect     6   in that case, did you sign it?
   7   or show specifically how much time you spent?               7       A. I believe I did.
   8      A. Yes, I keep a list of time that I spent on the        8       Q. Did you give a deposition in that case?
   9   case on my computer.                                        9       A. I did not.
  10      Q. And have you sent invoices to anyone for -- to       10       Q. Was Ms. Davis your primary contact in terms of
  11   be reimbursed or compensated for your time that you        11   counsel contact on that case?
  12   spent on the case?                                         12       A. She was.
  13      A. Not yet.                                             13       Q. Have you yourself taken care of patients where
  14      Q. So what is the total amount of time that you         14   you rendered a diagnosis of either DVT or pulmonary
  15   believe you have committed to this project?                15   embolus induced by use of oral contraceptives?
  16         And when I say "this project," I mean not just       16       A. Yes. Usually those had some other factors with
  17   the report, but all of your work on the case, review and   17   it, but I definitely have taken care of patients who
  18   everything.                                                18   have had a venous thromboembolism while taking oral
  19      A. Meetings and records review?                         19   contraceptives.
  20      Q. Yes.                                                 20       Q. Have you ever written in a medical record for a
  21      A. Maybe about 50, 50 to 60 hours, if that              21   patient that you felt that the use of any oral
  22   includes meetings.                                         22   contraceptive either caused or contributed to cause in
  23      Q. When were you retained to work on this case?         23   some way the patient's onset of DVT or PE?
  24      A. I believe I received the first records about         24       A. Probably. I can't remember that for certain,


                                                 Page 15                                                                 Page 17
   1   July of 2016. July or August.                               1   but probably.
   2      Q. And with whom was your first contact on this          2     Q. Why do you say "probably"?
   3   case?                                                       3     A. Just knowing the number of patients that we
   4      A. I believe it was Diana Davis.                         4   see, because we're sometimes consulted by the
   5      Q. And did you speak with anyone else other than         5   obstetricians and gynecologists as well for patients
   6   Diana Davis before you received materials on the case?      6   that may develop DVT or PE, so more than likely I've
   7      A. There was another attorney that met with me.          7   probably written that it was a contributor in some case.
   8   He was with her, but I cannot remember his name.            8     Q. And when you use the term "likely was a
   9      Q. So did the first contact come by way of a             9   contributor in some case," what do you mean when you use
  10   telephone call, or did someone literally show up at your   10   that phrase?
  11   office and just come in?                                   11        MS. WAY: Object to form.
  12      A. No, I actually received an e-mail from               12        THE WITNESS: I guess, if this answers your
  13   Ms. Davis a few months before that, and we met briefly     13     question, I'm usually looking at everything that's
  14   before that, but the first records are not until about     14     going on with the patients, all of their risk
  15   July or August. I think we met maybe in January or         15     factors, so if that's a risk factor, or if they have
  16   February of that year.                                     16     a DVT or PE and they don't have any other risk
  17      Q. Had you ever met Ms. Davis before?                   17     factors, I may say that's the more likely cause.
  18      A. I had.                                               18   BY MR. HONNOLD:
  19      Q. You had?                                             19     Q. And when you use the phrase "more likely," do
  20      A. Yes.                                                 20   you mean probably did?
  21      Q. Okay. And in what context had you met                21     A. Yes.
  22   Ms. Davis before?                                          22     Q. And in those instances where you've taken care
  23      A. I worked with her on another litigation,             23   of patients that have developed DVT or PE induced or
  24   reviewing records and doing a report. I believe it was     24   probably induced by use of oral contraceptives, have you


                                                                                       5 (Pages 14 to 17)
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   1   prescribed anticoagulant to those patients?                 1     you start talking about other patient records.
   2     A. Yes.                                                   2         MR. HONNOLD: You can be nervous if I asked for
   3     Q. And in that patient population, what have been         3     who -- what were their names and all of that and
   4   the types of anticoagulants that you use for care and       4     tell me their date of birth and where they lived and
   5   treatment of their VTE?                                     5     anything like that about their social history. If I
   6     A. I can't remember the last one that I've taken          6     do that, then I'm out of bounds and you can raise
   7   care of that was using oral contraceptives, but it would    7     heck, but I think I tried to be fairly cautious
   8   have been, if they were hospitalized, if we were giving     8     about the way that I've approached it.
   9   parenteral therapy, it would have been with heparin,        9   BY MR. HONNOLD:
  10   either IV or subcutaneous.                                 10     Q. So you did review some individual patient
  11         If it was oral or if we were discharging them        11   records in your work on the Yaz case?
  12   home on oral, it would have been one of the direct         12     A. Yes.
  13   orally acting anticoagulants, Factor Xa's, or warfarin.    13     Q. Okay. And specifically what company was it
  14     Q. So in that patient population you have                14   that you were working on behalf of in the Yaz
  15   prescribed warfarin for -- for the treatment of DVT or     15   litigation?
  16   pulmonary embolus?                                         16     A. So that's a great question. I don't know for
  17     A. Oh, I'm sure I have, because -- yeah.                 17   sure. I believe Diana was counsel for Bayer. I don't
  18     Q. In that work on the Yaz case, how much time did       18   know if any others were involved.
  19   you spend on that, on that assignment?                     19     Q. And you know Bayer is involved in this case as
  20         MS. WAY: Object to form.                             20   well where you're working?
  21         THE WITNESS: I don't remember. That was about        21     A. Yes, sir.
  22     maybe four years ago. I can't remember                   22     Q. In your work on the Yaz case, did you either
  23     specifically.                                            23   meet with or talk to directly any Bayer employees?
  24                                                              24     A. Not that I know of. As far as I remember, it


                                                      Page 19                                                           Page 21
   1   BY MR. HONNOLD:                                             1   was just attorneys that I met with.
   2     Q. In the Yaz litigation, did you specifically            2     Q. In this case, have you met with or spoken with
   3   look at records of individual patients in that work?        3   directly any employees either of Bayer or Janssen?
   4     A. I remember looking at, I believe, two to three         4     A. No.
   5   patients.                                                   5     Q. Have you ever been called upon by sales
   6         MS. WAY: Brad, are we going to get on to this         6   representatives of Bayer or Janssen?
   7     litigation anytime soon? Just curious.                    7     A. Yes.
   8         MR. HONNOLD: Eventually, I'm sure we will. So         8     Q. Okay. Tell me about that.
   9     I think this is probably proper fodder for                9     A. Most of the pharmaceutical companies will visit
  10     exploration in cross-examination.                        10   us either in the office, "office," I mean clinic, or
  11         MS. WAY: I don't agree with that, but --             11   sometimes they may make an appointment and come to our
  12         MS. HOFFMANN: I think it -- I think you've           12   office if they have information to share with us about a
  13     been allowed some latitude. I don't think you will       13   product or about a program.
  14     be allowed to talk about specific patient records        14     Q. And what is it that you recall about sales
  15     that he looked at.                                       15   representatives either from Bayer or Janssen calling on
  16         MR. HONNOLD: And I've not. I've asked if he          16   you about Xarelto?
  17     looked at them.                                          17     A. Anything specific other than they usually come
  18         MS. HOFFMANN: I agree. I agree.                      18   by and say, "Here's our product. Here's how it's
  19         MR. HONNOLD: You're doing a lot of prospective       19   available." This is -- almost all the drug reps
  20     advising of me here rather than just stating             20   approach things the same way, and so they'll say,
  21     objections, so --                                        21   "Here's our product. Here's our product information
  22         MS. HOFFMANN: You're making us nervous.              22   insert."
  23         MR. HONNOLD: Huh?                                    23         If there is a special patient assistance
  24         MS. HOFFMANN: You're making us nervous when          24   program, sometimes they'll give that information.


                                                                                        6 (Pages 18 to 21)
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   1   Sometimes they'll tell us which insurance companies         1      Q. And what kinds of medicines are those?
   2   cover if they have that information with them.              2      A. Those are for COPD. And also for Actelion
   3     Q. When is the last time you think that you were          3   Pharmaceuticals, A-c-t-e-l-i-o-n.
   4   called on by a sales representative related to Xarelto?     4      Q. And for Actelion, what was the product?
   5     A. I can't tell you the exact time.                       5      A. Probably Tracleer, T-r-a-c-l-e-e-r, and
   6     Q. Recently, or not so recently?                          6   Opsumit, O-p-s-u-m-i-t.
   7     A. Oh, probably recently, recently being within --        7      Q. And what kind of medicines are those?
   8   we see a lot of reps that come to our hospital, so I        8      A. Those are medications for treatment of
   9   would say probably within the last three to four months,    9   pulmonary hypertension.
  10   I'm sure.                                                  10         And there's one other I just thought about.
  11     Q. And the sales reps that you've seen, do you           11   This is probably five or six years ago. Sanofi-Aventis.
  12   know whether they were affiliated with Bayer or Janssen?   12   I believe it was for Lovenox.
  13     A. That's a great question. I'm not sure. I              13      Q. And Lovenox is a low molecular weight heparin?
  14   think Bayer, because at least the last one that came by.   14      A. Yes.
  15          Well, I don't know. I don't know which company      15      Q. You're probably too young for this, but did you
  16   actually does Xarelto, if it's Bayer or Janssen, so I      16   do any expert witness work or consultation on the
  17   just know she was a Xarelto rep.                           17   fen-phen litigation?
  18     Q. And have those sales representatives ever left        18      A. No.
  19   written information with you in the form of sales pieces   19      Q. You are too young for that.
  20   or marketing pieces?                                       20         MS. HOFFMANN: But we're not.
  21     A. Yes.                                                  21         MR. HONNOLD: We're definitely not.
  22     Q. Have they ever left medical literature with           22   BY MR. HONNOLD:
  23   you?                                                       23      Q. In those consultant arrangements that you've
  24     A. Not that I know of.                                   24   done, what kind of work did you do?


                                                     Page 23                                                    Page 25
   1     Q. Have you ever been invited to attend any sort          1       A. Usually would serve as -- on the speakers
   2   of educational meetings or sessions where another           2   bureau where we would do promotional lunch or dinner
   3   physician might be speaking on Xarelto?                     3   programs.
   4     A. No.                                                    4       Q. Would you ever travel for that?
   5     Q. Have you had occasion when those sales                 5       A. Yes.
   6   representatives have called upon you to actually look at    6       Q. And what -- for any of those, whether it was
   7   materials that were on either a laptop computer or a pad    7   for Sanofi-Aventis, or Actelion, or Astra Zeneca, what
   8   of some sort?                                               8   types of places would you go to?
   9     A. Probably, because most of the reps usually --          9       A. Most in the Southeast. What's the farthest
  10   well, yeah, most of them sometimes will bring in an iPad   10   I've been? Yeah, most in the Southeast that I can --
  11   and say, "Oh, let's show you a dosing or "Show you some    11       Q. So does that mean Brookhaven or Atlanta?
  12   approval," or something of that nature, so I'm sure I've   12       A. Ah-hah. So I have been to a couple of
  13   looked at one of them, an iPad or laptop.                  13   different states. So I've been to Alabama, Arkansas,
  14     Q. Have you yourself served as either a consultant       14   places in Mississippi, and Kansas. Actually, I went a
  15   or a speaker for Bayer or Janssen related to Xarelto?      15   little farther, now that I think about it. That's kind
  16     A. No.                                                   16   of Midwest, isn't it?
  17     Q. Have you ever served as a speaker or consultant       17       Q. It depends on what part. People close to
  18   for any pharmaceutical product?                            18   Oklahoma get confused sometimes.
  19     A. Yes.                                                  19       A. Ah-hah.
  20     Q. Which ones?                                           20       Q. Where in Kansas did you go?
  21     A. For AstraZeneca Pharmaceuticals.                      21       A. Wichita City. I guess it is --
  22     Q. What product?                                         22       Q. That's definitely Midwest.
  23     A. Bevespi, B-e-v-e-s-p-i, Aerosphere, and               23       A. Maybe it's not City. Maybe it's just Wichita.
  24   Daliresp, D-a-l-i-r-e-s-p.                                 24   I don't know. I'm confused.


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   1      Q. I wrote down Wichita.                                 1      A. Yes.
   2      A. Okay.                                                 2      Q. And was it a contract that you had to sign?
   3      Q. And then when you would go to those places,           3      A. Yes.
   4   would you be compensated for that time or work?             4      Q. And then the compensation that you would
   5      A. Yes.                                                  5   receive for that work, would it go directly to you, or
   6      Q. And how would you be paid for that?                   6   would it go to your academic institution?
   7      A. After the program, the company would send an          7      A. Directly to me.
   8   honorarium check after submitting paperwork.                8      Q. Are you currently on any type of speakers
   9      Q. And would you be reimbursed for your expenses?        9   bureau?
  10      A. Yes.                                                 10      A. Yes, I'm still on the speakers bureau for
  11      Q. In terms of your work with AstraZeneca, did you      11   AstraZeneca and Actelion.
  12   ever physically go to any office or location of            12      Q. And when was the last time that you made a
  13   AstraZeneca itself?                                        13   presentation either for AstraZeneca or Actelion?
  14      A. No.                                                  14      A. Actelion was probably January, and AstraZeneca,
  15      Q. When you did -- well, the same question for the      15   probably about two weeks ago.
  16   other entities. Actelion or Sanofi-Aventis, did you        16      Q. And you mentioned Actelion, you said January.
  17   ever go to their headquarters or offices for any sort of   17   Does that mean January of 2017?
  18   training or work?                                          18      A. Oh, yes, 2017.
  19      A. No.                                                  19      Q. In total during the duration of those three
  20      Q. For the work that you did for those three            20   relationships with those companies, how many meeting
  21   pharmaceutical companies, did you give prepared            21   presentations have you made?
  22   presentations or remarks?                                  22      A. So I don't remember for Sanofi, because that's
  23      A. Yes.                                                 23   been probably at least five, maybe six years. They
  24      Q. And the materials that you presented, were           24   average, for them, I'm guessing, probably two to three


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   1   those materials that you prepared yourself, or had they     1   per year.
   2   been prepared and generated by someone else?                2         For Actelion, during the last year, for 2016,
   3      A. No, prepared and generated by someone else.           3   probably about six. And for AstraZeneca, for the last
   4      Q. And was the situation such that you would find        4   year, was probably about -- maybe about six also.
   5   yourself sometimes giving a talk or a PowerPoint            5   That's a guess. I can't tell you for certain.
   6   presentation before or after dinner where other             6     Q. And then the compensation that you derived from
   7   physicians were attending?                                  7   those meetings, would you be paid by the hour or by the
   8      A. Yes, usually during dinner.                           8   specific event?
   9      Q. And then who -- who did your -- in terms of you       9     A. No, by the specific event.
  10   finding out when and where you were supposed to be for     10     Q. And how much would you be paid for each event?
  11   any of those meetings, who kind of directed traffic in     11   Or what was the range, I guess, of payments?
  12   that regard? Who did you get your assignments from?        12     A. From $1,000 to $2,700, based on the travel.
  13      A. They have a speakers bureau, yeah, that's            13     Q. And how was it that you entered into those
  14   usually where we e-mail, the speakers bureau, that         14   arrangements, and by that I mean, how did they -- I
  15   coordinates the meetings, the travel, and things of that   15   guess, how did these companies find you and how did you
  16   nature.                                                    16   secure that position on being on the speakers bureau?
  17      Q. The AZ, the Actelion, and the Sanofi                 17     A. If I remember, most of them had sent me an
  18   arrangements, did you have any sort of written             18   e-mail and said, "You have been recommended by someone.
  19   agreements with any of those three companies?              19   Would you be interested in serving on our speakers
  20      A. Oh, yes.                                             20   bureau? If so, send us a copy of your CV."
  21      Q. Were they contracts?                                 21     Q. And so these were all situations where the
  22      A. Contracts, yes.                                      22   companies contacted you?
  23      Q. And was the contract a document that was             23     A. Yes.
  24   presented to you by the company?                           24     Q. You've never been in a situation where you


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   1   yourself have inquired of a company whether you could       1   Okay? I have found out before by failing to ask this
   2   serve on their speakers bureau?                             2   question that I've taken the depositions of expert
   3     A. No.                                                    3   witnesses who were Eagle Scouts, or who had saved the
   4     Q. Are there other members of your department or          4   lives of somebody in a small town, and suddenly that
   5   division that serve also as members of speakers bureaus     5   became a point of discussion when they showed up for
   6   for pharmaceutical companies?                               6   trial of the case.
   7     A. Yes.                                                   7          So anything like that in your -- in your
   8     Q. Is it a fairly common thing?                           8   background that you can think of?
   9     A. You know, it kind of depends. In the                   9      A. Not that I can think of.
  10   university setting, it depends. In our department of       10      Q. Okay. Ever run or held political office?
  11   internal medicine, you have different divisions, so        11      A. No, not yet. Just joking.
  12   across the divisions, there's some who do more than        12      Q. Given this morning's news, there may be --
  13   others.                                                    13          MS. HOFFMANN: Yeah.
  14        In the just pulmonary division, probably a            14      Q. -- there may be a chance.
  15   couple of us do. Yeah, I guess I would say it's fairly     15          MS. HOFFMANN: There's a position open.
  16   common, now that I think about it, throughout the          16   BY MR. HONNOLD:
  17   department of medicine.                                    17      Q. Significant position in churches or church
  18     Q. Other than the speakers bureaus, of which             18   groups?
  19   you're serving now, do you have any other ongoing          19      A. In my church, I'm the chair of the usher
  20   relationships with any pharmaceutical company? And the     20   ministry and used to be head of the personnel committee,
  21   question is intended to include any other ongoing          21   I guess it was.
  22   litigation work, expert witness work, things of that       22      Q. And not to pry, but is that a church here in
  23   nature.                                                    23   Jackson?
  24        MS. HOFFMANN: Objection. Form.                        24      A. It is.


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   1         THE WITNESS: Outside of this one?                     1     Q. Noteworthy athletic accomplishments or
   2   BY MR. HONNOLD:                                             2   achievements?
   3      Q. Yes.                                                  3     A. No.
   4      A. No.                                                   4     Q. No? Okay.
   5      Q. So currently the Mingo case related to Xarelto        5     A. Unfortunately not.
   6   is the only ongoing expert witness work you're doing for    6     Q. Winner of the spelling bee or anything like
   7   a pharmaceutical company?                                   7   that?
   8      A. Yes.                                                  8     A. No.
   9      Q. Do you have any other relationships with              9     Q. No? Okay. I'll stop.
  10   pharmaceutical companies, whether it's serving as a lead   10           Did I ask you enough questions that will kind
  11   investigator on clinical trials or running or managing a   11   of trigger what I was talking about?
  12   clinical trial site?                                       12     A. Yes. Yes.
  13      A. No.                                                  13     Q. Let's look at Exhibit 1 a little more closely.
  14      Q. Where did you grow up?                               14   When you were -- either when you were initially
  15      A. Louisville, Mississippi.                             15   contacted or at some time during the course of your
  16      Q. I haven't looked at the map for a while, so --       16   engagement, were you -- were you actually presented with
  17      A. It's about an hour and a half north of here.         17   an issue that Bayer was specifically looking to get
  18   Kind of east central Mississippi. Maybe a little less      18   expert testimony on?
  19   than an hour and a half.                                   19           For example, were you told, "We're really
  20      Q. And I've looked at your -- at your CV. In            20   looking for you to provide opinions on this specific
  21   addition to all of those accomplishments on there, is      21   subject or area"?
  22   there anything else of significance that I should know     22           MS. WAY: Object to the form.
  23   about?                                                     23           MS. HOFFMANN: And I object to the extent that
  24         I'll tell you why I'm asking this question.          24     it calls for attorney-client privileged information.


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    1     If you can answer that in a general way without           1   graphs. Some of them I did, but most of them not.
    2     repeating conversations between you and the lawyers,      2      Q. And that was going to be my next question. In
    3     then I think it's a permissible question.                 3   terms of the various tables, graphs, and illustrations
    4           THE WITNESS: I was asked to review the medical      4   that are in the report --
    5     records of Ms. Mingo and give my opinion about what       5      A. Yes.
    6     occurred in that case.                                    6      Q. -- let's go through that, and I'd like to --
    7   BY MR. HONNOLD:                                             7   I'd like to identify the ones that you prepared
    8     Q. Let's look at page 2. I'll -- I'll stop being          8   yourself, the ones that you may have yourself found in
    9   vague about this. If you go to your roman numeral III       9   texts or other resources, and then things that you might
   10   there in the middle of the page, you see it says where     10   have gotten from someone else. Can we do that?
   11   you write, quote, "I have been asked to discuss the,"      11      A. Yes.
   12   and then there's a long list of stuff. Do you see that?    12          MS. WAY: And, sorry, on the record real quick,
   13     A. Yes.                                                  13      because I've produced a slide show in response to
   14     Q. Okay. So other than that stuff there where you        14      the notice today, some of those charts, graphs,
   15   said you were asked to look at anything, is there any --   15      visuals appear in there, so I just want the record
   16   is there anything else that you were asked to do in        16      to reflect that that's been produced in response to
   17   terms of the scope of your work or engagement in this      17      the notice.
   18   case?                                                      18          MR. HONNOLD: Okay, great. Just -- and let's
   19           MS. HOFFMANN: So you're interpreting that          19      take that up, since you've mentioned it, so it's
   20     sentence as a waiver of the attorney-client              20      clear on the record what we're talking about.
   21     privilege, is that your position, Counsel?               21          (Haynes Exhibit No. 2 was marked for
   22           MR. HONNOLD: No, I'm not interpreting it as        22   identification.)
   23     anything. I'm just following up to see if he was         23   BY MR. HONNOLD:
   24     asked to do anything other than what's listed there.     24      Q. I'm going to hand you what we've marked as


                                                       Page 35                                                    Page 37
    1         MS. WAY: And I'll object and instruct him not         1   Deposition Exhibit No. 2. Doctor, can you tell me what
    2      to answer to the extent that it calls for any            2   that is?
    3      communications with counsel.                             3      A. Yes, sir. This is a copy of a PowerPoint
    4   BY MR. HONNOLD:                                             4   presentation that I did in June of 2016.
    5      Q. Go ahead.                                             5      Q. And is that a PowerPoint that you prepared
    6      A. Oh, okay. No, nothing further.                        6   yourself?
    7      Q. So here's what I'm asking, and it's pretty            7      A. Yes.
    8   simple: You clearly see there where you attribute           8      Q. And the various graphics that are in Exhibit 2,
    9   having been asked by someone to discuss certain topics      9   whether it's the photographs, tables, or charts, are
   10   or issues; right?                                          10   those ones that you -- that you developed yourself or
   11      A. Yes.                                                 11   used with attribution that came from other sources?
   12      Q. And so what I'm trying to find out is whether        12      A. Other source. Attributed to another source.
   13   there were specific areas or issues that you were also     13   I'm trying to think. I don't think -- I want to look
   14   asked to comment on either where you declined to do so     14   and make sure -- that I took any of my own patient
   15   or you felt that it was outside your area of               15   pictures and put in here. I think these were all from
   16   professional expertise.                                    16   another source, but I just wanted to make sure that I
   17         MS. WAY: Same objection.                             17   didn't include any.
   18         THE WITNESS: Not that I know of.                     18          Yes, as far as I see, all of these are from
   19   BY MR. HONNOLD:                                            19   other sources.
   20      Q. Now, in terms of the actual organization and         20          Ah. Well -- yeah, no, that's correct.
   21   format of your report, is it something that you came up    21          Yeah. Yes.
   22   with on your own?                                          22      Q. All right. Can I look at that again one more
   23      A. With the attorneys. Like, I didn't put the --        23   time --
   24   I didn't sit down at the computer and do all the nice      24      A. Yes, sir.


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    1      Q. -- and maybe add a little bit of clarity or           1      A. Yes.
    2   specificity to the things you said as you were going        2      Q. And what -- what was that product?
    3   through it?                                                 3      A. Eliquis, I believe. E-l-i-q-u-i-s.
    4         So what was the purpose of preparing Exhibit          4      Q. And do you on occasion prescribe Eliquis in
    5   No. 2?                                                      5   your practice?
    6      A. It was an educational program.                        6      A. I do.
    7      Q. And who was the audience?                             7      Q. So similar to this presentation that was done
    8      A. The audience was actually employees. I believe        8   for Pfizer that brings into the -- that brought into the
    9   it was for Pfizer Pharmaceuticals. They had what they       9   discussion of another pharmaceutical company, and so
   10   called -- it was kind of an internship where they came     10   even though this was an ongoing consultation or work, I
   11   to the medical center and had various faculty that         11   understand why you didn't mention it to me previously,
   12   talked about VTE, from diagnosis, to treatment, to         12   the way I asked the question.
   13   follow-up, and things of that nature.                      13         So in the context of doing kind of single or
   14      Q. And did you say Pfizer?                              14   one-off sorts of presentations like this one that's
   15      A. I believe it was Pfizer.                             15   shown in Exhibit 2, any others like that that you did
   16      Q. Okay. And that's -- they're a pharmaceutical         16   for pharmaceutical companies?
   17   company?                                                   17         MS. WAY: Object to the form.
   18      A. Yes.                                                 18         MS. HOFFMANN: Object to the form.
   19      Q. And did someone at Pfizer contact you to ask         19         THE WITNESS: Not that I know of. That --
   20   whether you would have interest in preparing materials     20      because I was asked to do it as -- the people were
   21   and giving a presentation related to DVT and PE?           21      asked from the department, so, no, I didn't include
   22      A. No, it was someone at the University Medical         22      that since I didn't receive any compensation.
   23   Center, one of the faculty there.                          23   BY MR. HONNOLD:
   24      Q. And who was that?                                    24      Q. But you knew the audience? At some point


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    1     A. I believe it was our program director,                 1   someone -- is it your understanding that at some point
    2   Dr. Herrin.                                                 2   someone from the pharmaceutical company asked Dr. Herrin
    3     Q. Herring, as in H-e-r-r-i-n-g?                          3   about doing this program?
    4     A. No G. Sorry. H-e-r-r-i-n.                              4            MS. HOFFMANN: Objection.
    5     Q. And Dr. Herrin is a program director?                  5            MS. WAY: Object to the form.
    6     A. Yes, for the internal medicine residency               6            THE WITNESS: I'm assuming. He asked me.
    7   program.                                                    7   BY MR. HONNOLD:
    8     Q. And what -- what does that mean, program               8     Q. Was it your understanding that employees of
    9   director?                                                   9   Pfizer were going to be in the audience?
   10     A. So, like I'm the fellowship program director          10     A. Yes.
   11   that decides for people who come into pulmonary, in        11     Q. And you knew that in advance?
   12   their training, he decides if all the internal medicine    12     A. Yes.
   13   residents at the medical center, there's a three-year      13     Q. Any of those individuals that were in the
   14   residency program, so he's responsible for all those       14   audience, have any of those individuals gone on to be
   15   coming in, all their certifications, and the curriculum    15   your assigned sales representative related to Eliquis?
   16   and the training of those trainees.                        16     A. Yes.
   17     Q. Did anyone, whether it was Dr. Herrin, you, or        17     Q. And who are those people, if you know?
   18   the university, receive any consideration of any type      18     A. I can't tell you the name. I'm sure I've met
   19   from Pfizer for putting on this program?                   19   at least two or three of them before. Like most of the
   20     A. I did not. I can't answer for the department.         20   companies, they come by the office. Promotional
   21     Q. And either at the time of the presentation or         21   materials. So I know their faces and probably will
   22   now, did you have any understanding as to whether Pfizer   22   remember the name when I saw it with the name badge,
   23   had some sort of product that was, I guess, in the         23   but...
   24   treatment milieu of DVT and PE?                            24     Q. Do you know the name of your current sales


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    1   representative or representatives related to Xarelto?       1   correct?
    2     A. I know exactly who she is, but I can't tell you        2      A. Yes.
    3   her name right now. It's -- you know, we see a lot of       3      Q. The third page in Exhibit 2 is just a
    4   reps, so, sorry, I can't remember their --                  4   cross-section of a heart. Is that something you would
    5     Q. But it sounds like that if their -- if you saw         5   have gotten from some other source?
    6   the particular individual, you would associate her with     6      A. I believe I pulled that one from the Internet.
    7   being your Xarelto rep?                                     7      Q. Then the next illustration that appears has
    8     A. Yes.                                                   8   something in the lower right-hand corner that says
    9     Q. Of the various medications that are in the DOAC        9   "UpToDate," and it shows the deep veins of the leg. Is
   10   or NOAC class, which of those do you currently prescribe   10   this something that would have been taken from the
   11   on occasion for patients?                                  11   UpToDate section?
   12     A. Xarelto and Eliquis.                                  12      A. Yes.
   13     Q. Currently you are not prescribing Pradaxa for         13      Q. And do you have access to UpToDate?
   14   patients?                                                  14      A. Yes.
   15     A. No.                                                   15      Q. Okay. Do you use it frequently?
   16     Q. And is there a specific reason for that or some       16      A. Yes.
   17   explanation for that?                                      17      Q. Do you find it to be a source of information
   18     A. No, not particularly. I -- no, not                    18   that's up-to-date and materials written by
   19   particularly.                                              19   well-qualified authors?
   20     Q. In terms of your current practice habits in not       20          MS. WAY: Object to the form.
   21   prescribing Pradaxa, was that view formed or influenced    21          THE WITNESS: Most of it.
   22   in any way based upon any clinical trials that you've      22   BY MR. HONNOLD:
   23   read related to Pradaxa or any comparative                 23      Q. Have you either referred your residents or
   24   epidemiological studies or other reports related to the    24   fellows to use or access UpToDate on occasion?


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    1   drug?                                                       1     A. Yes.
    2      A. No.                                                   2     Q. Is it fair to state that anything that has the
    3      Q. Anything specific related to the elimination          3   UpToDate logo or mark on it came from an article that's
    4   profile, half-life, renal issues related to Pradaxa?        4   posted on UpToDate?
    5      A. No.                                                   5     A. Yes.
    6      Q. Have sales representatives for Pradaxa called         6     Q. Why is it that when you prepared slides that
    7   upon you on occasion?                                       7   came or the data came from a particular source that you
    8      A. Probably.                                             8   included the citation on the slide?
    9      Q. Do they continue to call on you?                      9     A. Usually when we do our PowerPoint presentations
   10      A. I don't remember the last time we've seen one        10   at the university we want to attribute the source of the
   11   with Pradaxa, but I don't remember.                        11   information.
   12      Q. Do you know whether there are other members          12     Q. And that's just proper academic practice?
   13   of -- in your division who do on occasion prescribe        13     A. It is.
   14   Pradaxa for patients?                                      14     Q. The PowerPoint deck also contains three slides
   15      A. I don't know.                                        15   that have "DVT Diagnostic Algorithm," and I don't -- I
   16      Q. Let's go back to Exhibit 2, and we were              16   don't see a specific citation source, so what about --
   17   starting by trying to identify what was -- perhaps came    17   what about those, the algorithms?
   18   from other sources. And the PowerPoint includes many       18     A. I guess I left the citations off that.
   19   slides that have headings and then bullet points;          19   Actually, I can see now how the slide is drawn. I
   20   correct?                                                   20   didn't put the citations at the bottom of each of those.
   21      A. Yes.                                                 21     Q. And so this likely came from another source as
   22      Q. Some of those you might have prepared in terms       22   well?
   23   of your own information, but others are -- you attribute   23     A. Yes.
   24   to a particular citation or source in the literature;      24     Q. As you sit here today, do you think you know


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    1   where that came from?                                       1      A. Yes.
    2     A. Not specifically.                                      2      Q. And you do have a citation there to JAMA; is
    3        MS. WAY: Hey, Brad, can we --                          3   that right?
    4        MR. HONNOLD: Yes.                                      4      A. Yes.
    5        MS. WAY: If you're going to continue to ask            5      Q. And then as you look at that algorithm and the
    6     him questions about it, can we make a copy so that        6   way that it's font and the way that it's structured,
    7     he can have it in front of him?                           7   does it make you think or consider whether that other
    8        MR. HONNOLD: Instead of me just holding it             8   algorithm that we looked at earlier in Exhibit 2 might
    9     up --                                                     9   have also came from that same JAMA source?
   10        MS. WAY: Yeah.                                        10      A. I don't know for sure.
   11        MR. HONNOLD: -- and having him squint at it?          11      Q. Okay. The next are some, looks like, lung
   12        MS. WAY: And for the record to reflect --             12   images of some sort, and you've got the citation or
   13        MR. HONNOLD: You don't like that?                     13   source to those; is that right?
   14        MS. WAY: Not in particular.                           14      A. Yes.
   15        MR. HONNOLD: You know I'm kidding. We've been         15      Q. Would that have come from another publication,
   16     going a little more than an hour, so why don't we        16   or did you actually go to Dr. Waxman's website or the
   17     take a break. We can do that.                            17   Cedars website?
   18        MS. WAY: Okay.                                        18      A. I don't remember if it came from the
   19        THE VIDEOGRAPHER: The time now is 10:10 a.m.          19   publication or if I went to their website. Some
   20     We are off the record.                                   20   institutions have things on the website that you can go
   21        (Recess from 10:10 a.m. until 10:24 a.m.)             21   and take and you put this on it, but I can't remember
   22        THE VIDEOGRAPHER: This begins Disk 2 of               22   the -- where this one came from.
   23     today's deposition. The time now is 10:24 a.m. We        23      Q. The next thing in terms of a chart or graph or
   24     are back on the record.                                  24   table is a CT algorithm that is then followed by a


                                                     Page 47                                                     Page 49
    1                                                               1   number of, it looks like, CT slices. Do you know where
    2   BY MR. HONNOLD:                                             2   those came from?
    3      Q. Doctor, we've made a copy of Exhibit 2 and put        3      A. Probably -- probably from the Internet. I
    4   that before you, so what I would like to do then is go      4   think I went on there -- looking -- just looking at the
    5   to -- we got through the DVT diagnostic algorithm, and      5   quality of some of them, I probably just copied some
    6   then I think the next thing I have a question about is,     6   from the Internet and put on there four of them.
    7   there's a photograph of a patient that has a discolored     7      Q. Then there is a slide called PE Treatment, and
    8   leg. Would that have been taken from another source?        8   immediately after that there is an image that looks like
    9      A. Yes.                                                  9   lung vasculature, but I don't know for sure.
   10      Q. Do you -- can you tell from looking at either        10      A. Yes.
   11   this page or the one following whether these are from --   11      Q. And do you know where you found that?
   12   both from UpToDate?                                        12      A. I don't remember. It's probably from the
   13      A. I don't remember if this one, the first one, is      13   Internet. It may be from UpToDate too, but I don't
   14   from UpToDate.                                             14   remember exactly where I pulled this one.
   15      Q. And if we go two or three more slides, there's       15      Q. Then there's a Modified Wells Criteria slide
   16   something that looks like it's from New England Journal    16   that you have an citation to JAMA. After that then
   17   of Medicine; is that right?                                17   there is a -- the Padua scoring chart. Do you know
   18      A. Yes.                                                 18   where that came from?
   19      Q. And the specific source would be the article         19      A. That's another one where it looks -- as I'm
   20   that's cited there, the Tapson publication down at the     20   looking at how I drew the slide, some of the references
   21   bottom?                                                    21   were cut off, so I can't remember.
   22      A. Yes.                                                 22      Q. As you look at the next slide about the Padua
   23      Q. Then the next thing is a V/Q scan algorithm.         23   findings, is it likely it came from that Barbar and
   24   Do you see that?                                           24   others article?


                                                                                   13 (Pages 46 to 49)
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    1      A. I bet it did.                                         1   or anything like that, but at least we've stumbled
    2      Q. And then after the summary, at the very end you       2   across one area where there -- on page 15, where there
    3   had to give some credit to Gray's Anatomy; right?           3   is an error; right?
    4   Couldn't be complete without at least one Gray's slide?     4     A. Uh-huh.
    5      A. Exactly.                                              5     Q. Yes?
    6      Q. All right. Thank you.                                 6     A. Yes.
    7          Let's go back to Exhibit 1, your report, and I       7     Q. And just so it's clear, I mean, that -- to
    8   want to follow up then on the various tables, graphs and    8   suggest that EINSTEIN-DVT study at Day 21 put patients
    9   illustrations that are in the report Exhibit 1.             9   on Xarelto 20 milligrams twice daily, that's just flat
   10          Now that we've gone through Exhibit 2, I do see     10   out wrong; right?
   11   that some of them, or a few of them, at least, may have,   11         MS. WAY: Object to the form.
   12   in fact, come from Exhibit 2. What I want to do is go      12         THE WITNESS: Yes, that's a mistake there.
   13   to -- let's find one that doesn't have a particular        13   BY MR. HONNOLD:
   14   source.                                                    14     Q. Okay. Now, what I want to do is kind of scan.
   15          If you go to page 15, in -- just below the          15   Maybe you could scan through with me the remainder of
   16   middle of the page on page 15, there is a, I don't know    16   the report to see if you discuss EINSTEIN in any other
   17   how you best describe that, whether it's a graph or a      17   places where it suggests that 20 milligrams was given
   18   table of some sort. Do you know where that came from?      18   twice daily after Day 21.
   19      A. Yes, this data is from the EINSTEIN-DVT study.       19         It looks like it happens again on page 17; is
   20      Q. So would it have actually been in the                20   that right?
   21   publication itself?                                        21     A. Yes.
   22      A. I don't -- I don't remember if this actual           22     Q. And then it looks like it happens again on page
   23   graph was from the publication. I don't remember that.     23   20; is that right? Because on page 20 there's a chart
   24      Q. Okay. And here's why: There's a couple things        24   now for the extension portion of the EINSTEIN trial?


                                                       Page 51                                                       Page 53
    1   on here. As you look at that and see the EINSTEIN-DVT       1     A. Correct.
    2   study design, after Day 21, was Xarelto actually given      2     Q. The extension patients didn't get 20 milligrams
    3   as 20 milligrams twice daily?                               3   twice daily, did they?
    4     A. That's a mistake.                                      4     A. No, once daily.
    5     Q. Well, it caught my eye and I just wanted to see        5     Q. And so so far we've found three places where
    6   where this came from.                                       6   there would be need for correction to show that the
    7     A. Yeah, no, no, that's a mistake.                        7   EINSTEIN patients, whenever -- after Day 21, whether it
    8     Q. Okay. Do you know where this -- where this             8   was in the primary study or the extension, where it says
    9   came from on page 15?                                       9   "20 milligrams twice daily," those should all be
   10     A. The chart?                                            10   corrected to "20 milligrams once daily"; right?
   11     Q. Uh-huh. Yes.                                          11     A. That's correct.
   12     A. With the exception of that mistake, from the          12     Q. In your work on this case, have you reviewed
   13   study. The data from the study, or -- the actual chart     13   any data or material where clinical trial subjects would
   14   itself?                                                    14   have been receiving 20 milligrams of Xarelto twice
   15     Q. Yes.                                                  15   daily?
   16     A. No, I don't think it -- I don't remember if it        16         MS. HOFFMANN: I'm sorry. Can you say that
   17   was in the study or not.                                   17     again?
   18     Q. Then where did that chart come from?                  18         MR. HONNOLD: Maybe.
   19     A. Oh, it's probably one that I created with             19   BY MR. HONNOLD:
   20   the -- with the attorneys, if it wasn't directly from      20     Q. In your work -- in your work on this case, have
   21   the study.                                                 21   you reviewed any data or material where patients were
   22     Q. All right. So if -- and I don't necessarily           22   receiving 20 milligrams of Xarelto twice daily?
   23   want to go through your report to identify other places    23     A. I don't think so.
   24   where there might be a need for editing or corrections     24     Q. As you sit here today, can you think of a


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    1   clinical trial where any treatment arm had 20 milligrams    1   pulled some of the articles that I had. So as far as
    2   of Xarelto twice daily?                                     2   going to, like, PubMed or doing a lit search or anything
    3       A. Not that I can think of.                             3   like that, no, I didn't do that.
    4       Q. Do you think -- well, let me ask it this way:        4      Q. Is there any way by looking at those citations
    5   In terms of those graphics that are at page 15 and 17       5   which are in Exhibit B, Nos. 1 through 36, which are the
    6   and page 20 that have the "20 milligrams twice daily,"      6   ones that you had in your personal repository versus
    7   are you the one that made those key strokes that            7   what was given to you by counsel?
    8   actually typed "20 milligrams twice daily" in that          8      A. I can't remember which all ones that I had.
    9   format?                                                     9   Several of them I know for sure, but others I can't
   10       A. I can't remember. I'm probably thinking I just      10   remember.
   11   copied and just did there and changed the dose, but I      11      Q. And what -- at the time when you went to your
   12   did have the attorneys help me with some of the            12   repository to get certain articles, what was your
   13   graphics, so that may have been one of the ones that was   13   personal practice in terms of maintaining a literature
   14   worked on. I sent them what I wanted it to look like.      14   file, a repository, under certain topics?
   15       Q. And looking at this in a little bit more detail     15      A. So since we do journal club reviews and things
   16   now, does it refresh your recollection at all as to what   16   of that nature at work, we pull a lot of different
   17   the original source was of the structure of this           17   articles, and so sometimes it may be by the journal,
   18   graphic, or was it something that you sketched out         18   sometimes it may be by the diagnosis, sometimes it may
   19   yourself and had somebody prepare using some sort of --    19   be by the author. So saving them in just kind of
   20   some sort of software or program?                          20   different files.
   21       A. I believe it was sketched out. I don't believe      21      Q. Okay. And you do that yourself?
   22   it looked like this in the study, but I have to look at    22      A. Yes.
   23   the study to know for sure. I can't remember if it was     23      Q. And then for you then to access these or round
   24   laid out in a graph like this in the study or not.         24   them up, what -- was it a database that you could


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    1      Q. If you go to your Exhibit B of your report,           1   search, or were you just able to recall by memory which
    2   there is a document that's called Reference List?           2   were in this topic area?
    3      A. Yes.                                                  3      A. Usually I was going -- if I had maybe a topic
    4      Q. Can you go to that?                                   4   area that said DVT/PE, or some of these would have
    5      A. Yes.                                                  5   fallen under pulmonary hypertension too, because I keep
    6      Q. How was the reference list arrived at? What I         6   some DVT and PE things there. Sometimes I remember
    7   mean by that is, how did -- how did you decide that, I'm    7   authors that have written about VTE. So I think there
    8   especially interested in Items 1 through 36, medical        8   would have been various ways saved on my computer.
    9   literature citations, how they were derived at?             9      Q. And I want to make sure I understand the
   10      A. Some of these I had in my own, I guess,              10   distinction as to why it is that you made specific
   11   repository of journal articles, and some were sent by      11   citations or footnotes to certain things in the text of
   12   the attorneys to ask if I'd reviewed them or would         12   your report versus just having something listed on the
   13   review them.                                               13   reference list.
   14      Q. Did you yourself do any independent research         14          So what was, I guess, your approach or mind-set
   15   for your work on the report, Exhibit 1?                    15   as to when you would actually specifically do a footnote
   16      A. As far as pulling articles?                          16   citation in the text of the report versus having
   17      Q. Yes.                                                 17   something on the reference list?
   18      A. Yes.                                                 18      A. I don't know if I understand what you're
   19      Q. And what was your methodology or approach in         19   asking. Are you asking me is there something I don't
   20   doing that?                                                20   have referenced?
   21      A. Well, sorry, let me -- let me --                     21      Q. No, I guess what I'm trying to understand is,
   22      Q. Sure.                                                22   if you have something on the reference list, but it's
   23      A. I guess I shouldn't say independent research,        23   not specifically the subject of a particular footnote or
   24   because I already had some of those articles, so I just    24   discussion, specific discussion in the text of the


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    1   report, why is it on the reference list?                    1   on the reference list?
    2     A. Oh. So if there's any information in here              2      A. Well, I put it on there because I reviewed --
    3   where I've derived information from my opinions that may    3   any articles that I reviewed while I was working on this
    4   have been included in the reference, so I don't -- I        4   report, I listed there.
    5   can't remember. Let me look and see.                        5      Q. All right. And maybe that's -- we've
    6         I don't know if I specifically put -- yeah, I         6   discovered kind of the distinction then. If it was an
    7   don't think I put references in my opinions regarding       7   article that you reviewed before you prepared -- before
    8   Ms. Mingo and the specific treatment, I don't think.        8   you actually prepared the final report, it got put on
    9   Yeah, I didn't put any in there.                            9   the reference list?
   10     Q. Okay. So I want to make sure I understand. If         10      A. Yes.
   11   you go to Exhibit B then, and let's just randomly pick     11      Q. Okay. And I want to make sure I understand.
   12   one of the ones on the reference list, for example,        12   But if you were writing an academic paper, though, for
   13   Reference No. 5, the Agnelli article regarding apixaban,   13   submission for consideration for publication, the
   14   do you see that?                                           14   bibliography would be -- would be limited to things that
   15     A. I'm sorry. Which page?                                15   you specifically cite during the -- in the paper; right?
   16     Q. Yeah. Let's go to -- let's go to the reference        16          MS. HOFFMANN: Objection.
   17   list, Exhibit B.                                           17          MS. WAY: Object to form.
   18     A. Oh.                                                   18          THE WITNESS: Yes, because those are written
   19     Q. And let's just pick a random reference item on        19      specifically with citations for everything. There's
   20   there, for example, No. 5, the Agnelli article. Do you     20      not as much of an opinion when you're writing those.
   21   see that?                                                  21      The medical literature requires that citations --
   22     A. Uh-huh.                                               22      there are certain criteria for the -- for the
   23     Q. Yes?                                                  23      citations that we have to follow.
   24     A. Yes.                                                  24   BY MR. HONNOLD:


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    1     Q. I think, if we go through, you won't have a            1      Q. And from my perspective, I just want to make
    2   specific footnote to that article, so I'm trying to         2   sure that I -- you know, for a particular article that's
    3   understand why a particular article might be on the         3   not specifically either referenced by title either in a
    4   reference list when it's not specifically discussed or      4   footnote or somewhere in the discussion part of your
    5   cited in the text of the report.                            5   report, I'm just trying to make sure whether there's
    6     A. That would have been because I based my                6   anything that's particularly important about that
    7   opinions on literature that I reviewed, so I may not,       7   article that you might talk about someday.
    8   like I said, in my opinions have cited a certain            8         MS. WAY: Object to form.
    9   article, but reading those articles or being familiar       9         MS. HOFFMANN: Objection.
   10   with those may have factored into my opinion.              10   BY MR. HONNOLD:
   11     Q. Okay. And so I don't mean to pick on Reference        11      Q. And so that's -- so, again, let's pick No. 5.
   12   Point No. 5, but it's just the one my eyes focused on.     12   So as you look at that, I don't know how to get there
   13   So if you go ahead and look at Reference Point No. 5       13   other than by asking you, so, like, as you sit here
   14   then in terms of the authors, the title of the article,    14   today, is there anything about Reference No. 5 that
   15   and its source, can you then go look at some specific      15   strikes you as being particularly important to this
   16   place in your report to say, "Oh, here's why reference     16   topic that you might someday talk about it in detail?
   17   No. 5 was important to me," because there is a portion     17         MS. HOFFMANN: Objection.
   18   of the report that correlates to that?                     18         THE WITNESS: I don't know if specific
   19     A. Not that I can think of offhand.                      19      questions will be asked about that article, if
   20     Q. Okay. And so that's what I'm -- that's what           20      that's what you're asking.
   21   I'm trying to get at. So, again, using No. 5 as an         21   BY MR. HONNOLD:
   22   exemplar, is it -- is it just because No. 5 was in         22      Q. And as you look at it now and see the title and
   23   either your personal repository for DVT or NOACs or that   23   the -- and the source of it, is there anything that
   24   counsel gave it to you that you just decided to put it     24   comes to mind about the significance of that article?


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    1       A. Not necessarily.                                     1   to remind yourself of the -- of the scope of the
    2       Q. Okay. And let's see if I can make it a little        2   literature and publications in that area? Would that be
    3   more general, to speed up. For any other reference item     3   another fair way to describe it?
    4   that's on the -- that's on the list in Exhibit B, if        4      A. Some of those, yes.
    5   it's -- if it's not discussed or referenced specifically    5      Q. You're not saying, though, that there's -- in
    6   in the report or it's something where there's an actual     6   terms of an article that's not discussed or not cited,
    7   footnote citation, is there any way that we can tell by     7   you can't sit here today to say for a specific reference
    8   looking at either the reference list or the report as to    8   point there is some specific issue or statement or
    9   its particular importance?                                  9   conclusion drawn from one of those articles that is
   10           MS. WAY: Object to the form.                       10   actually of significance in your report?
   11           MS. HOFFMANN: Objection.                           11          MS. HOFFMANN: Objection.
   12           THE WITNESS: I'm not sure.                         12          MS. WAY: Object to form.
   13           MS. WAY: I believe it's been asked and             13          THE WITNESS: I don't know if I can say that.
   14       answered.                                              14   BY MR. HONNOLD:
   15   BY MR. HONNOLD:                                            15      Q. Meaning that there may be some statements that
   16       Q. Well, I want to make sure that we're                16   are in some of those articles that are echoed in some
   17   communicating. Do you kind of understand what I'm          17   way generally or specifically in your report?
   18   asking as to -- I'm trying to figure out what importance   18      A. Yes.
   19   a particular reference item has to you if it's not         19      Q. Now, do you still have a file on this case in
   20   discussed specifically in the text of your report or       20   terms of the materials that you looked at and reviewed?
   21   it's not footnoted in some way.                            21      A. Yes.
   22           MS. WAY: Form. Asked and answered.                 22      Q. And where is that file?
   23           THE WITNESS: So, to me, for references, when       23      A. Saved on my computer.
   24       I'm giving an opinion on something, if there's         24      Q. So the items on the reference list, those are


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    1      something I reviewed regarding this, we do it all        1   things that are -- do those all exist in electronic
    2      the time for our academic talks, even if we don't        2   format on your computer?
    3      have it cited on individual slides, you'll have a        3      A. Yes.
    4      reference list there to say, okay, I've reviewed         4      Q. So when you received articles from counsel, did
    5      these things in preparing this talk.                     5   you receive them electronically?
    6          So when we do -- this one just doesn't happen        6      A. Yes.
    7      to have it, but some of our talks, you may have          7      Q. And then for the articles that you searched in
    8      footnotes at the bottom, but at the end you always       8   your own repository, those already existed in some way
    9      have a reference list for things you reviewed while      9   electronically; right?
   10      putting together that presentation.                     10      A. Yes.
   11   BY MR. HONNOLD:                                            11      Q. And you've now -- you've merged those sources
   12      Q. And let's see if we can come up with a topic or      12   together so that all of these articles on the reference
   13   category then that we can agree on. Would it be fair to    13   list exist in one place?
   14   say then that the things that are on the reference list,   14      A. Yes.
   15   if not specifically mentioned in the text of the report    15      Q. In terms of the medical records and
   16   or cited, would be things that you looked at for general   16   information, or medical records that you got, do you
   17   background on the topic? Would that be a fair way to       17   still have those?
   18   say it?                                                    18      A. Yes.
   19      A. Yes.                                                 19      Q. And in what format do those exist?
   20      Q. Or maybe another way is that it was a body of        20      A. Electronic.
   21   literature that you looked at again to perhaps refresh     21      Q. Have you done any electronic highlighting or
   22   your recollection as to the topic in general that you      22   interlineation on any of your -- the medical records you
   23   always have knowledge of because you're a doctor that      23   got?
   24   works in that area, but you looked at those things just    24      A. Yes, on some.


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    1      Q. Okay. And do those exist on your electronic           1   someone, so I've always had at least one copy of the PI,
    2   version of those?                                           2   but these different iterations were sent to me.
    3      A. Yes, sir.                                             3     Q. So 37 through 47 on the reference list, those
    4      Q. And the depositions or other materials that you       4   were sent to you by counsel?
    5   received, including deposition exhibits, were those         5     A. Yes.
    6   things that you received electronically?                    6     Q. And do you also have those electronically on
    7      A. Yes.                                                  7   your computer?
    8      Q. There's references on the third page of Exhibit       8     A. Yes.
    9   B to some exhibits from the Misselwitz deposition, and      9     Q. Let's go through some of the specific sections
   10   those are Items 48 and 49. Do you see those?               10   of the report. I think Section 1 speaks for itself.
   11      A. Yes.                                                 11   That's just kind of a shorthand statement regarding your
   12      Q. Did you actually also review the Misselwitz          12   background and qualifications with reference to your
   13   deposition itself?                                         13   more detailed CV; is that right?
   14      A. I remember receiving them, and if they're on         14     A. Yes.
   15   there, I must have looked at them.                         15     Q. In terms of your clinical practice relating to
   16      Q. Okay. But if you look at 48 and 49, they just        16   the care of patients with DVT or PE, we've already
   17   refer to the exhibits.                                     17   talked about that to some degree; correct?
   18      A. Oh.                                                  18     A. Yes.
   19      Q. So did you -- did you --                             19     Q. I've been throwing around those abbreviations
   20      A. Oh, the deposition. No, no. I see what you're        20   like everybody that might read this or hear it knows
   21   saying.                                                    21   what we're talking about. Can you just explain what DVT
   22      Q. If you would have received the Misselwitz            22   and PE, what those stand for, just very generally?
   23   deposition, it would have been listed there                23     A. Sure. A DVT is a deep vein thrombosis, so it's
   24   independently; correct?                                    24   a clot that forms in one of the deep veins of the body.


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    1      A. Yes.                                                  1     Q. And then PE?
    2      Q. For example, if you go to Reference Items 53          2     A. PE is pulmonary embolism. So that is when a
    3   and 54, the depositions of Dr. Jordan and Dr. Keith, you    3   clot travels from one of the deep veins into the
    4   did get their depositions and exhibits in their             4   pulmonary arteries, which are the arteries in the
    5   entirety; correct?                                          5   cardiovascular -- cardiopulmonary circulation.
    6      A. Yes.                                                  6     Q. Do all PEs have their origin -- or do all PEs
    7      Q. And so you can tell me with certainty that you        7   originate from a deep vein of the leg?
    8   did not receive the Misselwitz deposition transcript;       8     A. No, probably -- I'd have to look at my exact
    9   right?                                                      9   reference, but probably maybe 10 percent may come from
   10      A. I believe so.                                        10   the upper extremities, and then there's some that we
   11      Q. Did you receive any depositions of Bayer or          11   would say, whether you include the pelvic veins as part
   12   Janssen employees?                                         12   of the leg or not, some can originate in the renal
   13      A. No.                                                  13   veins, especially patients with various disorders,
   14      Q. Other than the Deposition Exhibits 15 and 17 of      14   whether they be cancer, renal disease. So not all would
   15   the Misselwitz deposition, were you presented with any     15   originate in the legs.
   16   company or corporate documents from either Janssen or      16     Q. And is it fair to say for pulmonary embolus
   17   Bayer?                                                     17   that they don't independently develop within the lung
   18      A. No.                                                  18   structure itself?
   19      Q. The Xarelto labels that are listed in Reference      19     A. For the majority. So there's some literature
   20   Items 37 through 47, were those things that you had,       20   that may state that there's what we would call de novo
   21   were given to you, or that you accessed independently      21   or clots that form in the pulmonary vasculature from
   22   for some reason?                                           22   somebody who has some disorders like pulmonary
   23      A. These were sent to me. I had -- well, in some        23   hypertension, but the majority I would say, yes, would
   24   form. You can always get the PI from the reps or           24   originate somewhere else.


                                                                                     18 (Pages 66 to 69)
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    1     Q. And it's probably the vast majority originate           1     Q. Okay. Do you think that you've -- do you think
    2   somewhere else?                                              2   you've actually read that article?
    3     A. Oh, yes.                                                3         MS. HOFFMANN: Objection.
    4     Q. So the title pulmonary embolism may be somewhat         4         THE WITNESS: I'm not sure.
    5   confusing in that, even though it's a clot that's in the     5   BY MR. HONNOLD:
    6   lung, the vast majority of them don't originate or start     6     Q. Have you reviewed any original underlying
    7   in the lung; right?                                          7   clinical trial data, for example, data that might be in
    8     A. Right. So that's where the -- I'm assuming              8   SAS format that actually was the raw data that came from
    9   where the embolic part of it comes from. Usually             9   any clinical trial related to Xarelto?
   10   embolic means it breaks off and starts from somewhere       10         MS. WAY: Object to form.
   11   and goes somewhere else.                                    11         THE WITNESS: No. I'm not sure what SAS data
   12     Q. In terms of your use of rivaroxaban and                12     is, so maybe I should have asked for that before I
   13   Eliquis, is it limited to the care and treatment of         13     said "no."
   14   patients that either have DVT or PE, or do you also         14   BY MR. HONNOLD:
   15   prescribe it in terms of new prescriptions for patients     15     Q. If you've not -- if you looked at it, you'd
   16   that either have had atrial fibrillation or have new        16   know it, and all I wanted to know is whether you've
   17   onset atrial fibrillation?                                  17   looked at it, so that's good.
   18     A. Most of the patients with atrial fibrillation          18     A. Okay.
   19   are treated by our cardiologists, so I can't think of       19     Q. In terms of the actual information about the
   20   where I've started an anticoagulant on a new AFib           20   various clinical trials for Xarelto that you cite in
   21   patient without a cardiologist.                             21   your report and discuss, does the information that you
   22     Q. So is it fair to state then that your -- the           22   include in your report essentially come from the
   23   vast majority of your personal experience in terms of       23   published trial papers themselves where you actually
   24   prescribing or using Eliquis and/or Xarelto for patients    24   have an abstract and then will have the sections that


                                                          Page 71                                                      Page 73
    1   is in the context of DVT or PE?                              1   talk about methodology and results and conclusions?
    2     A. Yes.                                                    2      A. Yes.
    3     Q. In terms of your reference list, in looking at          3      Q. I'd like to go to Section III than begins about
    4   Exhibit B, can you tell whether any of your literature       4   the middle of the page on page 2 of your report. Do you
    5   that's cited there are publications that are related to      5   see that?
    6   Xarelto or any other NOACs in the context of atrial          6      A. Yes.
    7   fibrillation?                                                7      Q. And I think this is just kind of a matter of
    8     A. So the Chest Guidelines, I'm certain, mention           8   housekeeping more than anything, but you see that in
    9   something about atrial fibrillation in them, but I'm not     9   Section III you set forth in bullet point fashion the
   10   sure if any of the others do.                               10   opinions that you state that you hold to a reasonable
   11     Q. And while it's certainly possible that some of         11   degree of medical certainty in this case? Do you see
   12   these -- some of the articles on your reference list in     12   that?
   13   passing or in some way may include some comment about       13      A. Yes.
   14   atrial fibrillation, at least by going by the title and     14      Q. And there are, looks like, six bullet points;
   15   the apparent subject matter of the articles, you really     15   is that right?
   16   looked at literature from the perspective of diagnosis,     16      A. Yes.
   17   care, and treatment of DVT and PE; is that correct?         17      Q. Then if you go to your report, Section VIII
   18     A. That's correct.                                        18   that begins on page 25, you also have another -- you
   19     Q. Do you know, have you ever read the ROCKET             19   have a heading there that's called Case-Specific
   20   trial itself or any articles that comment on the ROCKET     20   Opinions. Do you see that at page 25?
   21   trial? I'll just -- if you're not familiar with it,         21      A. Yes.
   22   ROCKET was the clinical trial that led to the approval      22      Q. And I tried to -- I tried to figure this out
   23   of the atrial fibrillation indication for Xarelto.          23   myself, but I kind of gave up as to whether the opinions
   24     A. I'm familiar with it.                                  24   that you state in Section III on pages 2 and 3, whether


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    1   those are separate and apart from the opinions that you     1   a numeric value on that, so that's kind of a general
    2   have in Section VIII on pages 25, 26, and 27, or whether    2   statement, I think, that would be my opinion.
    3   there's some overlap between those, those two areas.        3      Q. Okay. And would it be that your Footnote No.
    4          Can you look at that and then just -- and then       4   2 on page 4 would be further support for that first
    5   just try to give me some sense whether those are two        5   bullet point?
    6   actual completely independent sections of opinions or       6      A. Yes.
    7   whether there's some -- some overlap or repeat of some      7      Q. And generally, as it relates to that first
    8   of those?                                                   8   bullet point, what is it about DVT and PE that make
    9          MS. WAY: Sorry, Brad, what's the question?           9   those conditions potentially life-threatening?
   10      Whether there's an overlap between the summary and      10      A. So the DVTs usually lead to PE, and what makes
   11      the case-specific?                                      11   them life-threatening is pulmonary emboli, the PE, can
   12          MR. HONNOLD: Kind of.                               12   cause right heart failure and sudden death. I should
   13   BY MR. HONNOLD:                                            13   say death overall. It's not always sudden.
   14      Q. I guess maybe I can put it this way: The list        14      Q. And then you mention that the conditions
   15   of your opinions that you set forth on page 2 and 3, do    15   require certain treatment, including use of
   16   those last two bullet points essentially incorporate the   16   anticoagulant therapy. Is it true that the treatment
   17   things that you're also saying at pages 25 through 27?     17   for DVT and PE can also potentially carry with it or
   18      A. Are these last two bullet points also                18   create life-threatening complications or adverse
   19   incorporated into the case-specific summary?               19   reactions?
   20      Q. Right. Or put another way, do those last two         20      A. Yes.
   21   bullet points, are those the bullet points that            21      Q. And is it true that that manifests primarily in
   22   essentially summarize what you -- what you're saying on    22   bleeding, the form of bleeding?
   23   pages 25 through 27?                                       23      A. Yes.
   24      A. It's included in the summary of that, but            24      Q. Let's go to Bullet Point No. 2 that's on page 2


                                                  Page 75                                                         Page 77
    1   there's additional information there in 25 through 27       1   then. Can you point me to either the specific area by
    2   that's not in the bullet points.                            2   page or paragraph in your report, including citations,
    3      Q. Okay. All right. Let's -- let's go through            3   if you have them, that serve as the basis or support for
    4   some of these, because I really want to understand. On      4   that, that opinion?
    5   some of these opinions that you state on page 2 and 3, I    5      A. Yes. If you go to page 11, it's kind of a -- I
    6   want to know within the report where the -- where the       6   don't know what you call it. After the last full
    7   underlying basis or support for these things are.           7   paragraph, kind of in a block setting, it's from the
    8          So let's start with the first bullet point on        8   American College of Chest Physicians, 10th edition of
    9   page 2 --                                                   9   Antithrombotic Guidelines.
   10      A. Okay.                                                10      Q. And so you make a specific footnote reference
   11      Q. -- that says, quote, "DVT and PE are common,"        11   then to that publication, and that's Footnote No. 8 on
   12   and then it goes on. Do you see that?                      12   page 11, and that discussion continues on to page 12;
   13      A. Yes.                                                 13   correct?
   14      Q. Okay. So in your report for that first bullet        14      A. Correct.
   15   point, where would we look to for the information that     15      Q. And then if you look at page -- at page 12
   16   serves as the basis or support for that first bullet       16   where there is a paragraph that starts with the phrase
   17   point?                                                     17   "The 2016 Antithrombotic Guideline," do you see that?
   18      A. That would be from Centers for Disease Control,      18      A. Yes.
   19   the Reference No. 1.                                       19      Q. Then that discussion continues on through pages
   20      Q. And so you're talking about Reference No. 1,         20   12, 13, and 14; correct?
   21   meaning what's cited there on page 3?                      21      A. Yes.
   22      A. Yes, as -- let's see -- as well as -- that's --      22      Q. And so when it uses the phrase "2016
   23   I guess that would be my opinion as well. So there's a     23   Antithrombotic Guideline," is that still the publication
   24   citation for, when you say common, I guess we don't put    24   that's cited in Footnote No. 8 on page 11?


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    1      A. Yes.                                                  1      A. Not to my knowledge.
    2      Q. And so just so I'm clear then, that everywhere        2      Q. In any of your work on this case, did you look
    3   on pages 11, 12, and 13 that makes reference to             3   at at all or were you presented with any data or medical
    4   antithrombotic guidelines, that's talking about Citation    4   literature regarding the RECORD trials for rivaroxaban?
    5   or Footnote No. 8 on page 11?                               5      A. I don't believe I did.
    6          MS. WAY: Object to form.                             6      Q. And just so you know, I'll just orient you too,
    7          THE WITNESS: Yes.                                    7   RECORD was clinical trials that led up to the approval
    8   BY MR. HONNOLD:                                             8   of the orthopedic surgery prophylaxis indication.
    9      Q. Now, if you go to page 12 and that last -- that       9      A. I've heard of that, but, no, I did not look at
   10   last paragraph on page 12, there's a sentence that         10   that.
   11   begins in that paragraph, about halfway through, that      11      Q. So for your work on this case, you did not read
   12   starts with the phrase "In contrast, because Xarelto and   12   anything related to the RECORD trials and you weren't
   13   other NOACs." Do you see that?                             13   presented with any data or information on RECORD?
   14      A. Yes.                                                 14      A. I don't believe so.
   15      Q. And there's a couple sentences that continue         15      Q. Okay. And, again, in some of your reference
   16   down to the bottom of page 12. That statement, is          16   lists or other papers, there might be some --
   17   that -- is that one that you derived, I guess, on your     17      A. Mention of it.
   18   own, or is that a point that is also set forth and         18      Q. -- mention or comment --
   19   emphasized in the 2016 Antithrombotic Guidelines?          19      A. That's what I was thinking.
   20      A. I don't remember. I think the guidelines make        20      Q. -- in there, but separate and apart from that,
   21   mention about health care delivery system and treating     21   you've not looked at any materials specifically for
   22   outpatient. If I'm not mistaken, I remember reading        22   RECORD?
   23   something about it. I don't remember if it's that exact    23      A. Correct.
   24   sentence.                                                  24          MR. HONNOLD: I think it's time for a little


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    1     Q. Okay. And here's why: Whether it's true or             1     break, isn't it? We've gone about another hour.
    2   not, that's a significant statement, and I just wanted      2         MS. HOFFMANN: Could be.
    3   to know whether you are stating that yourself as an         3         THE VIDEOGRAPHER: The time now is 11:12 a.m.
    4   independent opinion or whether it's something that comes    4     We are off the record.
    5   from somewhere else and you're essentially citing it        5         (Recess from 11:12 a.m. until 11:26 a.m.)
    6   based upon your reference to the guidelines?                6         THE VIDEOGRAPHER: This begins Disk 3 of
    7         MS. HOFFMANN: Objection.                              7     today's deposition. The time now is 11:26 a.m. We
    8         MS. WAY: Objection.                                   8     are back on the record.
    9         THE WITNESS: So, yes, that is my opinion.             9   BY MR. HONNOLD:
   10   BY MR. HONNOLD:                                            10     Q. Doctor, we're back on the record after a short
   11     Q. Okay.                                                 11   break, and I want to continue with kind of the tedium
   12     A. But I believe that's from the data that I             12   that we were going through before, before our break.
   13   reviewed in the guidelines.                                13         And I think we've made it to Bullet Point No. 3
   14     Q. You yourself have not undertaken any                  14   on page 2, and this is the opinion that starts with the
   15   independent study to look at that issue; correct?          15   phrase "Xarelto was tested and demonstrated." Do you
   16     A. No.                                                   16   see that?
   17     Q. And have you yourself participated in any type        17     A. Yes.
   18   of clinical trial related to the use of rivaroxaban for    18     Q. So as we did before, for Bullet Point No. 3,
   19   the care and treatment of any sort of VTE, whether it's    19   I'd like you to point out or direct me to the place in
   20   DVT or PE?                                                 20   your report that you set forth the basis or support for
   21     A. No.                                                   21   that opinion.
   22     Q. To your knowledge, did your medical center            22     A. The references for it?
   23   serve as a trial site for the EINSTEIN-DVT, EINSTEIN-PE,   23     Q. Well, or the specific page and paragraphs in
   24   or EINSTEIN-Extension trials?                              24   the report, as well as references, if there are any,


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    1   so --                                                       1      Q. Do you have an understanding of why Xarelto was
    2     A. So I know that data from that comes from               2   tested against placebo only in the Extension trial?
    3   EINSTEIN-DVT and EINSTEIN-PE and XALIA studies.             3           MS. WAY: Object to form.
    4     Q. And so that would -- it looks like that then           4           THE WITNESS: Not sure why they designed it
    5   would be Section V that starts on page 14; is that          5      that way.
    6   right?                                                      6   BY MR. HONNOLD:
    7     A. Yes, should be.                                        7      Q. Because, essentially, in the Extension study
    8     Q. And it looks like then that the discussion --          8   Xarelto is being tested against nothing; right?
    9   your discussions about the various DVT or PE clinical       9           MS. HOFFMANN: Objection.
   10   trials is -- takes up a significant portion of your        10           MS. WAY: Object to form.
   11   report, starting at page 14, and really continuing all     11           THE WITNESS: Against placebo.
   12   the way through the very top of page 23; is that right?    12   BY MR. HONNOLD:
   13     A. Yeah, that includes all of those, yes.                13      Q. Right. Okay. Against no active treatment?
   14     Q. And let's -- let's spend some time talking            14      A. Yes, that's correct.
   15   about some of the sections and the subsections then. Is    15      Q. So let's -- let's look specifically at your
   16   there any way that by way of overview you can just         16   section on the EINSTEIN-DVT clinical trial that starts
   17   provide a kind of an introduction to the series of         17   at page 15. Can you go there?
   18   EINSTEIN trials and how they were designed and what they   18      A. Yes.
   19   were set up in hopes of showing or proving?                19      Q. Is it -- is it fair to say that your comments
   20           MS. HOFFMANN: Objection.                           20   about the EINSTEIN-DVT clinical trial essentially
   21           MS. WAY: Objection.                                21   discuss the general structure or study design, and with
   22   BY MR. HONNOLD:                                            22   some discussion of the principal safety outcome and the
   23     Q. Just generally. Generally. And I'm not trying         23   results, and that all happens on page 15 and 16; is that
   24   to quiz you, but just kind of generally set it out.        24   true?


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    1      A. The way patients were set up for EINSTEIN-DVT?        1           MS. HOFFMANN: Objection.
    2      Q. Yes.                                                  2           THE WITNESS: Yes.
    3      A. So the ones that -- there was the arms where          3   BY MR. HONNOLD:
    4   they were treated with Xarelto versus enoxaparin and        4     Q. And the source of all of that information that
    5   warfarin, and the EINSTEIN-DVT study, those were            5   you include on page 15 and 16 would have been the actual
    6   specifically with DVTs.                                     6   published report of the EINSTEIN-DVT clinical trial; is
    7      Q. Okay.                                                 7   that true?
    8      A. And in the EINSTEIN-PE trial, it was set up the       8           MS. WAY: Object to form.
    9   same way, except those were patients with PE.               9           THE WITNESS: The source of the trial data, but
   10      Q. And in the PE trial, were there three arms;          10     there's information here where I talk about Furberg
   11   Xarelto, Lovenox, and warfarin?                            11     that would have come from his report.
   12      A. Two arms; Xarelto, Lovenox plus --                   12   BY MR. HONNOLD:
   13      Q. Oh, sorry. I mean Lovenox and warfarin               13     Q. But just in terms of the -- of the comment
   14   combination therapy, two arms?                             14   about the structure, design, and results --
   15      A. Yes.                                                 15     A. Oh.
   16      Q. And then the Extension study, what was that,         16     Q. -- of EINSTEIN-DVT, that comes from Footnote
   17   and how was it set up?                                     17   No. 9 on page 15; is that true?
   18      A. So those were patients who the arms were             18     A. Yes.
   19   continued treatment with Xarelto versus placebo. These     19     Q. Now, at this point in your report, in -- we're
   20   were people who had already completed their initial        20   at Section V(A) that starts at page 15 regarding the
   21   three months of therapy.                                   21   EINSTEIN-DVT trial, as you mentioned, there are two
   22      Q. And in the Extension study, what were the --         22   paragraphs where you make some comment to the opinions
   23   what were the arms in the Extension study?                 23   offered by one of the plaintiff's experts, Dr. Furberg;
   24      A. It was Xarelto versus placebo.                       24   correct?


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    1      A. Yes.                                                  1   statistics, if it was attached to it, I would have
    2      Q. And so your, I guess, response or retort to           2   reviewed it too.
    3   Dr. Furberg, that's included in the paragraph at the        3      Q. Okay. So you only would have been looking to
    4   bottom of page 15 and then another paragraph at the         4   what was actually in the text of the published trial or
    5   midpoint of page 16; is that correct?                       5   some accompanying compendium of statistics that may or
    6      A. Yes.                                                  6   may not have appeared in its entirety in the actual
    7      Q. Okay. Now, that paragraph that you make in            7   published journal article; correct?
    8   response to one of the criticisms of EINSTEIN-DVT that      8      A. Yes.
    9   Dr. Furberg stated is you make some reference to the        9      Q. Sometimes those are things that you can access
   10   statistical analysis plan, and that's in that last line    10   digitally by clicking on a certain button and it gives
   11   of your paragraph that comments about Dr. Furberg. Do      11   you access to it; correct?
   12   you see where it uses the phrase "Statistical Analysis     12      A. Correct.
   13   Plans"?                                                    13      Q. But as it relates to the DVT -- or the
   14      A. Uh-huh.                                              14   EINSTEIN-DVT trial, you just can't remember which
   15      Q. Yes, you see that?                                   15   situation it was?
   16      A. Yes.                                                 16      A. Yeah, I can't remember.
   17      Q. Okay. And that phrase "Statistical Analysis          17      Q. Do you have any advanced training or degrees in
   18   Plans," you capitalize all of the words in that phrase;    18   epidemiology or public health?
   19   correct?                                                   19      A. No.
   20      A. Yes.                                                 20      Q. Do you know Dr. Furberg?
   21      Q. Now, have you ever -- have you been given the        21      A. I do not.
   22   actual statistical analysis plan for EINSTEIN-DVT?         22      Q. Have you read any of his writings at all?
   23      A. I've looked at the statistics with the study,        23      A. I'm not sure. Other than his report, I'm not
   24   and then there's a -- oh, what do you call it? -- some     24   sure if I've looked at any of the others.


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    1   other supporting documents that may not necessarily         1      Q. On this case, the only thing that you've looked
    2   be -- well, they're published at the same time, but you     2   at would have been his report in this case?
    3   don't necessarily get them in the journal article.          3      A. I believe that's correct.
    4          So there's a -- and I can't remember if this         4      Q. Have you read any testimony from any Bayer or
    5   one had one or not, but I definitely reviewed the           5   Janssen witness where the EINSTEIN-DVT trial is
    6   statistics in the article.                                  6   discussed?
    7       Q. Okay. And you brought up where I was going, so       7      A. No.
    8   that information, where was it, and where did you get       8      Q. If you go back to page 15 and you have the
    9   it?                                                         9   graphic there about the EINSTEIN-DVT study design, do
   10       A. So the statistics are actually included in the      10   you see that?
   11   body of the article. The statistical plan, how it was      11      A. Yes.
   12   done, what software, the equipment, and things of that     12      Q. What knowledge do you have about the underlying
   13   nature is all included in the article.                     13   source of the 15-milligram twice daily dose for the
   14       Q. And so when you use the phrase "Statistical         14   first 21 days of DVT treatment that was employed in the
   15   Analysis Plans" in capital letters, are you referring      15   EINSTEIN-DVT study?
   16   then only to information that is in the body of the        16      A. Repeat that again. I'm sorry.
   17   published EINSTEIN-DVT paper?                              17      Q. What -- what knowledge do you have about the
   18       A. Or if there was any supporting document             18   underlying source of the 15-milligram twice daily dose
   19   attached to it. I can't remember if specifically for       19   for the first 21 days of DVT treatment that was employed
   20   this one if it had those, I can't remember the name,       20   in the EINSTEIN-DVT study?
   21   what it's called, but articles that are published in the   21      A. I don't know if I have any additional
   22   medical literature also have some kind of compendium       22   underlying knowledge other than what they presented in
   23   attached to them. When you say we want further             23   the trial.
   24   information, or if you want to review further the          24      Q. As you sit here today, do you have any


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    1   knowledge or understanding about any dose finding            1      A. That's the way some people would look at it is
    2   studies that either were or were not done before the         2   noninferiority.
    3   EINSTEIN-DVT study?                                          3      Q. Okay. And so from -- from the perspective of
    4      A. No.                                                    4   clinical trial study design or outcome evaluation, what
    5      Q. Do you know whether dose finding -- comparative        5   does noninferior mean in that context?
    6   dose finding studies were done?                              6          MS. WAY: Object to form.
    7      A. I don't know that. I can only assume. Most             7          THE WITNESS: When we see noninferior, it
    8   drugs that we use, there's been some type of trial where     8      means -- it shows to us that it's at least as
    9   there was a dose finding study.                              9      effective.
   10      Q. If there was one here, you've not read it?            10   BY MR. HONNOLD:
   11      A. I don't believe so.                                   11      Q. And statistically does it -- in the -- in the
   12      Q. Do you know whether there has ever been in any        12   EINSTEIN-DVT trial, do you know what the statistical
   13   clinical trial, regardless of phase, whether there's        13   standard was in terms of how close rivaroxaban and
   14   been any trial where outcomes were compared between 15      14   Xarelto had to be to warfarin to be considered
   15   milligrams twice daily and some other dose?                 15   noninferior?
   16         MS. HOFFMANN: Of Xarelto?                             16      A. You know, I think I mentioned that somewhere.
   17         MR. HONNOLD: Yes. Sorry.                              17   I can pull the study. I remember reading that.
   18         THE WITNESS: Not in treatment of VTE that I'm         18          Oh, the margin, I believe -- I have to look at
   19      aware of.                                                19   the study to know for sure. I have in the report here
   20   BY MR. HONNOLD:                                             20   that it says in response to -- it had a margin of 2.
   21      Q. Are you aware of any Xarelto indication where         21      Q. What does that mean?
   22   comparative outcome studies were done regarding             22      A. That there's -- so I'm not a statistician, so I
   23   different doses?                                            23   don't want to pretend to be one and explain. I just
   24      A. I'm not sure.                                         24   know, looking at the range in the study, I believe it


                                                          Page 91                                                 Page 93
    1     Q. On page 16, you say -- in the first full                1   was 1.5 to 2.5, that 2 was an acceptable level to show
    2   paragraph on page 16, you say, "The study demonstrated       2   noninferiority.
    3   that Xarelto was at least effective as standard              3      Q. And when you're saying 2 in this context,
    4   therapy." Do you see that?                                   4   what -- I guess, what is the -- what is the significance
    5     A. Yes.                                                    5   of 2? 2 what?
    6     Q. And so I want to make sure that I understand.           6      A. I don't know. I just know what they -- that's
    7   When you use the phrase "was at least as effective as        7   what they had set as the margin.
    8   standard therapy," what does that mean?                      8      Q. And when you say "that is what they set," do
    9     A. It means it works as well as the standard               9   you mean those that designed the trial?
   10   therapy.                                                    10      A. The study -- must have been the trial designers
   11     Q. And in the EINSTEIN-DVT clinical trial, what           11   and the investigators. Well, yeah, so it had to be the
   12   was -- what was the statistical standard that was           12   trial design group that would have set that.
   13   included in the trial methodology to measure that issue?    13      Q. Then that factor of 2, is the standard for
   14     A. You mean what the P value was, or is there             14   noninferiority something that can actually be set as
   15   something --                                                15   part of the trial design saying that we are trying to
   16     Q. Well, first let me ask you this: Did the               16   use a certain standard of noninferiority in performing
   17   DVT -- did the EINSTEIN-DVT trial prove that Xarelto was    17   this trial?
   18   superior to warfarin in the treatment of DVT?               18          MS. WAY: Object to the form.
   19        MS. HOFFMANN: Objection.                               19          THE WITNESS: I'm not sure.
   20        THE WITNESS: No, it showed that it was at              20   BY MR. HONNOLD:
   21     least as effective as warfarin.                           21      Q. Okay. And if it's something that is -- that
   22   BY MR. HONNOLD:                                             22   you -- you feel confident saying is outside either your
   23     Q. And is that -- in saying that, are you saying          23   area of expertise or outside the scope of your report,
   24   that Xarelto was shown to be noninferior to warfarin?       24   tell me that and I won't ask you any more questions


                                                                                    24 (Pages 90 to 93)
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    1   about it. Okay?                                             1     A. Yes.
    2      A. Okay.                                                 2     Q. Now, the question that I asked you a bit ago
    3      Q. Are you telling me that?                              3   that led into you searching your report, I specifically
    4      A. Yes.                                                  4   asked, it related to the DVT/PE study, and you do make
    5      Q. Okay, we're done with that.                           5   some specific response to EINSTEIN generally and the PE
    6         Let's go on to the EINSTEIN-PE clinical trial.        6   part if you look at the details of some of these
    7   That's in Section V(B) that starts on the bottom of page    7   responses that you have to Dr. Furberg; correct?
    8   16. Do you see that?                                        8     A. Yes.
    9      A. Yes.                                                  9     Q. For example, you specifically mention the
   10      Q. Would it be a fair summary or paraphrase that        10   EINSTEIN-PE study in Paragraph 3 on page 21, and again
   11   as you did for the DVT clinical trial, you've              11   you make some specific reference to the PE study in your
   12   essentially set forth some basic information about the     12   Response No. 4 that goes from page 21 to page 22;
   13   study design, about the results of the study and the       13   correct?
   14   safety outcome, and that that information is, for          14     A. Yes.
   15   purposes of your report, is all derived from the actual    15     Q. And is it -- is it fair to say that whatever
   16   PE paper, which is cited as Footnote No. 11 on page 17?    16   additional information that -- or testimony that you're
   17      A. Yes.                                                 17   going to give about the series of EINSTEIN trials,
   18      Q. I'm going to try to think of a fair way to go        18   separate and apart from what is just you've taken from
   19   about this. If -- if the DVT -- or excuse me.              19   the actual published reports themselves, is limited to
   20         If the EINSTEIN-PE clinical trial has certain        20   your various comments that you make about Dr. Furberg?
   21   wonderful strengths or certain weaknesses from the         21         (Interruption.)
   22   perspective of clinical trial design or how the trial      22         MS. WAY: Can we -- object to the form.
   23   was run or anything like that, either way, it's            23         MR. HONNOLD: I'll never object to lunch. That
   24   something that you're not commenting on in your report;    24     would be an improper objection.


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    1   correct?                                                    1        MS. WAY: Can you repeat the question?
    2      A. I remember something in my report saying              2   BY MR. HONNOLD:
    3   that -- well, let me look and make sure before I say        3     Q. The good news in all of this is that lunch is
    4   what I remember.                                            4   here. The bad news is that it was just brought across
    5      Q. Could it be that some of these -- these issues        5   the stage behind you. So not your fault. It's just one
    6   are addressed in some way in your responses to              6   of those things that happens. So I'll try to get back
    7   Dr. Furberg's criticisms --                                 7   to where I was going.
    8      A. That's exactly what I was --                          8        You know for the EINSTEIN-DVT trial,
    9      Q. -- on page 21?                                        9   EINSTEIN-PE, EINSTEIN-Extension you have set forth in
   10      A. That's what I was looking for. I was looking         10   your report really some very basic structural
   11   for something I thought I put in there.                    11   information about how those studies were designed, what
   12      Q. So to be fair, let's -- let's see if I can get       12   the results were, and a little bit about their primary
   13   at it this way: We've had a little bit of prior            13   outcomes; correct?
   14   discussion about a couple of your responses to             14        MS. HOFFMANN: Objection.
   15   Dr. Furberg's opinions, and there were two paragraphs in   15        THE WITNESS: Yes.
   16   the -- in the DVT study that we've already talked about;   16   BY MR. HONNOLD:
   17   correct?                                                   17     Q. When you have done that, that -- you've told me
   18      A. Yes.                                                 18   that that information really comes from the actual
   19      Q. And then at page 21, which is Section V(E),          19   published clinical trial paper, and you've cited all of
   20   that starts on page 21 and goes to page 22 --              20   those in the text or you've footnoted those in your
   21      A. Yes.                                                 21   report; correct?
   22      Q. -- you also set forth some of your additional        22        MS. WAY: Object to form.
   23   responses to certain criticisms that Dr. Furberg has of    23        THE WITNESS: So the information that's in here
   24   EINSTEIN; right?                                           24     would come from those studies, as well as my


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    1      practice and training.                                   1   Dr. Furberg has of the trials?
    2   BY MR. HONNOLD:                                             2     A. Yes. I don't -- let me make sure I understand
    3      Q. Okay. Meaning that every time that you review         3   the question correctly. If there's other information I
    4   a clinical trial about a medication, you do so through      4   relied on except directly from the trial. So, yes, I've
    5   the lens of your own training, education, and               5   read reviews of trials or the trials may have been
    6   experience; correct?                                        6   referenced in the Chest Guidelines. I want to make sure
    7      A. Yes.                                                  7   I'm not eliminating -- that I'm not leaving out anything
    8      Q. You have the ability to determine based upon          8   besides my experience and training and background that
    9   looking at a clinical trial publication to make some        9   are what I rely on for answers.
   10   determination yourself as to whether that looks like a     10     Q. Okay. I think we're on the same page, and I
   11   well-designed trial, whether it might have some            11   understand your qualification. Thank you.
   12   frailties or weaknesses, you're able to make those         12        Your various responses to the criticisms of
   13   assessments yourself as you see all sorts of clinical      13   Dr. Furberg, are those -- are those responses that you
   14   trial data that comes at you in your practice; right?      14   spontaneously had when you read his report, or did
   15      A. Yes.                                                 15   you -- had you seen such comments about EINSTEIN and
   16      Q. Okay. Now, in terms of the basic information         16   similar responses before?
   17   that you've set forth about EINSTEIN-DVT, -PE, and         17        MS. WAY: Object to the form.
   18   -Extension, much of what you comment on is specific        18        THE WITNESS: Had I seen similar comments about
   19   footnoted information that comes out of the papers         19     EINSTEIN that he made in his report?
   20   themselves; correct?                                       20   BY MR. HONNOLD:
   21      A. For the basic information, yes.                      21     Q. Yes.
   22      Q. Okay. Then the additional information that           22     A. I don't recall. No, I don't remember seeing
   23   you've set forth is really -- you do that through your     23   those outside of his report. They may have been
   24   various responses or retorts that you have to things       24   somewhere, but I don't remember specifically those


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    1   that have been stated by Dr. Furberg in his report;         1   outside of his report.
    2   correct?                                                    2     Q. The responding to Dr. Furberg's criticisms of
    3      A. Yes.                                                  3   EINSTEIN, was that at some point made part of your
    4      Q. Okay. You have looked at Furberg's report, and        4   engagement or assignment in this case where -- where
    5   where he makes specific statements of a certain type,       5   others asked you that, if you had opinions regarding
    6   there are some things that he has said where you have a     6   Dr. Furberg's criticisms of EINSTEIN, whether you could
    7   specific response to it; correct?                           7   provide some commentary on that?
    8      A. Yes.                                                  8         MS. HOFFMANN: Objection.
    9      Q. Okay. Now, in terms of additional information         9         THE WITNESS: Yes.
   10   that you set forth about any aspect of EINSTEIN, is it     10   BY MR. HONNOLD:
   11   fair to say that it's limited to the specific comments     11     Q. And then the paragraphs -- the paragraphs that
   12   that you make to what Dr. Furberg says?                    12   you have written about Dr. Furberg's criticisms, are
   13          MS. HOFFMANN: Objection.                            13   those limited to what you set forth in Subsection V(E)
   14          MS. WAY: Object to form.                            14   on pages 21 and 22, in addition to the couple of
   15          THE WITNESS: Can you repeat that?                   15   paragraphs that we've talked about before?
   16   BY MR. HONNOLD:                                            16     A. Are you asking are there things in his report
   17      Q. Sure. Here's what I'm -- here's all I'm trying       17   that I disagreed with that I may not have put here?
   18   to get at: In terms of additional things that you say      18     Q. Well, are you going to be testifying about
   19   about the EINSTEIN trials --                               19   additional things other than what you've listed?
   20      A. Okay.                                                20     A. Oh. I don't think so.
   21      Q. -- separate and apart from what you've taken         21     Q. Okay. And those responses in Subsection V(E)
   22   from the papers themselves and made footnote reference     22   on page 21 and page 22, were those ones that -- that
   23   to, additional information about the trials is stuff       23   came to you yourself in response to reading
   24   that you're really saying in response to criticisms that   24   Dr. Furberg's report?


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    1         MS. HOFFMANN: Objection.                              1   talk about page 18, at the top of page 18, where I start
    2         THE WITNESS: Yes.                                     2   with "I disagree."
    3   BY MR. HONNOLD:                                             3     Q. Okay. So let's look at that paragraph on page
    4      Q. So let's go back and identify the areas that          4   18 then. It talks about the pooled analysis. Is that
    5   we've already talked about Dr. Furberg, and I think we      5   set forth in paragraphs 1 through 4 on pages 21 and 22?
    6   identified -- on page 15 and 16, if you can go there, I     6     A. I don't remember putting that in there. No, I
    7   think we've identified two paragraphs there that relate     7   don't see it in there.
    8   to comments of Dr. Furberg's; right?                        8     Q. Okay. So if we're trying to kind of put a
    9      A. Yes.                                                  9   fence around this then, with the addition of the
   10      Q. And one is at the bottom of page 15, and the         10   paragraph then on page -- pages 15, 16, and 18, you
   11   other is in the middle of page 16; is that correct?        11   could take those three paragraphs and have added them to
   12      A. That's correct.                                      12   your list at pages 21 and 22, and that would have been
   13      Q. Now, those two paragraphs on page 15 and 16,         13   your complete list of responses to Dr. Furberg's
   14   are those incorporated, in your view, or by your           14   criticisms; correct?
   15   intention, in your responses to Dr. Furberg on pages 21    15     A. I believe so.
   16   and 22?                                                    16     Q. Now, what I want to make sure that I'm clear on
   17      A. I don't -- let's -- no, because I don't think        17   is, when you are responding to these criticisms of
   18   we talk about the double-blind in those four specific      18   Dr. Furberg, were they things that you were able to see
   19   ones, and I don't think we talked about safety endpoint    19   and kind of express immediately in response to reading
   20   in those.                                                  20   Dr. Furberg's report, or did you have to kind of dig
   21         Let's see. No, we didn't talk about the              21   into that and research it and analyze it using other
   22   primary endpoint changing or the safety endpoint that I    22   source materials?
   23   see in -- no, not in those four.                           23         MS. HOFFMANN: Objection.
   24      Q. And that's how I read it too, but I just wanted      24         THE WITNESS: So when I read his report, I


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    1   to check with you.                                          1       looked at his statements and looked at ones that I
    2          So -- so your responses to any criticisms that       2       disagreed with, and that's what I based it on.
    3   Dr. Furberg had of EINSTEIN, those are set forth in         3   BY MR. HONNOLD:
    4   Section V(E) on pages 21 and 22 and would also include      4       Q. And so are your disagreements, you know, were
    5   those paragraphs at the bottom of page 15 that goes to      5   they just -- were you able just to state them kind of
    6   the top of page 16, and then also that independent          6   extemporaneously based upon your training, education,
    7   paragraph that's about at the middle of page 16; right?     7   and experience, or in stating those retorts in the, I
    8     A. Yes.                                                   8   think, seven paragraphs we've identified, did you go to
    9     Q. And, in fact, you could have essentially taken         9   other sources of data or information, whether it was the
   10   those two paragraphs on page 15 and 16 and added them to   10   medical literature or commentary about the EINSTEIN
   11   your list at pages 21 and 22, and then your Furberg        11   clinical trial series?
   12   comments would be complete there; correct?                 12       A. I definitely would have backed it up with
   13     A. As long as I didn't reference them after that,        13   medical literature as well.
   14   yes.                                                       14       Q. Okay. All right. And why do you say, "I
   15     Q. Okay. While we're there, and since you've             15   definitely would have backed it up with medical
   16   raised that point, why don't you look to make sure         16   literature as well"?
   17   that's right. That's how I size it up, but that means      17       A. Because there's, I believe, one specific study
   18   nothing. Why don't you go ahead --                         18   I listed, which would have been at No. 2 on page 21.
   19     A. That's what I remember, but let me just review        19          Well, I take that back. It would have been --
   20   that -- I don't think I talked about it any further        20   oh. About the noninferiority margin. I reviewed that
   21   after that.                                                21   study.
   22          Yeah, I think that's the only place -- those        22          Yeah, well, that is right. That's right,
   23   are the only places.                                       23   No. 2.
   24          Well, we didn't talk about 16. So we didn't         24       Q. All right. I want to make sure that I


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    1   understand then what you've told me. You said that in        1   reference list; correct?
    2   terms of your responses to Furberg criticisms you            2         MS. WAY: And are you just -- sorry. Is this
    3   definitely would have backed those up with medical           3      just a question specific to the literature that he's
    4   literature; correct?                                         4      reviewed --
    5      A. Yes.                                                   5         MR. HONNOLD: Yes.
    6      Q. Okay. Now, what I want to make sure that I             6         MS. WAY: -- in support of his rebuttals?
    7   understand is, what are all those sources of medical         7         MR. HONNOLD: Yes.
    8   literature that you are using to back up your responses      8         MS. WAY: Okay.
    9   to Dr. Furberg?                                              9         THE WITNESS: So I don't know if I can say I
   10          MS. WAY: Object to form.                             10      limit it to those, because some of the statements I
   11          THE WITNESS: So the literature for me would          11      make are general statements.
   12      have been the EINSTEIN-DVT and the -PE, as well as       12   BY MR. HONNOLD:
   13      the -Extension trials, but also there was an             13      Q. And you got me wrong. That's -- so to the
   14      additional article I reviewed that's Reference No.       14   extent that there was literature that you relied on,
   15      10 when I did those bullet points, or those numbered     15   we've listed it; correct?
   16      points.                                                  16         Let's be fair. I don't want you to think that
   17   BY MR. HONNOLD:                                             17   I'm trying to -- I'm not -- I'm not trying to be
   18      Q. And just so we're clear, when you say Reference       18   untoward here. I said, did you -- I asked you, if we go
   19   No. 10, that's not Footnote No. 10 but, instead, it's       19   back in the transcript, you'll see that I asked you, did
   20   Reference Point No. 10 that's in Exhibit B?                 20   you rely upon certain medical literature in fashioning
   21      A. Correct.                                              21   your responses to Dr. Furberg's criticisms, and I think
   22      Q. And that is the paper by Beyer, B-e-y-e-r,            22   the record will say, yes, you did back it up or rely
   23   hyphen, Westendorf?                                         23   upon medical literature. Do you recall that?
   24      A. Yes.                                                  24      A. I believe so.


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    1     Q. W-e-s-t-e-n-d-o-r-f.                                    1     Q. Okay. And then I asked at some point after
    2         So that's -- that is your -- the medical               2   that, I said, tell me what those literature sources are.
    3   literature that you would be relying upon for some of        3   Do you remember that?
    4   your responses to Furberg's criticisms; is that right?       4     A. Okay. Yes.
    5     A. Yes, for some.                                          5     Q. And then that led to the discussion of coming
    6     Q. And what other medical literature did you or            6   up with this list. Okay?
    7   are you relying upon for your responses to Dr. Furberg's     7     A. Okay.
    8   criticisms other than Reference No. 10?                      8     Q. I'm not suggesting that the only source of
    9     A. The EINSTEIN-DVT and the EINSTEIN-PE studies.           9   information about your responses to Furberg are the
   10     Q. Okay. And so --                                        10   literature. Okay?
   11     A. And the pooled analysis.                               11     A. Okay.
   12     Q. And the -Extension study?                              12     Q. In fact, I think in the record at some point I
   13     A. Yes.                                                   13   said you may well have been relying upon your education,
   14     Q. Okay. And those would be things that are the           14   training, and experience in responding to Furberg, but
   15   forms that were actually published in the literature; is    15   if there's literature, let's list it. Okay?
   16   that true?                                                  16     A. Yes.
   17     A. Yes.                                                   17     Q. And so to the extent that there was literature,
   18     Q. If we were making then a complete list of the          18   we've now identified that list; correct?
   19   medical literature items that you relied upon in forming    19     A. Yes.
   20   your responses to Dr. Furberg's criticisms, those things    20     Q. In preparing your report, at some point in
   21   would be, in list form, the EINSTEIN-DVT clinical trial,    21   dealing with this issue or addressing this issue of
   22   the EINSTEIN-PE clinical trial, the EINSTEIN-Extension      22   Dr. Furberg's criticisms, did you yourself undertake any
   23   clinical trial, and then the published EINSTEIN pooled      23   literature review to identify what criticism in terms of
   24   analysis, in addition to Reference No. 10 from your         24   study design or study methodology might exist out there


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    1   in -- in the medical literature arena about the EINSTEIN    1     Q. Let's go to page 3 then and focus on those two
    2   clinical trial series?                                      2   bullets points there that take up the top half of page
    3     A. Did I do anything independently to look at             3   3. Can you go there?
    4   other data -- I'm just rephrasing to make sure I have it    4     A. Yes.
    5   correctly -- other than that one study that I mentioned?    5     Q. And this may be a more detailed discussion,
    6     Q. You said it right.                                     6   because this is a paragraph that has several sentences
    7     A. Oh, good. No.                                          7   that cover, I think, different topics or subtopics.
    8     Q. Okay.                                                  8         So for that bullet point that's at the top of
    9           MR. HONNOLD: What do you all want to -- let's       9   page 3, where would we go in the report to identify the
   10     go off the record real quick.                            10   basis or support for the opinion or opinions in that
   11           THE VIDEOGRAPHER: The time now is 12:07 p.m.       11   bullet point?
   12     We are off the record.                                   12     A. So for the first sentence, I would say, yes,
   13           (Lunch recess from 12:07 p.m. until 12:47 p.m.)    13   evidence from the EINSTEIN-DVT study would support it,
   14           THE VIDEOGRAPHER: This begins Disk 4 of            14   the American College of Chest Physicians Antithrombotic
   15     today's deposition. The time now is 12:47 p.m. We        15   Guidelines would support that as well, and the US
   16     are back on the record.                                  16   package insert. When we talk about the dose, as well,
   17   BY MR. HONNOLD:                                            17   that's from the study too.
   18     Q. Doctor, we're back on the record now after our        18     Q. Then there's a sentence in that fourth bullet
   19   lunch break. Where I'd like to pick up is to go back to    19   point that says, quote, "There is no evidence that
   20   the bullet points in your report on pages 2 and 3. I       20   Ms. Mingo would not have sustained a bleed if she had
   21   think we made it to the point of Bullet Point No. 4,       21   been prescribed a different anticoagulant," end quote.
   22   which is at the very bottom of page 2. Can you go          22   Do you see that sentence?
   23   there?                                                     23     A. Yes.
   24     A. Yes, sir.                                             24     Q. Then where -- where in the report do we go to


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    1         Q. As you recall, before the lunch break we were      1   find the basis or support for that statement?
    2   kind of going through where it is in your report that       2       A. So I would say that's probably -- I would
    3   you discuss the opinion and where its basis or support      3   probably say the Chest Guidelines as well.
    4   is.                                                         4       Q. And I apologize, I don't have a copy of those.
    5            So as we'd done before, I'd like you to point      5   It's a fairly voluminous document --
    6   out for me, where in your report is the basis and           6       A. It is.
    7   support for that Bullet Point No. 4 on page 2 that talks    7       Q. -- with much more roman numerals and
    8   about risk of bleeding.                                     8   subheadings than in your report, so we'd probably drive
    9         A. So the basis of that one would be just knowing     9   ourselves crazy looking at that.
   10   how anticoagulants work. Specifically, I reference the     10          But is there a section, a particular section in
   11   package insert, and also, I can't remember, but I          11   the Chest Guidelines that you have in your mind's eye
   12   believe the Chest Guidelines make a comment about there    12   that you recall speaking to that issue? And if you
   13   being no reversal agent.                                   13   can't recall it, that's fine, just tell me.
   14         Q. And then if we actually try to correlate that     14       A. No, I just know that they talk about the
   15   fourth bullet point with an actual page or paragraphs in   15   different anticoagulants there, and there's not a
   16   the report, are we -- do we go to page 23, Section VI?     16   preference list of one over the other, which is why I
   17         A. Yes.                                              17   put that sentence.
   18         Q. And so in terms of the basis and support for      18          Excuse me. I don't know if I'd say "different
   19   that opinion of Bullet Point 4 on page 2, that would be    19   anticoagulants." They do discuss them all, but they
   20   information that's set forth in Sections VI(A) and         20   don't put a preference of the NOACs or the direct orally
   21   VI(B); is that correct?                                    21   acting agents.
   22         A. Yes, I believe so.                                22       Q. To your knowledge, is there any comparative
   23         Q. And those are both on page 23; is that right?     23   data in the context of VTE that speaks to comparisons
   24         A. Yes, sir.                                         24   amongst the different NOAC or DOAC agents?


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    1      A. To my knowledge, there are no head-to-head            1   counts after the episode of bleeding on some follow-up
    2   trials that are looking at the different agents.            2   visits and I saw she had a repeat endoscopy, and I
    3      Q. And in the absence of head-to-head trials, is         3   believe I saw a reference that she had returned to work.
    4   there any comparative data that you're aware of in the      4   Now, that was a side note I remember looking at in the
    5   form of any sort of other study analysis, meta-analysis,    5   records from one of the nurses, so I don't know if
    6   that -- that in the context of VTE or PE compares either    6   that's for sure or not. I don't remember seeing it in
    7   efficacy or safety outcomes of the different NOACs?         7   the doctor's note.
    8      A. I don't know if there are any for VTE                 8      Q. Okay. So in terms of -- in terms of your
    9   specifically. I don't know that.                            9   statement that she received appropriate therapy for her
   10      Q. The one thing that you can state affirmatively       10   treatment, I take it that's -- that's based upon your
   11   is that there are no direct head-to-head clinical trials   11   general medical education, training, and experience as
   12   where one agent is posed against another; correct?         12   to speaking as to whether the standard of care was met
   13      A. That's correct.                                      13   in her situation?
   14      Q. Do you still prescribe warfarin for patients in      14      A. Yes.
   15   your practice?                                             15      Q. And the point of her making a full recovery
   16      A. Yes.                                                 16   without lingering adverse effects, that's based upon
   17      Q. And to the extent that you can generalize, can       17   information, from your view, that's in the medical
   18   you tell me the types of patients for whom you would       18   records?
   19   still prescribe warfarin?                                  19      A. Yes.
   20      A. Those whose insurance will not cover one of the      20      Q. And in terms of your specific report relating
   21   NOACs. There may be others. There's not as much data       21   to Ms. Mingo, that sentence, I take it, is not reliant
   22   when you look at -- well, actually, I was going to say     22   upon or depend upon any specific medical articles,
   23   cancer patients, but even warfarin in cancer patients is   23   clinical trials, or publications; is that right?
   24   a difficult thing. At least initially you would like       24      A. That's correct.


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    1   low molecular weight heparin in cancer patients.            1     Q. Still within this bullet point, the last
    2       Q. And in terms of the actual clinical                  2   sentence says -- speaks to the issue of the reversal
    3   circumstance where you still might prescribe warfarin,      3   agent and your view that had one been available or used,
    4   is it for prevention, or is it for active treatment of      4   it would not have affected her clinical course. Do you
    5   VTE?                                                        5   see that?
    6       A. Active treatment. Well, and prevention,              6     A. Yes.
    7   because if we have a patient who's had a clot and           7     Q. Then, as before, what is -- what is your basis
    8   they're at higher risk of recurrent clots, then we would    8   or support for that statement?
    9   say it would be for prevention as well.                     9     A. So I would say two. One, the package insert
   10       Q. And maybe more specifically we could say            10   says there's no reversal agent, but also the Chest
   11   prevention of recurrence?                                  11   Antithrombotic Guidelines state that although there's no
   12       A. Yeah, that's what I was just going to say,          12   reversal agent, the risk of bleeding, specifically fatal
   13   recurrence prevention.                                     13   bleeding, is not increased with NOAC therapy compared to
   14       Q. Are you aware of whether anyone has proposed        14   warfarin.
   15   any head-to-head trials of the various NOACs, whether      15     Q. Do you know whether or not any reversal agents
   16   it's for atrial fibrillation or VTE?                       16   are used for patients with bleeding on NOAC in the
   17       A. Not that I know of.                                 17   University of Mississippi emergency medicine department?
   18       Q. The sentence where you say, "Ms. Mingo received     18     A. The only one, I think Eliquis has come out with
   19   appropriate therapy for the treatment of her bleed and     19   a reversal agent. I don't know if it's been utilized in
   20   has made a full recovery without any lingering adverse     20   our hospital yet or not.
   21   effects," in terms of the basis and support for that       21     Q. And do you know if any other agents are used
   22   information, what are you relying on there?                22   for reversal of bleeding in patients that are on NOACs?
   23       A. So on reviewing the medical records of              23     A. As far as I know, there are no other reversal
   24   Ms. Mingo that were provided to me, I saw her blood        24   agents.


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    1      Q. And I'll tell you, I'm not trying to -- I'm not       1     A. Other than what is mentioned in the Chest
    2   trying to trick you again. I just wanted to see if you      2   Guidelines, I don't believe I looked at any articles
    3   just knew this independently. But there's a Dr. Jones,      3   that were specifically looking at that, I don't believe.
    4   who is an emergency room physician at University of         4     Q. All right. Just as kind of overview then, for
    5   Mississippi. Do you know him?                               5   that bullet point at the top of page 3, we've kind of
    6      A. I do, I know him.                                     6   gone through it sentence by sentence and I've asked you
    7      Q. Okay. And so he talked about in his deposition        7   about the basis and support for each point.
    8   that he has employed 4-Factor PCC, using it to reverse      8        Anything else that you can think of that serves
    9   on patients that have bleeding on NOACs.                    9   as a basis or support for that bullet point that we've
   10      A. Uh-huh.                                              10   not discussed or you've not told me about?
   11      Q. So -- but that's probably something -- you're        11     A. I don't believe so.
   12   not doing that every day in your practice, may not have    12        MS. HOFFMANN: Can I just interpose a quick
   13   been aware of that.                                        13     comment --
   14      A. So -- so I thought you meant a specific              14        MR. HONNOLD: Sure.
   15   reversal agent. So the PCCs are the prothrombotic          15        MS. WAY: -- or objection?
   16   complex concentrates. I equate them and make them a        16        MR. HONNOLD: Sure.
   17   little analogous with fresh frozen plasma. It has          17        MS. HOFFMANN: In the context of going through
   18   certain factors in it. It's just different, which is       18     each of the sentences, I believe most of your
   19   why it's concentrated.                                     19     questions asked him what medical literature. Your
   20         So I would not have said that's a reversal           20     wrap-up question was any additional support.
   21   agent. I have seen people utilize those things, and        21        MR. HONNOLD: No, no. I think if you look at
   22   that actually is mentioned in the Chest Guidelines as      22     the record you'll see that I've been asking it about
   23   well as what some people might use, but they also make a   23     what information do you rely upon as basis or
   24   point in the guidelines that there's no approved           24     support for that statement. I think you'll be -- I


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    1   reversal agent for these except for the new one that        1     think you'll feel better when you read it.
    2   just came out.                                              2         MS. HOFFMANN: I just don't want to eliminate
    3     Q. So your statement about the lack of reversal           3     that almost each and every time, in addition to
    4   agent actually speaks to, specifically, specific            4     pointing to a particular piece of medical
    5   FDA-approved agents, specific agents for a specific NOAC    5     literature, he added his own background, experience,
    6   or the entire group; right?                                 6     education, that type of thing.
    7     A. Yes.                                                   7         MR. HONNOLD: Right, and I think I'm the one
    8     Q. Okay. You're not necessarily speaking to the           8     that affirmatively offered that --
    9   fact that there may be other agents that are used based     9         MS. HOFFMANN: I think you did.
   10   upon information that comes from maybe some limited        10         MR. HONNOLD: -- issue on things related to the
   11   research or limited trials, but not necessarily Phase 3    11     standard of care, like she was treated correctly, or
   12   trials; right?                                             12     she got the right dose, or various things.
   13     A. Correct.                                              13         So I appreciate your comment, but I think -- I
   14     Q. And in terms of the 4-Factor PCC, do you have         14     think you'll feel better once you'll see that I
   15   any understanding or awareness in how quickly it can       15     think -- I think it's been inclusive of that, but I
   16   stop or reverse bleeding?                                  16     appreciate the comment, and I'll try to do better.
   17         MS. HOFFMANN: Objection.                             17         MS. HOFFMANN: You're doing great.
   18         THE WITNESS: No.                                     18         MR. HONNOLD: Okay. That's what I wanted. I
   19   BY MR. HONNOLD:                                            19     wanted affirmation from you.
   20     Q. For your work on this case, have you actually         20         MS. HOFFMANN: You wanted some affirmation.
   21   looked at any of the information that is -- that exists    21         MR. HONNOLD: Yeah. You just sat there.
   22   in the literature about the use of 3- or 4-factor PCCs     22         MS. HOFFMANN: It's Valentine's Day. I want to
   23   for the reversal or treatment of bleeding in patients on   23     give you some affirmation. I think you've done a
   24   NOACs?                                                     24     really good job, and I would agree that you have


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    1      tried at times to remind him that his support may        1   clinical experience, if in fact a patient on a NOAC has
    2      also include his own background, education,              2   gastrointestinal bleeding and as part of the treatment
    3      training, and experience.                                3   and/or surveillance of that condition has a -- has an
    4          MR. HONNOLD: Now we're talking. Okay, that's         4   endoscopy and no specific lesion or bleeding site is
    5      better. Okay.                                            5   found, how would you explain, explain the GI bleeding in
    6   BY MR. HONNOLD:                                             6   that context?
    7      Q. So let's go to the last bullet point at about         7        MS. HOFFMANN: Objection.
    8   the middle of page 3. Again, like the bullet point          8        THE WITNESS: I think that would be variable,
    9   above, this is one that contains several sentences and      9     because there -- oftentimes we do endoscopies on
   10   includes several opinions and subopinions, so I want to    10     patients and you don't find a specific lesion as far
   11   go through it like we've done before.                      11     as a peptic ulcer disease, but there may be lesions
   12      A. Okay.                                                12     in the small bowel and the large bowel. So I'm not
   13      Q. I would ask you to be particularly mindful of        13     sure I can answer that intelligently without knowing
   14   the issue of your own education, training, and clinical    14     more specifics about an individual patient.
   15   experience, to the extent that that would be responsive    15   BY MR. HONNOLD:
   16   to the answer when I ask you about support and basis,      16     Q. In the last bullet point, there's a sentence
   17   that you tell me that. Okay?                               17   that says, "Evidence suggests that Ms. Mingo's ulcer
   18      A. Okay.                                                18   predated her use of Xarelto." Do you see that sentence?
   19      Q. All right. So let's -- let's go through the          19     A. Midway -- where is that? Oh, yes, I see it.
   20   first sentence, where you say, from your perspective as    20     Q. And in terms of the basis and support for that
   21   a clinician and prescriber of the NOACs, you can't agree   21   statement, my sense is that would be Ms. Mingo's own
   22   with what Dr. Rinder says about Xarelto being the cause    22   medical records, but if there's -- if there's something
   23   of Ms. Mingo's gastrointestinal bleed.                     23   else in addition to your training, education, and
   24          That first sentence there, what -- what do you      24   experience, let me know, will you?


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    1   rely upon for basis and support for that statement?         1     A. No, that's from her records.
    2      A. So I hope I'll answer this directly and not           2     Q. And so how is an ulcer diagnosed or confirmed?
    3   roundabout, but it's kind of tied to a couple other         3     A. Usually with an endoscopy, what some people
    4   statements. So, one, that Xarelto doesn't cause ulcers,     4   would call an upper scope.
    5   so that's why I said that it was not the cause of her       5     Q. And how many of those did Ms. Mingo have in the
    6   gastrointestinal bleeding, since she was found to have a    6   records that you looked at?
    7   peptic ulcer.                                               7     A. Two that I saw.
    8          As far as where that comes from, that's, to me,      8     Q. And did you see any that were performed before
    9   general medical knowledge that we're taught that -- how     9   the ulcer was ultimately formally diagnosed?
   10   NOACs work, that they don't cause ulcers. I think          10     A. I don't believe so.
   11   that's the extent of what I would say about the first      11     Q. And so when you say that there is evidence to
   12   sentence.                                                  12   suggest that the ulcer predated her use of Xarelto, what
   13      Q. And do you know whether any of the materials on      13   are the data points or pieces of information in her
   14   your reference list or any of the articles that you        14   medical record that you're relying on?
   15   specifically footnoted in the -- in the body of your       15     A. So most of that's from, I believe it was
   16   report speak to how frequently it is when patients have    16   Dr. Keith's deposition. When he did her endoscopy, he
   17   GI bleeding and investigation is done by way of            17   made -- or during his deposition, excuse me, he made a
   18   endoscopy, how often a specific lesion is found to         18   mention that it appeared that she had peptic ulcer
   19   explain the bleeding?                                      19   disease. I don't know the exact phraseology he used,
   20      A. I don't know if I know the answer to that. I         20   but I gathered that from his deposition.
   21   don't remember specifically looking at any literature on   21     Q. Now, in the middle of this last bullet point
   22   that.                                                      22   paragraph, there is a sentence that talks about your
   23      Q. So from your perspective as a physician and          23   view that Ms. Mingo -- whether or not she would have
   24   taking into account your training, education, and          24   bled if she'd been taking some other medication. Do you


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    1   see that sentence there that's in the middle of that        1     A. Not before her bleed.
    2   last bullet point?                                          2     Q. And when you say "not before the bleed," you
    3      A. Yes. Starting with "therefore"?                       3   mean the episode of bleeding for which she was
    4      Q. Okay. Yes. And so I just want to confirm with         4   ultimately hospitalized and when the ulcer was
    5   you that that sentence, in terms of what you would be       5   discovered?
    6   relying upon for its support and basis, it's essentially    6     A. Maybe a day before that, because she had a
    7   the same as the sentence -- the similar sentence that's     7   blood count check the day before where her hemoglobin
    8   in the bullet point above where you say, said, quote,       8   and hematocrit were decreased.
    9   "There is no evidence that Ms. Mingo would not have         9     Q. Other than that, though, you did not feel that
   10   sustained a bleed if she had been prescribed a different   10   there was any laboratory data or information in her
   11   anticoagulant." Do you see that?                           11   chart to support a discontinuation of her Xarelto or a
   12      A. Yes.                                                 12   switch to a different agent; correct?
   13      Q. Are those two sentences, while they are phrased      13     A. Correct.
   14   and structured a little bit differently, essentially       14     Q. Okay. When you choose to use warfarin to treat
   15   meaning to communicate the same thing?                     15   a patient, who is it that you rely upon to deal with the
   16      A. I think so.                                          16   issue of performing an ongoing INR test to monitor
   17      Q. So there's no need to go into that further than      17   whether or not the patient is in a therapeutic range or
   18   what we've already talked about?                           18   might need a dose adjustment?
   19      A. I don't think so.                                    19     A. The good thing is, it's kind of a, I'd say, a
   20      Q. And you'll recall that when we talked about it       20   multiprong approach. If we're initially starting a
   21   previously we talked about head-to-head data and things    21   patient on warfarin, or Coumadin, I will check them, but
   22   of that nature?                                            22   then I would also refer them to what -- we have a
   23      A. Yes.                                                 23   coagulation or anticoagulant clinic that's run by
   24      Q. And as we read the rest of that bullet point on      24   PharmDs, a nurse practitioner, I can't remember who else


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    1   page 3, those are essentially additional inferences that    1   is there, and it's overseen, I believe, by one of our
    2   you -- that you make from that statement, that in the       2   hematologists as the director of that clinic.
    3   absence of head-to-head clinical trial data, you're not     3          And then usually, if they have a question about
    4   able to state that being on a different agent would have    4   one of our patients, then they will send a message in
    5   prevented the bleed; right?                                 5   the electronic health record, or page us, or call us if
    6         MS. WAY: Object to form.                              6   there's a question, but they usually manage it pretty
    7         THE WITNESS: Yes, I think the only other thing        7   well for us.
    8     that I'm conveying, it may be the same thing, is          8      Q. So in your institution the various medical
    9     that I wouldn't have necessarily stopped her              9   specialties have found that it's an efficient way to
   10     Xarelto. Well, actually, it does say at any time         10   provide continuity of care in terms of anticoagulation
   11     before the bleed, yes.                                   11   management to have that be run by a particular clinic in
   12   BY MR. HONNOLD:                                            12   the form and fashion that you've described?
   13     Q. Is it your opinion in this case that had you          13          MS. HOFFMANN: Objection.
   14   been treating Ms. Mingo there was -- there would not       14          MS. WAY: Object to form.
   15   have been a time when you would have discontinued her      15          THE WITNESS: With warfarin, many people do.
   16   Xarelto before her ultimate hospital admission for the     16      Everyone doesn't use the anticoagulation clinic, but
   17   acute bleed?                                               17      many people do.
   18     A. Correct.                                              18   BY MR. HONNOLD:
   19     Q. And so your view in this case is then that when       19      Q. And you choose to use it?
   20   you look at all of the existing laboratory data and        20      A. For most of my patients, yes. If there's some
   21   medical record information then, you don't see any         21   patients that have some nuances, I may do it myself, but
   22   basis, sufficient basis that would have caused a           22   that's -- usually I'll refer them after I've managed it
   23   physician to actually either outright discontinue her      23   briefly to make sure that they're tolerating the
   24   Xarelto or choose another agent?                           24   medications and not having any issues.


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    1      Q. And so the patients that you would maintain           1         MS. HOFFMANN: Objection.
    2   control over monitoring warfarin, I take it you do on       2         THE WITNESS: I don't know if it -- if it tests
    3   occasion perform INRs for those patients?                   3      warfarin level. The INR, that test is kind of
    4      A. Oh, yes.                                              4      linked to PT/INR, but most times we use INR for
    5      Q. Okay. And you say, "Oh, yes," like it's               5      warfarin. I don't know if it tells us there's an
    6   obvious that you would do that.                             6      increased level. I don't know that.
    7      A. Well, so in my mind -- I guess I should               7   BY MR. HONNOLD:
    8   verbalize what I'm thinking -- so I have patients who       8      Q. But as the INR goes up in a given patient --
    9   are on warfarin that, if they have other diseases like      9   well, strike that.
   10   COPD or whatever, if I give them an antibiotic, I know     10         You talked about the instance where you might
   11   that the antibiotic may affect their INR, so instead of    11   have a patient on warfarin that you give an antibiotic,
   12   saying have the coag clinic follow it up, I tell them,     12   that can cause the INR to go up; right?
   13   "In three days, go have your INR checked, and I'll look    13      A. Uh-huh.
   14   at the results and see if you need to hold your            14      Q. Yes?
   15   warfarin, or Coumadin, based on the fact that I know       15      A. Yes.
   16   I've treated them with the antibiotics."                   16      Q. Sorry. I didn't mean to point at you and say
   17      Q. In these patients, so if their INR goes up as a      17   "Yes." You know the reason I'm doing that?
   18   result of drug interaction, why does that matter?          18      A. Yes.
   19      A. With the INR, because we're trying to keep it        19      Q. I didn't spend the normal time going through
   20   in the approved range, so I would hold their antibiotics   20   the rules.
   21   if it is outside of the approved range.                    21      A. Yes, yes. Oh, I know. Yes.
   22      Q. And do you feel that it's clinically important       22      Q. All right. And that's something that may
   23   to keep those patients in the approved range as you used   23   happen, could happen overnight in a patient; right?
   24   that term?                                                 24         MS. WAY: Object to the form.


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    1      A. For INR?                                              1         THE WITNESS: The increased INR?
    2      Q. Yes.                                                  2   BY MR. HONNOLD:
    3      A. Yes.                                                  3      Q. Yes.
    4      Q. Why?                                                  4      A. You know, I don't know the answer. I guess it
    5      A. So if you have the INR that is too low, then          5   could. That's not generally what we see in clinical
    6   their risk of clotting is increased because they're not     6   practice. Usually --
    7   on appropriate therapy. If it's too high, they may have     7      Q. A span of days?
    8   an increased risk of bleeding.                              8         MS. HOFFMANN: You didn't let him finish.
    9      Q. And what is it about -- in an individual              9         MR. HONNOLD: Sorry. Sorry. Sorry.
   10   patient maybe over the span of days goes from having a     10         THE WITNESS: Yeah, usually in clinical
   11   bleeding risk of X, and then as their INR goes up they     11      practice we see it overrule several days when
   12   have an increased bleeding risk to Y, what is it in the    12      there's an interaction with antibiotics.
   13   interim that's happened that increases their bleeding      13   BY MR. HONNOLD:
   14   risk?                                                      14      Q. And so specifically then from the -- from the
   15      A. The blood is thinner, so the Coumadin has            15   pathophysiological perspective, what is it about the
   16   depleted the -- what we would call the vitamin K active    16   fact that that INR number is going up that puts the
   17   factors. So it does what it's supposed to do, it thins     17   patient at an increased risk of bleeding?
   18   the blood, and so if they had an issue where they were     18      A. I don't know if there's anything in particular
   19   cut or had another problem, then their risk of bleeding    19   about the INR. We just know that if there are drug
   20   may be increased.                                          20   interactions that some coagulation factors are
   21      Q. And is that because as a patient may have an         21   decreased, or can be decreased, because it's not always
   22   increased level of INR, is that a way of testing that      22   that case, and so when you're looking at coagulation, if
   23   patient to see that they may have increased level of       23   you're factors are decreased, then it may increase your
   24   active warfarin in their bloodstream?                      24   risk of bleeding.


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    1      Q. Okay. Here's what I'm getting at: So in one           1     thin, they may not bleed?
    2   of your patients that you've got on warfarin and that       2   BY MR. HONNOLD:
    3   you add an antibiotic, and that could be a situation        3     Q. Right.
    4   that causes their INR to go up; right? Right? Yes?          4     A. That's probably true.
    5      A. Yes.                                                  5     Q. Yeah.
    6          MR. CONKLIN: No pointing.                            6     A. I'm just thinking if there's any instances
    7          MR. HONNOLD: Sorry.                                  7   where it may not be true. That's why I'm taking a
    8          MS. HOFFMANN: I got yelled at at a deposition        8   second to answer. Just thinking through the -- how it
    9      recently.                                                9   was working.
   10          MR. HONNOLD: Believe me, I've read it. It was       10     Q. If it's not true, why are you concerned about
   11      hilarious. I laughed.                                   11   the INR?
   12          MS. HOFFMANN: I was pointing at the court           12     A. Yeah, that's what I'm thinking.
   13      reporter.                                               13     Q. Question.
   14          MR. HONNOLD: So you say.                            14     A. No, that probably is it, that they would
   15          MS. HOFFMANN: That's my story, and I'm              15   probably be at increased risk of bleeding. I can't say
   16      sticking to it.                                         16   for sure that there's not necessarily an underlying
   17   BY MR. HONNOLD:                                            17   lesion there or that there is one, but that's most
   18      Q. So in -- in that hypothetical patient that           18   probable, so how about we stick with that, most
   19   we're talking about, as the INR goes up, then as a         19   probable?
   20   clinician you are -- you are concerned about the fact      20     Q. Okay. And that's great. Let's go -- let's
   21   that something has happened in that patient that now       21   talk about the other things too, that if there's not an
   22   places them potentially at an increased risk of            22   underlying lesion, are you saying that maybe there are
   23   bleeding; correct?                                         23   occasions where somehow patients from certain places in
   24      A. Yes.                                                 24   the body might have kind of spontaneous bleeding or


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    1      Q. Okay. What your concern is is that there              1   oozing in the absence of specific endothelial or tissue
    2   may -- there may be areas that are already existing in      2   injury?
    3   their body, a particular tissue friability or frailty,      3          MS. HOFFMANN: Objection.
    4   or endothelial injury, that a certain level of INR the      4          THE WITNESS: Probably not, because there's
    5   body is still able to self-heal and it doesn't go into a    5      usually going to be some type of barrier to the
    6   situation of bleeding that clinically manifests, that       6      endothelium for bleeding to occur. Even with blood
    7   now that the INR is higher, it may be a situation where     7      thinners, there's going to be some type of lesion
    8   the patient can bleed?                                      8      breakage or something in the -- in the endothelium
    9         MS. HOFFMANN: Objection.                              9      or the blood vessel to cause some bleeding.
   10         MS. WAY: Object to form.                             10   BY MR. HONNOLD:
   11   BY MR. HONNOLD:                                            11      Q. But not within a viscus?
   12      Q. Is that what you're thinking about?                  12      A. Within a viscus, I would think there would be a
   13         MS. HOFFMANN: We're still talking about              13   lesion that would have to be there as well.
   14      Coumadin?                                               14      Q. Okay. So you'd include that, you'd include
   15         MR. HONNOLD: Yes, yes.                               15   lesions or abnormalities within an organ as being the
   16         THE WITNESS: So I'm thinking about what you          16   same sort of tissue or endothelial damage, that would go
   17      just described, that scenario. For bleeding to          17   into that category?
   18      occur, there has to be some type of damage              18      A. Yes, I think so.
   19      somewhere. I'm restating it, and then I hope I'll       19      Q. And so I just want to make sure that we've put
   20      answer it.                                              20   a point on this, but what I've suggested to you, you
   21         And your question is there had to be some            21   agree with, right --
   22      underlying -- and maybe not -- to me, you're saying     22          MS. HOFFMANN: Object.
   23      there's some underlying pathophysiology, lesion or      23   BY MR. HONNOLD:
   24      something, that if it were for the blood being too      24      Q. -- that the issue of at some levels of INR


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    1   there may be areas of tissue damage, endothelial           1   pharmacology; is that right?
    2   weakness, structural weakness, that at a certain level     2      A. We did.
    3   of INR do not bleed, but when the INR becomes              3      Q. Okay. And did you learn in pharmacology that
    4   supratherapeutic, those are sites that now are at risk     4   one thing in some drugs that might influence the
    5   of bleeding because of the higher INR because the blood    5   magnitude of effect of a certain drug, it can be plasma
    6   is now more thinned as you've described?                   6   or serum concentration of the drug?
    7         MS. HOFFMANN: Objection.                             7         MS. HOFFMANN: Objection.
    8         MS. WAY: Objection.                                  8         THE WITNESS: You said that it might affect the
    9         THE WITNESS: Yes.                                    9      effect of the drug?
   10   BY MR. HONNOLD:                                           10   BY MR. HONNOLD:
   11      Q. And so in that context of warfarin, it is the       11      Q. Magnitude of effect of the drug.
   12   magnitude of effect of the drug that may be something     12      A. Magnitude of effect of the drug. Yeah, I
   13   that impacts directly upon risk of bleed?                 13   remember hearing that in pharmacology.
   14         MS. WAY: Objection.                                 14      Q. I mean, it's kind of one of the -- it's kind of
   15         THE WITNESS: Repeat that again.                     15   one of the basic building blocks when you take
   16   BY MR. HONNOLD:                                           16   pharmacology; right?
   17      Q. In the scenario of warfarin then, it is the         17         MS. WAY: Objection to form.
   18   magnitude of the effect of the drug that may be           18         THE WITNESS: Yes.
   19   something that impacts directly upon the risk of          19   BY MR. HONNOLD:
   20   bleeding?                                                 20      Q. That treatment effect, another word for
   21         MS. WAY: Object to form.                            21   treatment effect is magnitude of drug effect; correct?
   22         MS. HOFFMANN: Objection.                            22         MS. WAY: Object to form.
   23         THE WITNESS: When you say "the magnitude of         23         THE WITNESS: So we don't really talk about
   24      effect of the drug," I'm assuming you mean the INR?    24      treatment effect being magnitude of drug effect.


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    1                                                              1     That -- our pharmacists and PharmDs go more in
    2   BY MR. HONNOLD:                                            2     detail in using those terms, but we don't -- I mean,
    3      Q. Right.                                               3     I remember hearing that, like you said, in
    4      A. Okay. So maybe. Or probably.                         4     pharmacology, but we don't talk about that as much
    5      Q. Okay. And are you aware of any other way to          5     in clinical practice when we're caring for patients.
    6   evaluate the magnitude of effect of warfarin other than    6   BY MR. HONNOLD:
    7   testing the INR?                                           7     Q. Do you have -- do you have some drugs in your
    8      A. Not that I'm aware of.                               8   practice that you do measure on occasion other than the
    9      Q. In the clinical trials that you read for             9   discussion that we've already had regarding warfarin?
   10   Xarelto, those being the publications in the various --   10     A. In the ICU. Probably in the outpatient, maybe
   11   in the EINSTEIN series, -DVT, -PE, and -Extension, did    11   not as much. In the ICU, sometimes we will measure some
   12   you see any data in those published resources that        12   levels.
   13   talked about either serum or plasma level concentration   13     Q. And which drugs are coming to mind?
   14   of rivaroxaban in patients?                               14     A. Probably Digoxin. Sometimes Dilantin. Well,
   15      A. I don't remember if EINSTEIN or -- well, if any     15   actually, I could lump them in a group. Some of the
   16   of the EINSTEIN studies really delved into that. I        16   antiseizure medications. And maybe theophylline, an old
   17   would have to look at them specifically, but I don't      17   drug but still used by a few people, but -- so sometimes
   18   remember that.                                            18   the theophylline can be measured inpatient and
   19      Q. Okay. So to determine that then, it would be        19   outpatient.
   20   nothing other than an exercise of actually going to the   20     Q. And in some of those situations, are you
   21   publications to see if it was covered; right?             21   testing what is commonly called a drug level?
   22      A. Yes.                                                22     A. Yes.
   23      Q. Okay. I take it in your medical school              23     Q. And you know that when you're testing a drug
   24   education and training you took some classes in           24   level that that oftentimes is a test that is either


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    1   direct measurement of plasma or serum concentration or a    1      Q. So those are the sorts of adverse reactions or
    2   surrogate test from which plasma or serum concentration     2   untoward effects that can occur in a patient whose
    3   can be accurately inferred?                                 3   Digoxin level is toxic or too high; correct?
    4        MS. HOFFMANN: Objection.                               4      A. I would say yes, with one caveat, that
    5        THE WITNESS: Direct measure of serum or a              5   sometimes, you know, there's a range that it gives you
    6     surrogate?                                                6   for what the level is the expected to be, sometimes
    7   BY MR. HONNOLD:                                             7   patients could have those effects even if it's not at
    8     Q. Right.                                                 8   the level over which you would expect.
    9     A. So I'm not sure how to answer that, because            9      Q. And that's another thing that you probably
   10   what I'm thinking of, some drugs have what they call a     10   learned in pharmacology, that there are some drugs that
   11   total level, and then some have a free level, so I don't   11   even when they're given absolutely at the intended dose
   12   know how to answer your question or if that -- maybe you   12   and a patient has the absolute intended mean, average,
   13   can repeat it while I'm thinking about total and free.     13   smack dab in the middle, amount of drug in their blood,
   14     Q. Well, regardless of whether you're looking at         14   they still might suffer from adverse reactions; correct?
   15   total level or free level, it is measuring to some         15         MS. HOFFMANN: Objection.
   16   degree the quantity of medication that is in the           16         MS. WAY: Object to form.
   17   patient's circulation?                                     17         THE WITNESS: Possibly.
   18     A. I'll say yes. I'm thinking, so that's what's          18   BY MR. HONNOLD:
   19   taking me a minute.                                        19      Q. And that means that there is a range of patient
   20     Q. Okay. And if you have some thought that's             20   sensitivity or patient reaction exists somewhat on a
   21   contrary to the "yes" that you just said, let me know      21   continuum; correct?
   22   and we'll -- we'll cover that. Okay?                       22         MS. HOFFMANN: Objection.
   23     A. (Nodding head.)                                       23         MS. WAY: Object to form.
   24     Q. And in those instances when -- when you are           24         THE WITNESS: I would think so, yes.


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    1   interested in a drug level, whether it's total level or     1
    2   free level, you're concerned about measuring the drug       2   BY MR. HONNOLD:
    3   because you want, one, to know are you -- is the drug       3      Q. Then let's talk about Dilantin. Why is it in
    4   likely to have its intended therapeutic benefit, but        4   Dilantin that you are concerned for the patient on
    5   also you're looking to see are we in a range with this      5   occasion that causes you to measure the amount of drug
    6   drug that might increase the risk of side effect or         6   or level of drug in the patient's system?
    7   adverse reaction; correct?                                  7         MS. WAY: Object to the form. Sorry.
    8         MS. WAY: Object to form.                              8         THE WITNESS: So those factors would be
    9         THE WITNESS: Yes, I think probably so.                9      variable. Sometimes you're measuring it because of
   10   BY MR. HONNOLD:                                            10      other medications you might give them, so thinking
   11     Q. For Digoxin, why is it that you might be              11      about a drug interaction. Sometimes you're
   12   concerned clinically about the patient's drug level?       12      measuring it because you think they may not have
   13     A. If they -- if a patient comes in who's on             13      enough or a high enough dose, you might need to
   14   Digoxin and has certain signs or symptoms that might be    14      increase it. I think would be probably the more
   15   related to Digoxin toxicity, that would probably be the    15      common reasons that we check it with Dilantin.
   16   most common reason that we're checking it.                 16   BY MR. HONNOLD:
   17     Q. And how does Digoxin toxicity manifest?               17      Q. I think you mentioned theophylline as well.
   18     A. Oh. They can have nausea, blurred vision,             18   Tell me about theophylline in terms of why you might be
   19   visual color disturbances, ringing in the ears. Oh.        19   concerned about a drug level there.
   20   Bradycardia. How did I leave out slow heart rate. How      20      A. So most people these days clinically aren't
   21   did I leave that?                                          21   checking theophylline levels, because it's not used as
   22         So it's several different ways, but those are        22   much, and then those who are using it are using it at a
   23   probably, if you looked it up, would be the most common    23   very, very low once daily dosing, not like it used to
   24   things you might see.                                      24   be. So we're not checking a bunch of theophylline


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    1   levels, but I know some people might just if a patient     1      don't see as much -- used to see renal failure
    2   is on the drug. So I can't tell you -- clinically, I'm     2      listed as a possible side effect for vancomycin, but
    3   not checking those levels. I just mentioned it as one      3      I don't think you'd see that in a lot of places
    4   that some people might.                                    4      right now.
    5     Q. Any other medications that come to mind that          5   BY MR. HONNOLD:
    6   you use on occasion where you might want to measure a      6      Q. But at least for some of the drugs in that
    7   drug level?                                                7   class there are still issues of nephrotoxicity and
    8     A. Not that I can think of.                              8   ototoxicity, potentially?
    9     Q. Do you treat pneumonia on occasion in the ICU?        9      A. For the aminoglycosides.
   10     A. Yes.                                                 10      Q. And that's why it makes sense for a
   11     Q. Any antibiotics that you're concerned about on       11   practitioner to be obtaining blood levels of those drugs
   12   occasion in terms of a drug level?                        12   on occasion; correct?
   13     A. Oh. So we sometimes order vancomycin peaks and       13          MS. WAY: Object to form.
   14   troughs, and maybe gentamicin. Do we use any other        14          THE WITNESS: That, and looking for drug
   15   aminoglycosides? Probably the -- well, maybe              15      interactions that may contribute.
   16   tobramycin.                                               16   BY MR. HONNOLD:
   17         So maybe I should say a group of medicine, the      17      Q. In terms of the materials that you've reviewed
   18   aminoglycosides for antibiotics, and then vancomycin is   18   relating to Xarelto, and specifically the EINSTEIN trial
   19   the other antibiotic in that group that might be          19   series that you've looked at, do any of those articles
   20   measured.                                                 20   or publications that you've reviewed speak to either the
   21     Q. And, again, with antibiotics, antibiotic level       21   anticipated plasma concentration level for the
   22   can be important as to whether the drug level is          22   15-milligram b.i.d. dose or the expected range of plasma
   23   therapeutic based upon the specific type of disease       23   concentration levels for the 15-milligram b.i.d. dose?
   24   that's being treated; correct?                            24      A. I would have to look at those again. I don't


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    1      A. Yes.                                                 1   remember if those talk about the plasma concentrations.
    2      Q. I mean, there are different types of infection       2     Q. And, again, to determine if they do, it would
    3   in terms of how high or high low you might want the        3   just be a function of going to the publications that are
    4   blood level to be; correct?                                4   either in your footnotes or in your reference list and
    5      A. Probably if you're looking at the groups, the        5   just looking at them to see if that's something that's
    6   aminoglycosides, at a certain level, for most types of     6   commented on?
    7   infections. Vancomycin, most types everybody now is        7     A. Yes.
    8   shooting for higher levels.                                8        MS. WAY: Brad, we've been going for about an
    9      Q. Partially due to increased resistance?               9     hour.
   10      A. No. Certain disease processes you can get           10        MR. HONNOLD: Have we? I lost track of time.
   11   better absorption, like pneumonia, of vancomycin at       11     So I knew that you'd -- I knew you'd want to quit at
   12   higher levels. Meningitis also.                           12     some time, so --
   13      Q. Then on the -- on the side of too much medicine     13        MS. WAY: Can I take a break?
   14   with this list or family of drugs that you mentioned,     14        MR. HONNOLD: Yes.
   15   what potentially can happen when there's too much drug    15        MS. WAY: Thanks.
   16   on board, potentially?                                    16        THE VIDEOGRAPHER: The time now is 1:36 p.m.
   17           MS. HOFFMANN: Objection.                          17     We are off the record.
   18           THE WITNESS: With the aminoglycosides,            18        (Recess from 1:36 p.m. until 1:56 p.m.)
   19      potentially renal failure, or renal damage, and        19        THE VIDEOGRAPHER: This begins Disk 5 of
   20      maybe hearing issues is what you would see in the      20     today's deposition. The time now is 1:56 p.m. We
   21      literature.                                            21     are back on the record.
   22           With vancomycin, not so much anymore because      22   BY MR. HONNOLD:
   23      it's a, as we're told, a pure drug, or whatever        23     Q. Doctor, we're back on the record now after a
   24      they -- they give us a bunch of reasoning. But we      24   short afternoon break.


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    1          I want to go to VI of your report that begins        1         THE WITNESS: I don't know if I know the answer
    2   at page 23. Do you have that before you?                    2     to that.
    3      A. Yes.                                                  3   BY MR. HONNOLD:
    4      Q. Okay. And so Section VI(A) of your report             4     Q. How would you find out?
    5   talks about bleeding risk; right?                           5     A. I guess I would have to look and see if there's
    6      A. Yes.                                                  6   data that says some patients are at a higher risk of
    7      Q. And what you're -- what you're stating in             7   bleeding than others that take Xarelto.
    8   Section VI(A) is that the Xarelto label informs             8     Q. And as you sit here today, are you aware of any
    9   physicians that the use of Xarelto increases the risk of    9   particular risk factors that may place one patient at an
   10   serious and fatal bleeding events; correct?                10   increased risk of a serious or fatal bleeding event over
   11      A. Yes.                                                 11   another patient?
   12      Q. And you believe that to be true; correct?            12         MS. HOFFMANN: Objection.
   13      A. That it -- yes, that it can increase.                13         MS. WAY: Object to form.
   14      Q. Not only does the label state it, but you            14         THE WITNESS: Not that I know of.
   15   believe it is true that the medication increases the       15   BY MR. HONNOLD:
   16   risk of serious and fatal bleeding events; correct?        16     Q. And I just want to make sure of something. You
   17          MS. WAY: Object to form.                            17   are not stating, though, affirmatively, you're not
   18          THE WITNESS: That it -- that it could increase      18   giving the affirmative opinion that all patients who
   19      risk of bleeding, yes.                                  19   take Xarelto are, in fact, at the same statistical
   20   BY MR. HONNOLD:                                            20   likelihood or risk of a serious or fatal bleeding event;
   21      Q. And what is it about Xarelto that makes the          21   correct?
   22   situation true that it could increase the risk of          22         MS. HOFFMANN: Objection.
   23   serious and fatal bleeding events?                         23         THE WITNESS: Unless I would see data
   24          MS. WAY: Object to form.                            24     otherwise, I think I might say that. I'm thinking


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    1          THE WITNESS: So as with any anticoagulant, the       1      in my mind trying to reconcile if there is something
    2      way they work is they thin the blood and prevent         2      that would say it differently. I might actually say
    3      blots from forming, more specifically, I probably        3      that unless there's something that shows me that I
    4      should say, and so if someone has a bleed or risk of     4      hadn't looked at or don't remember that shows one
    5      bleeding, by being on an anticoagulant, doing what       5      group is at an increased risk of bleeding over
    6      it's supposed to do, they might have that increased      6      another.
    7      risk.                                                    7   BY MR. HONNOLD:
    8   BY MR. HONNOLD:                                             8      Q. Does the label say anything about there being
    9      Q. And is the risk of serious and fatal bleeding         9   categories of patients who might be at increased risk of
   10   events the same for all patients on Xarelto?               10   bleeding for one reason or another?
   11          MS. HOFFMANN: Objection.                            11      A. Could I look at it? I'm trying to remember,
   12          THE WITNESS: Is it the same? I'm not quite          12   because it's a lot of information on the label.
   13      sure what you mean by "the same." So I'm going to       13         (Haynes Exhibit No. 3 was marked for
   14      give a generic yes to say, with the follow-up,          14   identification.)
   15      hopefully, because blood thinners or anticoagulants     15         (Haynes Exhibit No. 4 was marked for
   16      work by thinning the blood, so -- and I don't know      16   identification.)
   17      if that's what you're asking, but, yes, they're at      17   BY MR. HONNOLD:
   18      increased risk of because of the mechanism.             18      Q. I'm going to eventually hand you two things.
   19   BY MR. HONNOLD:                                            19   One I've marked as Exhibit 3 and one I've marked as
   20      Q. But in terms of their, I guess, statistical          20   Exhibit 4. For the record, Exhibit 3 is the version of
   21   risk or likelihood that any given patient will have a      21   the Xarelto -- strike that.
   22   serious or fatal bleeding event on Xarelto, are all        22         Exhibit 4 is the December 2014 version of the
   23   patients at the same level of risk for that to occur?      23   Xarelto label that had been previously marked as
   24          MS. HOFFMANN: Objection.                            24   Exhibit 8 in Dr. Jones' deposition.


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    1          MR. HONNOLD: I only have one copy of this, and    1
    2    it's a poor copy, but I'll give it to counsel so        2   BY MR. HONNOLD:
    3    they can inspect it to make sure it is what I state     3     Q. So you said something -- one comment you made
    4    that it is.                                             4   was, quote, "may increase the" -- "may increase bleeding
    5          MS. HOFFMANN: Can we have the question read       5   risk" or "may increase the risk of bleeding." What --
    6    back or restated before he goes on?                     6   what were you commenting on or reading from when you
    7          MR. HONNOLD: Sure. You can go ahead and read      7   said that?
    8    it.                                                     8     A. I believe that was the NSAIDs. So let's see.
    9          MS. WAY: You're representing that this is the     9   So it says, "Avoid concurrent use of Xarelto with other
   10    December 2013 label?                                   10   anticoagulants due to increased bleeding risk unless
   11          MR. HONNOLD: I think I said 2014. Look in        11   benefit outweighs risk." That's Section 7.3, second
   12    the -- in the front --                                 12   paragraph.
   13          MS. WAY: Okay. I wrote down '13, but maybe       13     Q. And what are the other types of drugs that are
   14    you did say '14.                                       14   mentioned in the drug interaction section?
   15          MR. HONNOLD: Yeah, look in the lower -- in the   15     A. Specifically it says here NSAIDs, aspirin,
   16    middle of the first page, about halfway up on the      16   platelet aggregation inhibitors, and then I'm
   17    far right hand, it says revised/revision 12/2014.      17   assuming -- it just says generic term "other
   18          MS. WAY: Revised December 2014.                  18   anticoagulants." That's the only one. There's some
   19          (The question was read by the reporter.)         19   other drug interactions it mentions here, but it's
   20          THE WITNESS: So the only thing I saw -- I        20   talking about decreased -- the cytochrome --
   21    believe -- let's go back up here -- was -- well, it    21     Q. Does Section 7 talk about any drugs that
   22    didn't -- so on page 8, it didn't say specifically     22   potentially can increase rivaroxaban exposure and
   23    about a patient group, which I believe was your        23   pharmacodynamic effects?
   24    question. It just talked about patients who may be     24        MS. HOFFMANN: Does it use that word?


                                                    Page 155                                                     Page 157
    1      using aspirin, platelet inhibitors, or other          1          MR. HONNOLD: Or words like that.
    2      antithrombotic agents or fibrinolytic therapy or      2          THE WITNESS: Yes, there's one in Section 7.
    3      NSAIDs may -- actually, it just says, "Concomitant    3   BY MR. HONNOLD:
    4      use may increase the risk of bleeding," so it         4      Q. And read that to me that you're looking at.
    5      doesn't talk about a patient group that I saw,        5   What says that?
    6      unless I skipped it with the fast skimming.           6      A. "Inhibitors and inducers of these CYP450
    7   BY MR. HONNOLD:                                          7   enzymes," C-Y-P, "or transporters may result in changes
    8      Q. What about the drug interaction section,           8   in rivaroxaban exposure."
    9   Section 7? Is there anything in Section 7 to you that    9      Q. And anything else?
   10   suggests that patients who are taking other drugs       10      A. That's it for 7. There's 7.1 that starts a
   11   concomitant to Xarelto may be at increased risk of      11   different one.
   12   bleeding?                                               12      Q. Okay. So what is -- what might be significant
   13          MS. HOFFMANN: Other than the section he just     13   about rivaroxaban exposure in terms of the patient's
   14      referred to?                                         14   risk of bleeding?
   15          MR. HONNOLD: Yes, because I think he was         15          MS. HOFFMANN: Objection.
   16      reading from a section other than Section 7.         16          MS. WAY: Object to form.
   17          THE WITNESS: Yes. So it says the same thing      17          THE WITNESS: I couldn't tell you that. So in
   18      here in 7.1. It says some drug interactions. If      18      clinical practice we don't talk about rivaroxaban
   19      I -- I know I said NSAIDs. I may not have said the   19      exposure. That's -- to me, when we're talking to
   20      cytochrome drugs. It says may increase bleeding      20      pharmacists and looking at these things, it goes
   21      risk. 7.2. The cytochrome. Anticoagulants and        21      more with the pharmacodynamic and pharmacokinetic
   22      NSAIDs I said. Then there's another section on       22      properties, which is really at the level of the
   23      cytochrome drugs. So those are the ones that are     23      PharmDs, and so as clinicians, we definitely don't
   24      listed in Section 7.                                 24      talk about rivaroxaban exposure.


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    1                                                               1          And then 7.4. Oh, the last sentence, first
    2   BY MR. HONNOLD:                                             2   paragraph. Excuse me. 7.4, on page 17, "Significant
    3      Q. As you look at Section 7 in that label, is            3   increases in rivaroxaban exposure may increase bleeding
    4   there anything to you that suggests that for certain        4   risk."
    5   drugs in combination with rivaroxaban that it can           5          Oh. So they say the same thing. Those two
    6   increase rivaroxaban exposure and as a result increase      6   sentences say the same thing.
    7   the pharmacodynamic effects of rivaroxaban?                 7      Q. Right. Sorry.
    8         MS. WAY: Object to form.                              8      A. I was looking for something different.
    9         MS. HOFFMANN: Objection.                              9      Q. I just wanted to point out to you that it was
   10         THE WITNESS: As I said, we don't in clinical         10   listed in a couple different places.
   11      practice talk about exposure, and we don't talk a       11      A. Okay.
   12      great deal about pharmacodynamic effects of drugs,      12      Q. So when you read those sentences in the Xarelto
   13      so I can't answer that intelligently.                   13   label, what does that mean to you, quote, "Significant
   14   BY MR. HONNOLD:                                            14   increases" -- "Significant increase in rivaroxaban
   15      Q. What would it mean to you if a label says that       15   exposure may increase bleeding risk"?
   16   a certain -- using Xarelto in combination with another     16          MS. WAY: Object to form.
   17   drug increases the pharmacodynamic effects of              17          THE WITNESS: Clinically, it doesn't mean much
   18   rivaroxaban? What would that mean to you?                  18      to me because I'm not sure what all they're talking
   19         MS. HOFFMANN: Objection.                             19      about when they're talking about rivaroxaban
   20         THE WITNESS: I don't know. I would have to           20      exposure. So, again, I would need to consult with
   21      consult with one of my pharmacists and say, "What       21      one of the PharmDs and talk about that, because it
   22      does this mean?"                                        22      seems to talk more about the pharmacodynamic and
   23   BY MR. HONNOLD:                                            23      pharmacokinetic properties of the drugs, which as
   24      Q. Okay. So can I see Exhibit 4 real quickly?           24      clinicians we don't deal with a great deal,


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    1     A.    Oh.                                                 1      actually, not much at all, depending on the
    2     Q.    Yeah, the label.                                    2      pharmacist.
    3     A.    Oh. (Indicating.)                                   3   BY MR. HONNOLD:
    4     Q.    Yeah, thanks.                                       4      Q. Let me ask it this way: That sentence -- those
    5          What does this statement mean to you? And I'll       5   two sentences that you just read, if they're true, if
    6   hand it back to you so you can read it in context --        6   that -- if those statements are true, that could be
    7      A. Okay.                                                 7   important information for you, though, as a clinician;
    8      Q. -- but I'm going to read you the sentence so          8   correct?
    9   you know what I'm talking about since I'm armed with        9          MS. WAY: Object to form.
   10   only one copy of this. I apologize.                        10          MS. HOFFMANN: Objection. He just testified
   11          Quote, "Significant increases in rivaroxaban        11      that he doesn't have an understanding of what they
   12   exposure may increase bleeding risk." That's in            12      mean, so objection.
   13   Section 7.1.                                               13          MR. HONNOLD: She said too much. "Object to
   14          And then in 7.4, the label states, "Significant     14      the form" will do.
   15   increases in rivaroxaban exposure may increase bleeding    15   BY MR. HONNOLD:
   16   risk."                                                     16      Q. So that could be important information to you,
   17          So I'm going to hand this back to you and ask       17   couldn't it, if it's true?
   18   you to look at Section 7.1 and 7.4 where those sentences   18          MS. HOFFMANN: Objection.
   19   exist in the label. Then I'm going to ask you: What        19          MS. WAY: Objection.
   20   does that sentence mean to you?                            20          THE WITNESS: So I don't know if it would be
   21      A. 7.1 and 7.4?                                         21      important or not since I don't understand exactly
   22      Q. Yes, Doctor.                                         22      what they're talking about with exposure. That's
   23      A. "Significant increases in rivaroxaban exposure       23      what I'm saying. I would have to consult with the
   24   may increase bleeding risk." The first sentence.           24      pharmacist.


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    1                                                               1        MS. HOFFMANN: Objection.
    2   BY MR. HONNOLD:                                             2        MS. WAY: Object to form. He's here as a
    3       Q. Okay. Let's break it down. Is there any              3    case-specific expert, Brad. You know that. He
    4   specific word in that sentence that you don't               4    didn't submit a generic report in this case.
    5   understand?                                                 5   BY MR. HONNOLD:
    6       A. Yes.                                                 6    Q. Go ahead.
    7       Q. Which one?                                           7        MS. WAY: Asked and answered. I mean --
    8       A. Two. Rivaroxaban exposure.                           8        MR. HONNOLD: It's not -- it's not asked and
    9       Q. Okay. So as you sit here today, you don't know       9    answered.
   10   what rivaroxaban exposure is?                              10        MS. WAY: You've asked it three different
   11       A. I don't.                                            11    times.
   12       Q. Okay. Does that sentence suggest to you, if         12        MR. HONNOLD: It's not asked and answered.
   13   it's true, that in some patients if rivaroxaban exposure   13    Don't tell me that. The question is completely
   14   goes up, whatever it is, if it goes up, that it can        14    different. By you stating that objection, you're
   15   increase bleeding risk?                                    15    suggesting to him that my question for some reason
   16           MS. HOFFMANN: Objection.                           16    is inappropriate or wrong, and it is not the same
   17           MS. WAY: Same.                                     17    question. I will guarantee you it's not. Come over
   18           THE WITNESS: So, again, I don't know what          18    here and look.
   19       rivaroxaban exposure is. I can just say what the       19        MS. WAY: You can read it back, Brad. You can
   20       sentence says, but I can't make any inference or       20    read it back. It's fine if I am incorrect, if you
   21       what it means to me clinically.                        21    did change it up a bit, but my comment is it sounded
   22   BY MR. HONNOLD:                                            22    to me that it was the same question as the two that
   23       Q. Okay. So here's this drug that you're --            23    you'd asked previously.
   24   rivaroxaban. You're here today serving as an expert        24        MR. HONNOLD: Let's go back.


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    1   witness. You cite all of these labels in your reference     1        MS. WAY: If it's not, then that's fine, he can
    2   list as materials that you've relied upon, and the          2     answer it again in the same way.
    3   situation with the label is there are sentences in there    3        MR. HONNOLD: Let's go back.
    4   that you don't understand?                                  4        (Reviewing the realtime computer screen.)
    5          MS. WAY: Objection.                                  5   BY MR. HONNOLD:
    6          THE WITNESS: Yes. I'm not a pharmacist or a          6     Q. So here it is: The situation --
    7      PharmD that really studies pharmacodynamics and          7        MR. HONNOLD: Sorry. Okay.
    8      pharmacokinetics, so...                                  8        THE COURT REPORTER: It's going to keep going.
    9   BY MR. HONNOLD:                                             9        MR. HONNOLD: Go back a little more. It's
   10      Q. Would it be helpful to you in understanding          10     okay. Okay, now don't type yet, okay? I'll give
   11   that if the label provided explanatory information as to   11     you time to retype what it says there, okay, but let
   12   what it meant?                                             12     me ask it so I don't lose the place there, because
   13          MS. HOFFMANN: Objection.                            13     there's no way you can freeze it, is there?
   14          MS. WAY: Object to form.                            14        No. Okay. It's okay.
   15          THE WITNESS: If someone explained it to me. I       15   BY MR. HONNOLD:
   16      don't know if the label would do it adequately or if    16     Q. All right. So here's the question that I
   17      I needed it from someone who specialized in that        17   asked: The situation that you find yourself in even as
   18      field.                                                  18   an expert witness in this case dealing with rivaroxaban,
   19   BY MR. HONNOLD:                                            19   you'd either need further -- you'd either need further
   20      Q. The situation that you find yourself in even as      20   information in the label or you'd have to go talk to a
   21   an expert witness in this case dealing with rivaroxaban,   21   pharmacist about what that means; right?
   22   you'd either need further explanation in the label or      22        MS. WAY: Same objection.
   23   you'd have to go talk to a pharmacist about what that      23        THE WITNESS: Yes.
   24   means; right?                                              24   BY MR. HONNOLD:


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    1      Q. In your clinical practice, whether it relates         1   say something is significant, that it's important to
    2   to rivaroxaban or other drugs, have you ever heard the      2   take note of.
    3   term or phrase "drug exposure" before?                      3      Q. But when we're talking about drug exposure as
    4      A. Well, I've read it in the package insert, so I        4   you've been introduced to that term in the rivaroxaban
    5   would have to say yes.                                      5   label, does that suggest to you something that is a
    6      Q. And when you say you've read it in the package        6   quantitative measurement?
    7   insert, you mean the Xarelto package insert?                7          MS. HOFFMANN: Objection.
    8      A. Yes.                                                  8          THE WITNESS: I don't know.
    9      Q. Other than the Xarelto package insert, have you       9   BY MR. HONNOLD:
   10   ever in your clinical practice encountered the term or     10      Q. So you said there was -- one meaning of
   11   phrase "drug exposure" before?                             11   "significant" that comes to mind to you is something
   12      A. I can't say if I've ever encountered it. I can       12   that is of enough of an increase to take note of,
   13   say that we don't use it clinically and it's not           13   correct, or take into account; fair statement?
   14   something that we use on a routine basis, or even an       14          MS. WAY: Object to form.
   15   infrequent basis.                                          15          THE WITNESS: Yes.
   16      Q. From your review of the sections of the label        16   BY MR. HONNOLD:
   17   that we've looked at, if the information is true, does     17      Q. With some of the drugs that we talked about
   18   the label suggest to you that there may be situations in   18   before, that we went through those, the list, the
   19   particular patients where drug -- rivaroxaban exposure     19   theophylline, the antibiotics, Digoxin, and
   20   can be increased, and as a result, the risk of bleeding    20   anticonvulsives, you mentioned that there was some
   21   can increase?                                              21   measure that in some patients it may be important to get
   22         MS. HOFFMANN: Objection.                             22   a level to determine whether there is a drug level that
   23         MS. WAY: Object to form.                             23   might be important or that you do need to take note of
   24         THE WITNESS: All I can say is that it states         24   as a physician; correct?


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    1      this in the label, the significant increases in          1     A. With some of those medications, yes.
    2      exposure may increase bleeding risk.                     2     Q. And in terms of a drug level in the context of
    3   BY MR. HONNOLD:                                             3   antibiotics, theophylline, anticonvulsants, or Digoxin,
    4      Q. Okay. Now, in that label, is there anywhere in        4   you have come to know what level of those particular
    5   that label that defines for you what is a significant       5   drugs might be significant or something to take note of;
    6   increase in rivaroxaban exposure?                           6   right?
    7      A. Not that I know of.                                   7     A. Yes, I would in some of those drugs because
    8      Q. And from your perspective as a physician, the         8   there's a recommendation by the FDA about checking the
    9   issue of significance, when you talk about prescription     9   labels and -- excuse me, checking the levels, not the
   10   drugs, that is a term that -- that can have many           10   labels -- because of potential toxicities and because of
   11   different meanings, correct, what is significant or        11   some of them have some significant effects and have
   12   what's not; right?                                         12   reversal agents that we can treat some adverse reactions
   13         MS. WAY: Objection.                                  13   with.
   14         MS. HOFFMANN: Objection.                             14     Q. And there's also significant discussion or a
   15         THE WITNESS: I'm sorry. I misunderstood what         15   body of information in the medical literature on those
   16      you say. You're saying exposure can have many           16   medications on those issues as well; correct?
   17      different meanings?                                     17           MS. HOFFMANN: Objection.
   18   BY MR. HONNOLD:                                            18           MS. WAY: Objection.
   19      Q. No, no. The term "significant" in the context        19           THE WITNESS: There's definitely information in
   20   of prescription drugs can have many different meanings;    20     the medical literature.
   21   right?                                                     21   BY MR. HONNOLD:
   22      A. I don't know if it has many different meanings.      22     Q. "Significant" can also have a more specific
   23   To me, "significant" means, if I'm talking about drug      23   meaning as almost a term of art in the area of
   24   treatment, that its something, as we would say, if we      24   statistics; correct?


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    1      A. To me, when we're looking at statistical              1   you see that there may be some circumstances by which
    2   analysis, I wouldn't say -- to us it has a meaning -- we    2   drug exposure can change in such a way that it increases
    3   say significant or nonsignificant. I don't know if that     3   bleeding risk; correct?
    4   answers your question.                                      4         MS. WAY: Objection.
    5      Q. Yeah, that's what I mean. The word                    5         MS. HOFFMANN: Objection.
    6   "significant" sometimes is used just by itself, whether     6         THE WITNESS: This -- yes, this states this --
    7   this result was significant, meaning a term of              7      increases may increase bleeding risk.
    8   statistical significance; correct?                          8   BY MR. HONNOLD:
    9      A. Yes. Yes.                                             9      Q. When you reviewed the materials for the first
   10      Q. And in terms of how "significant" is used in         10   time in this case and reviewed the labels that are cited
   11   that sentence, a fair reading of that would mean that it   11   in your reference list, did you notice that when you
   12   is -- it's nonspecific as to what definition is being      12   read through the labels?
   13   attached to the -- to the word "significant" in that       13      A. Yes.
   14   context; correct?                                          14      Q. You did?
   15           MS. HOFFMANN: Objection.                           15      A. Uh-huh.
   16           MS. WAY: Same.                                     16      Q. And did -- and given the fact that it was
   17           THE WITNESS: I don't know. I mean, I don't         17   something that you didn't understand, were you curious
   18      know if I would call it nonspecific. Like I said,       18   about it as to what it meant?
   19      significant, I'm not sure what they mean by that.       19      A. Not particularly, because it's not something --
   20   BY MR. HONNOLD:                                            20   there's a lot in this label, so there are many things in
   21      Q. Can you imagine a scenario where the issue of a      21   the label that we don't utilize every day in clinical
   22   patient's bleeding risk could be important to either the   22   practice, so not necessarily.
   23   patient or to the physician?                               23      Q. Does the label anywhere in its language inform
   24           MS. HOFFMANN: Objection.                           24   the prescribing physician how that increased risk of


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    1        MS. WAY: Same.                                         1   bleeding can be estimated or measured or determined?
    2        THE WITNESS: An issue of the bleeding risk             2      A. Not that I know of.
    3     could be important to them or me?                         3      Q. From your perspective as a prescribing
    4   BY MR. HONNOLD:                                             4   physician, if, in fact, there are certain things about
    5     Q. Yes.                                                   5   Xarelto, whether it's Xarelto exposure or other things,
    6        MS. HOFFMANN: Can you imagine any scenario?            6   that would influence or speak to an increased risk of
    7        MR. HONNOLD: (Nodding head.)                           7   bleeding, would that be something that you would like to
    8        MS. HOFFMANN: Object to form.                          8   know about?
    9        THE WITNESS: And this is not dealing with just         9         MS. HOFFMANN: Objection.
   10     Xarelto, just any anticoagulant?                         10         MS. WAY: Objection.
   11   BY MR. HONNOLD:                                            11         THE WITNESS: If there was something that could
   12     Q. Right.                                                12      increase the risk of bleeding with Xarelto?
   13     A. I think, as I -- as I would think about it,           13   BY MR. HONNOLD:
   14   risk of bleeding is important in anybody on                14      Q. Yes.
   15   anticoagulation.                                           15      A. I think possibly, because having any
   16     Q. And, in fact, it's -- it's what -- it is the          16   information about medications that we're using might be
   17   information that you infer from the INR when you take it   17   helpful.
   18   on a patient that's taking warfarin, right, to provide     18      Q. In your work on this case, in terms of anything
   19   you with information about bleeding risk; correct?         19   that you reviewed, have you seen any information to
   20        MS. HOFFMANN: Objection.                              20   suggest that there is any sort of laboratory test that
   21        THE WITNESS: On the INR for warfarin, I think         21   speaks to or measures the anticoagulant status or effect
   22     most people would equate it with that.                   22   of a patient on Xarelto?
   23   BY MR. HONNOLD:                                            23      A. There's nothing that is a sensitive marker or
   24     Q. And now when you look at the rivaroxaban label        24   anything reliable that I've seen that would give that


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    1   information.                                               1   there information in the rivaroxaban label that suggests
    2      Q. So if a physician wanted to know the                 2   that patients with renal insufficiency may also
    3   anticoagulant status of one of his or her patients on      3   experience a significantly increased level of
    4   Xarelto, you wouldn't know whether there's a laboratory    4   rivaroxaban exposure enough to increase their risk of
    5   test that can be done to determine that?                   5   bleeding?
    6      A. There's not one that's FDA approved, and             6         MS. HOFFMANN: Can you define "renal
    7   there's not one that's endorsed by the Chest Guidelines    7      insufficiency"? I mean, there's different
    8   that we follow.                                            8      insufficiency in the label.
    9      Q. Is there one that you're aware of generally          9         MR. HONNOLD: Insufficiency in the renal.
   10   that's mentioned in the literature in terms of things     10         THE WITNESS: In terms of VTE, not that I'm
   11   that you've run across or reviewed in this case?          11      aware of.
   12      A. Not that's reliable, no.                            12   BY MR. HONNOLD:
   13      Q. What factors do you know of or can you think of     13      Q. What about -- what about for other indications?
   14   that might influence a particular patient's rivaroxaban   14      A. I can -- if you point me to which section --
   15   exposure level?                                           15      Q. Sure.
   16          MS. WAY: Object to form.                           16      A. -- I can definitely look at it.
   17          THE WITNESS: I can't answer that since I'm not     17      Q. Let me look at it again.
   18      sure about the exposure level, what that is.           18      A. (Indicating.) Sorry. This back page came off.
   19   BY MR. HONNOLD:                                           19      Q. Okay. Thank you.
   20      Q. And just so I'm clear then, because -- because      20         Look at Section 5.4, please. So my question
   21   you aren't certain as to what the meaning or definition   21   is: Is there something in that part of the label that
   22   of "rivaroxaban exposure" is, you can't speak to what     22   says that variations in renal function may also affect
   23   the factors are that might increase it; is that true?     23   rivaroxaban exposure?
   24      A. Other than what's listed here. I mean, there's      24      A. So here in 5.4, it says, under treatment of DVT


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    1   a sentence here that says this may result in change in     1   and PE and reduction in risk recurrence, "Avoid the use
    2   rivaroxaban exposure, actually, is what it says.           2   of Xarelto in patients with creatinine clearance less
    3      Q. So drug interactions would be one thing that at      3   than 30 due to an" -- excuse me -- "due to an expected
    4   least the label tells you can influence rivaroxaban        4   increase in rivaroxaban exposure and pharmacodynamic
    5   exposure enough to increase the risk of bleeding;          5   effects in this patient population."
    6   correct?                                                   6     Q. Okay. And so in that section of the label, is
    7      A. That's what this says.                               7   "rivaroxaban exposure" defined?
    8      Q. Do you know why it is that the label suggests        8     A. No.
    9   that for patients with certain levels of renal function    9     Q. And in that section, is "pharmacodynamic
   10   that they take a lower dose of rivaroxaban?               10   effects" defined?
   11          MS. WAY: Object to the form.                       11     A. No.
   12          THE WITNESS: As far as I know, in                  12     Q. As you sit here as an expert witness in this
   13      the EINSTEIN-DVT and EINSTEIN-PE studies, that         13   case looking at that label, do you have any
   14      patients with certain levels of renal function were    14   understanding what that means, that as rivaroxaban
   15      not studied.                                           15   effects -- as rivaroxaban exposure increases, there can
   16   BY MR. HONNOLD:                                           16   also be an increase in pharmacodynamic effects? Do you
   17      Q. So is it true that as you read the EINSTEIN         17   know what that means?
   18   series of trials there was not an alternative dose that   18        MS. HOFFMANN: Object to the form.
   19   was employed for patients with renal insufficiency?       19        THE WITNESS: As I said earlier, no, I would --
   20          MS. HOFFMANN: Objection.                           20     we don't use these terms routinely in clinical
   21          THE WITNESS: Not that I saw in the EINSTEIN        21     practice.
   22      trials.                                                22   BY MR. HONNOLD:
   23   BY MR. HONNOLD:                                           23     Q. But they're used routinely in the label; right?
   24      Q. To your knowledge, as you sit here today, is        24        MS. HOFFMANN: Objection.


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    1         THE WITNESS: It is used in the label.                 1   this case, your view is, simply put, that a PT level in
    2   BY MR. HONNOLD:                                             2   a patient on rivaroxaban provides no information as to
    3      Q. More than once?                                       3   the patient's potential bleeding risk?
    4      A. Yes.                                                  4          MS. WAY: Objection.
    5      Q. Okay. And what are pharmacodynamic effects of         5          THE WITNESS: I don't think so, because all the
    6   a medication generally?                                     6      data I've looked at, PT is not a reliable indicator,
    7      A. Generally, again, with my limited knowledge, we       7      so I wouldn't want to use something that's not
    8   think about pharmacodynamics and pharmacokinetics           8      reliable.
    9   together, and maybe we're wrong when we discuss that,       9   BY MR. HONNOLD:
   10   but we're usually talking about how the drugs act. I       10      Q. Okay. And why is it that you say in terms of
   11   think that's -- to me, that's the most simplistic way      11   what you've read? What's the -- what is the source of
   12   that we think about it.                                    12   things that you've read that says PT is not a reliable
   13      Q. So pharmacodynamic effect speaks to how the          13   indicator of the anticoagulant effects of rivaroxaban?
   14   drug acts then. What's the most important way that         14      A. Some of the articles.
   15   rivaroxaban acts in the body?                              15      Q. And the explanation that those articles give as
   16      A. By inhibiting Factor Xa.                             16   to why it's not reliable, what are they?
   17      Q. Which does what?                                     17      A. Oh. So there are several articles I read. I
   18      A. Prevents the formation of clots.                     18   couldn't tell you all. I could tell you some, probably.
   19      Q. And depending upon the degree of Factor Xa           19   Because renal -- excuse me. Liver issues can affect PT,
   20   inhibition, what can that do to the risk of bleeding?      20   sepsis, something called DIC, disseminated intravascular
   21      A. I don't know if I could talk about the degree        21   coagulation, if somebody's malnourished, if they've been
   22   of Xa inhibition, because Factor Xa is only so much        22   on a lot of antibiotics, various things, and because
   23   around, so it's inhibited or not inhibited. So I don't     23   there's no standardized way of testing PT for use with
   24   know -- again, that would be a question that would be a    24   Xarelto.


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    1   higher level than a clinician, but I'm not sure I could     1     Q. Okay. So let's take those things out of the
    2   speak intelligently about that.                             2   equation. Okay? Let's talk about a hypothetical where
    3     Q. Do you have any understanding at all as to             3   we control for those things, all right, and let's look
    4   whether there's literature that speaks to whether           4   at a patient that you presume to be completely absent of
    5   increased levels of inhibition of Factor Xa can             5   any of those medical conditions that you talked about,
    6   correspond to an increased risk of bleeding?                6   whether it's sepsis, renal disease, liver disease,
    7     A. I'm not sure.                                          7   preexisting inherited disorders of anticoagulant, things
    8     Q. Is there any significance to you in a patient          8   of that nature.
    9   on Xarelto who on Day 1 would have a PT of 13 and three     9     A. Okay.
   10   days later have a PT of 26? Any significance at all in     10     Q. Do you understand what I'm saying?
   11   that change in laboratory data, to you?                    11     A. Yes.
   12        MS. HOFFMANN: Objection.                              12     Q. Okay. And now let's also talk about using a
   13        THE WITNESS: That would depend on what else is        13   laboratory that uses the same or constant level of PT
   14     going on with the patient.                               14   reagent. Are you familiar with what I'm talking about
   15   BY MR. HONNOLD:                                            15   there?
   16     Q. Okay. Tell me how.                                    16     A. I've heard -- yes, I've read.
   17     A. Well, PT is not a reliable indicator of               17     Q. So now assuming those things in the
   18   anticoagulant effects of Xarelto, so I wouldn't infer      18   hypothetical, are you also saying then that there would
   19   any meaning from that, but there are various disorders     19   be no clinical significance then under that scenario of
   20   and things that can cause patients' PT levels to be        20   a patient who on Day 1 would have a PT of 13 and on Day
   21   abnormal or be different.                                  21   3 or 4 would then have a PT of 26?
   22     Q. Okay. So from your perspective, based upon            22     A. I don't know what I could base that on since
   23   your training, education, and experience related to        23   that's hypothetical and knowing that there's no approved
   24   rivaroxaban, as well as the materials you've reviewed on   24   standardization for checking -- using PT, so I don't


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    1   know if I could answer that appropriately.                  1   people at Janssen and/or Bayer who did that work?
    2      Q. Have you read any information or materials in         2      A. I don't know.
    3   this case where there are authors who do state that         3      Q. If you wanted to undertake that project as a
    4   there are specific PT reagents that are accurate in         4   medical literature search or as a general research
    5   measuring a patient's anticoagulation status on             5   project, how would you go about it to determine whether
    6   rivaroxaban?                                                6   the medical literature contains information to suggest
    7      A. I don't remember reading any that said that it        7   that there are specific PT reagents that do relatively
    8   was reliable.                                               8   accurately speak to the anticoagulation status of a
    9      Q. Okay. So if you go to your reference list --          9   patient on rivaroxaban?
   10   because I just want to make sure that I understand.        10         MS. WAY: Objection.
   11   When you say that you've looked at stuff that says it's    11         THE WITNESS: As far as I know, I would go to
   12   not reliable, are there things that you're talking about   12      PubMed or one search engine and type in the
   13   other than what's in your reference list?                  13      variables that you mentioned, PT, Xarelto, some of
   14      A. No.                                                  14      those different things, to begin a search.
   15      Q. Okay. So in terms of the literature items in         15   BY MR. HONNOLD:
   16   your reference list, Nos. 1 through 36, are there any of   16      Q. And when you type those variables into PubMed,
   17   those that either by your memory, by publication, title,   17   it might generate for you a list of references; right?
   18   or author, that you know speak to or include some          18      A. Yes.
   19   discussion about whether or not there are any PT           19      Q. And as part of kind of assessing the results of
   20   reagents that do, in fact, speak to relatively             20   the search that you did, you might actually look at some
   21   accurately the anticoagulation status of a patient on      21   of the references; correct?
   22   rivaroxaban?                                               22      A. Yes.
   23         MS. HOFFMANN: Objection.                             23      Q. And what happens oftentimes when you do that
   24         THE WITNESS: I don't remember specifically if        24   work, you might find some references that start to sound


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    1      any of these -- I don't remember any of the articles     1   like each other; right?
    2      in this list stating specifically that there are         2          MS. WAY: Object to form.
    3      measures of PT that would be reliable and                3          THE WITNESS: Start to sound like each other.
    4      recommended for use.                                     4      Well, some are similar? Okay.
    5   BY MR. HONNOLD:                                             5   BY MR. HONNOLD:
    6      Q. But do they -- do they state the other, though?       6      Q. Yeah, somewhat similar, or cite -- their
    7   Do they say specifically that there aren't?                 7   bibliography cites similar references; correct?
    8      A. Yes.                                                  8      A. Yes.
    9      Q. Okay. So the general statement that you're            9      Q. There might be some that you find for whatever
   10   making that there are not -- there aren't reliable         10   reason aren't really on point or topic; right?
   11   reagents and that PT cannot be used to assess the          11      A. Yes.
   12   anticoagulant status of rivaroxaban, that information      12      Q. And you're able to kind of take that list of
   13   comes from your collective take-away from the -- the       13   the literature and kind of synthesize it and maybe come
   14   items in the reference list?                               14   up with some generalized -- a generalized statement as
   15      A. That's correct.                                      15   to the state of literature as to what it says on a
   16      Q. Have you yourself looked for other information       16   specific topic; correct?
   17   or literature that speaks to that issue?                   17          MS. WAY: Object to form.
   18      A. Beyond this, not that I can think of.                18          THE WITNESS: Yes.
   19      Q. You've not undertaken in your assignment or          19   BY MR. HONNOLD:
   20   work on this case to determine whether there is            20      Q. In fact, you've done that as part of your work
   21   literature that speaks to that issue; correct?             21   on this case; right?
   22      A. I have not.                                          22          MS. WAY: That's -- object to form.
   23      Q. Do you know whether in the evolution and             23          THE WITNESS: So I wouldn't say that, because
   24   approval process of rivaroxaban, whether there were        24      to me what you're describing is collecting


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    1     information for a literature review like submitting       1     articles I don't think would be prudent for this
    2     to an academic journal. That's not the same way           2     case.
    3     that I collected references for this, purposes of         3   BY MR. HONNOLD:
    4     this deposition.                                          4     Q. Okay. I'm not suggesting that. I'm not
    5   BY MR. HONNOLD:                                             5   suggesting there's 1,000 articles on the issue of
    6     Q. But in your report you have stated things that         6   rivaroxaban and PT and its usefulness in determining the
    7   are essentially a fair summary or recitation of the         7   anticoagulation status of a patient. It's not quite
    8   state of the literature, in your view?                      8   that many, but it's a lot. But you didn't look for
    9         MS. WAY: Brad, let me lodge an objection. If          9   them; right?
   10     you want to show him something in his report and ask     10        MS. WAY: Object to form.
   11     him about it, that's fine.                               11        MS. HOFFMANN: Didn't you ask him earlier if he
   12         MR. HONNOLD: Sure.                                   12     was asked to look at PT? I lost something in your
   13   BY MR. HONNOLD:                                            13     question. I thought your earlier question was, "You
   14     Q. As you look at your report, are there any areas       14     weren't asked to look at PT in the case."
   15   where you make a generalized statement and then cite to    15        MR. HONNOLD: I think the question that he just
   16   a -- a medical source?                                     16     answered is the one that I just asked, so if we want
   17     A. I'm not sure what you mean by that.                   17     to read that back, we can.
   18     Q. Sure. In your report, whether it's on page 3,         18        Go ahead.
   19   page 4, page 6 through 8, you are making -- page 10 --     19        THE COURT REPORTER: Okay.
   20   you are making some -- some statements, sometimes very     20        (The question was read by the reporter.)
   21   specific, sometimes more general, based upon things that   21        THE WITNESS: So the question is did I look for
   22   you found in the medical literature; correct?              22     articles with P --
   23     A. Yes.                                                  23   BY MR. HONNOLD:
   24     Q. You could similarly undertake that specific           24     Q. (Nodding head.)


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    1   task as it relates to the issue of PT and rivaroxaban if    1      A. So I can tell you I reviewed some articles
    2   you so chose; correct?                                      2   regarding PT and rivaroxaban.
    3          MS. HOFFMANN: Objection.                             3      Q. But you didn't look for -- to determine whether
    4          THE WITNESS: And review the literature               4   there's any others; right?
    5      regarding that?                                          5      A. No. I think that goes back to my other
    6   BY MR. HONNOLD:                                             6   statement that I didn't look to see how many were out
    7      Q. Yes.                                                  7   there.
    8      A. Yeah, I could review the literature.                  8      Q. Okay. The articles that you looked at were
    9      Q. Okay. And you could make some -- a summary            9   ones that you either had in your existing repository;
   10   statement about what you found; correct?                   10   right --
   11      A. Yes.                                                 11      A. Yes.
   12      Q. You weren't asked to do that in this case;           12      Q. -- or that were given to you by counsel; right?
   13   right?                                                     13      A. Correct.
   14      A. Well, I -- I think I did make summary                14      Q. Okay. Now, as you've assembled your literature
   15   statements about information that I reviewed.              15   repository on anticoagulation for VTE, you've not been
   16      Q. But you didn't look to the whole -- the whole        16   adding to it articles that speak to the issue of what
   17   universe of information that might be out there;           17   laboratory studies, whether it's PT or otherwise, that
   18   correct?                                                   18   may speak to the level of anticoagulation status of a
   19          MS. WAY: Objection.                                 19   patient on rivaroxaban; correct?
   20          THE WITNESS: I don't think that's possible.         20          MS. WAY: Object to form.
   21      There's -- well, anything's possible. I don't know      21          THE WITNESS: If I came across that article, I
   22      how doable that is, because you can find -- if you      22      would.
   23      go do a literature search, you can find 1,000           23   BY MR. HONNOLD:
   24      articles about any one topic. So reviewing 1,000        24      Q. Okay. In your repository, are there any such


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    1   articles that speak to that specifically?                   1   anticoagulation effect, plasma concentration level?
    2      A. Not that I know of.                                   2       A. It says here, "Dose-dependent inhibition of
    3      Q. Okay. And in the articles that counsel gave           3   Factor Xa activity was observed in humans and the
    4   you in your assignment on this case, are there any          4   Neoplastine PT, PTT, and HepTest are prolonged
    5   articles that speak to that specifically?                   5   dose-dependently."
    6      A. Some of the articles discuss PT and INR.              6       Q. What does that mean to you, that the
    7   Excuse me. PT and Xarelto use.                              7   Neoplastine PT is prolonged dose-dependently?
    8      Q. Based upon your review of the materials either        8       A. I'm not sure what that means, because that,
    9   from your repository or those that were provided to you     9   again, goes to the pharmacodynamic effects of the drugs,
   10   by counsel in this case, what is your understanding of     10   so I'm not sure what that would mean from a clinical
   11   the relationship between rivaroxaban, plasma               11   standpoint. I can see what it says, but I'm not sure
   12   concentration level, and the Neoplastine PT?               12   what it means clinically.
   13          MS. WAY: Object to the form.                        13       Q. As you look at that again, is there anything
   14          THE WITNESS: What I saw for Neoplastine PT is       14   there that suggests to you that the higher the
   15      that it is, again, not a reliable indicator and is      15   Neoplastine PT or the -- strike that.
   16      not recommended in the articles I reviewed, or in       16          Is there anything in Section 12.2 as you read
   17      the Chest Guidelines, or by the FDA, as a way to        17   it that suggests that the higher the plasma or serum
   18      measure rivaroxaban concentration.                      18   concentration level of rivaroxaban, then the higher the
   19   BY MR. HONNOLD:                                            19   Neoplastine PT?
   20      Q. So that's -- that's what's in the articles           20       A. No, I don't think so.
   21   that -- in your reference list, if there's mention of      21       Q. Okay. What does it -- what does it say then
   22   usefulness of Neoplastine PT on the -- on the issue of     22   when it says dose-dependent increase or dose-dependent
   23   the relationship to plasma concentration level, it's       23   effects in the Neoplastine PT? What does that mean to
   24   what you described?                                        24   you?


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    1     A. Yes.                                                   1          MS. WAY: Objection. Asked and answered.
    2     Q. Okay. Did you look -- did any of the articles          2          THE WITNESS: It doesn't mean anything to me
    3   that are on your reference list specifically state that     3      clinically.
    4   there is, in fact, a relationship of some type between      4   BY MR. HONNOLD:
    5   rivaroxaban, plasma concentration, and the Neoplastine      5      Q. Let's talk about not clinically then. Just in
    6   PT?                                                         6   terms of a trained physician, as you read that in the
    7     A. I don't remember if it said specifically if            7   context of reading English words and interpreting the
    8   there's a relationship. I just remember in the summary      8   meaning within the context of your medical education,
    9   of the articles that none of them recommended that it be    9   what does it mean?
   10   used routinely or -- and that it's not -- yeah, I          10          MS. HOFFMANN: Objection.
   11   believe that's how they made the summary statement when    11          MS. WAY: Objection.
   12   I saw it. It's not recommended to be used routinely,       12          THE WITNESS: So I'm a clinician, so I can only
   13   that it has been used in investigational purposes.         13      speak to how things relate to me clinically.
   14     Q. Okay. But in terms of whether or not there's a        14   BY MR. HONNOLD:
   15   relationship, you don't remember what it says about        15      Q. And so Section 12.2 says nothing to you
   16   that?                                                      16   clinically?
   17     A. I don't.                                              17      A. Not clinically, because I don't use
   18     Q. Okay. In the label before you, go to                  18   dose-dependent and pharmacodynamics in my routine
   19   Section 12.2.                                              19   clinical practice.
   20     A. 12.2. Yes.                                            20      Q. You mentioned before that you've looked at
   21     Q. Is there anything in Section 12.2 that as you         21   something that there's been investigational work done on
   22   read it speaks to the issue of whether there is a          22   rivaroxaban and certain PTs or research that looked into
   23   relationship between the Neoplastine PT and any other      23   it? You said something about that?
   24   aspect of rivaroxaban, whether it's exposure,              24          MS. HOFFMANN: Objection.


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    1          THE WITNESS: One of the articles I mentioned         1     time to time? In different patients? I don't know
    2      that said it had been used, or that it's been --         2     about that.
    3      maybe I should have said "looked at." I don't know       3   BY MR. HONNOLD:
    4      as far as an investigational. I just remember            4     Q. Okay.
    5      seeing it in one of the articles that I reviewed.        5         MS. HOFFMANN: In different patients or the
    6   BY MR. HONNOLD:                                             6     same patient? I thought you said the same patient.
    7      Q. We talked about warfarin before and increased         7   BY MR. HONNOLD:
    8   levels of INR in some circumstances suggesting an           8     Q. We said the same patient.
    9   increased risk of bleeding. Do you recall that?             9     A. Oh, I'm sorry. I thought you said different
   10      A. I do.                                                10   patient. Sorry.
   11      Q. Okay. And would you agree with me that the use       11     Q. Yeah.
   12   of the -- that the INR in a patient on warfarin does       12     A. In the same patient? I don't know if you're
   13   speak to the anticoagulant status of that patient on       13   looking at the half-life in a patient. Is that what
   14   warfarin?                                                  14   you're asking? Maybe I'm not understanding what you're
   15      A. Yes, I believe so.                                   15   asking.
   16      Q. And what you know about the INR is that, again,      16     Q. Is there -- is there any way known to you to
   17   in the same patient, let's control for diseases and        17   determine whether, on a sequential or serial basis,
   18   different laboratories and all of that, that in a given    18   whether the anticoagulant effect of rivaroxaban on a
   19   patient that you're monitoring on warfarin by using the    19   patient is different?
   20   INR, that generally the rule of thumb is that the higher   20     A. Not that I know of.
   21   the INR, the greater the anticoagulant effect that the     21     Q. Okay. Do you know whether it can be different
   22   drug is having on the patient?                             22   on a serial basis in the same patient from time to time,
   23          MS. HOFFMANN: Objection.                            23   whether Xarelto can have different levels of
   24          THE WITNESS: I believe that's correct.              24   anticoagulant effect on a patient?


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    1                                                               1         MS. HOFFMANN: Objection.
    2   BY MR. HONNOLD:                                             2         THE WITNESS: I don't know.
    3      Q. And why do you believe that's correct?                3   BY MR. HONNOLD:
    4      A. Just from what I know of the INR and the work         4      Q. If that is true, okay, if you just accept for
    5   that's been done, it's been standardized that it would      5   purposes of discussion that that's true, could that be
    6   be a measure of the effects of warfarin.                    6   something important to you as a physician to know?
    7      Q. So as you sit here today, can different               7         MS. HOFFMANN: Objection.
    8   patients have different levels of effect of rivaroxaban?    8         THE WITNESS: I don't know.
    9          MS. WAY: Objection.                                  9   BY MR. HONNOLD:
   10          MS. HOFFMANN: Objection.                            10      Q. Okay. For warfarin, it certainly is; correct?
   11          THE WITNESS: I think I would need to know,          11         MS. WAY: Object to form.
   12      what do you mean by "different patients"?               12         THE WITNESS: Warfarin and Xarelto are
   13   BY MR. HONNOLD:                                            13      different drugs, so I wouldn't -- I couldn't make
   14      Q. Well --                                              14      the same inference about Xarelto that I could about
   15      A. Or maybe I should say other different patient        15      warfarin.
   16   factors, you're saying, or just say Patient A and          16   BY MR. HONNOLD:
   17   Patient B without regarding factors?                       17      Q. I understand, but on the issue of -- for
   18      Q. Well, that's a good -- that's a good point.          18   warfarin patients, the anticoagulant effect of warfarin
   19   Let me ask it this way: Is there any way to determine      19   can vary from time to time in the same patient; correct?
   20   by way of laboratory test as to whether the                20      A. Yes, I think it can.
   21   anticoagulant effect of rivaroxaban on a patient varies    21      Q. And do you know whether it can vary from time
   22   from time to time?                                         22   to time in terms of rivaroxaban --
   23          MS. HOFFMANN: Objection.                            23      A. Don't know.
   24          THE WITNESS: Rivaroxaban effects vary from          24      Q. -- that being the anticoagulant effect?


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    1          You don't know?                                      1   Bayer employee by the last name of Spiro and the
    2      A. Don't know.                                           2   articles that he's written with Michael Samama,
    3      Q. And I may have asked you this before, but             3   S-a-m-a-m-a?
    4   I'm -- but just stick with me. I'm going to ask it          4      A. Spiro and Samama?
    5   again now in the context of the fact that we've             5      Q. Yes.
    6   discussed this now for some period of time.                 6      A. Not that I know of.
    7          So in a -- in a given patient, again, in the         7      Q. Okay. And none of their -- none of their joint
    8   absence of underlying disease, renal disease, liver         8   papers are listed on your reference list; is that right?
    9   disease, disorders of coagulation, using the same           9      A. Well, I'm looking at first authors. I don't
   10   laboratory, from your perspective as a clinician, is       10   see them as first authors.
   11   there any difference in that patient having a              11      Q. Samama would be a first author.
   12   Neoplastine PT of 13 versus a Neoplastine PT of 26?        12      A. Okay. No, I did not.
   13          MS. HOFFMANN: Objection.                            13      Q. In Ms. Mingo's case, is it possible that the
   14          THE WITNESS: I don't know. I can't tell you         14   fact that she was on an anticoagulant contributed to her
   15      if there's a difference.                                15   gastrointestinal bleed?
   16   BY MR. HONNOLD:                                            16         MS. HOFFMANN: Objection.
   17      Q. And to determine if there is or could be a           17         MS. WAY: Same.
   18   difference, you'd either have to talk to someone else or   18         THE WITNESS: Repeat the question, please.
   19   do some additional research?                               19   BY MR. HONNOLD:
   20          MS. WAY: Objection.                                 20      Q. Yeah. In Ms. Mingo's situation, is it possible
   21          THE WITNESS: For Xarelto?                           21   that the fact that she was on an anticoagulant
   22   BY MR. HONNOLD:                                            22   contributed to her gastrointestinal bleed?
   23      Q. Yes.                                                 23         MS. HOFFMANN: Objection.
   24      A. I don't know if there's a way, anything that's       24         THE WITNESS: I don't think so, because her


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    1   reliable or standardized to look at if there's a            1      bleed was due to an ulcer.
    2   difference. At least it's not recommended in our            2   BY MR. HONNOLD:
    3   guidelines, and nothing I've seen from the FDA has          3      Q. So is it your view of Ms. Mingo's case that if
    4   recommended using it.                                       4   she's not on rivaroxaban she has the same bleed in the
    5      Q. One thing that a prescriber, prescribing              5   same way in the same level of severity requiring the
    6   physician, can do with warfarin, if they -- if they         6   exact same care as it did when she was on rivaroxaban?
    7   determine that the anticoagulant effect of the drug has     7          MS. WAY: Object to form. That's a lot of
    8   increased on the patient, the dose can be monitored;        8      questions.
    9   correct?                                                    9          MR. HONNOLD: It is.
   10      A. The dose --                                          10          THE WITNESS: So you're saying if she had not
   11      Q. The dose can be changed?                             11      been on rivaroxaban, could she have had the same
   12      A. Yes, the dose can be changed.                        12      risk of bleeding from her ulcer?
   13      Q. And if need be, the drug can even be abandoned       13   BY MR. HONNOLD:
   14   either for one dose or for some longer period of time;     14      Q. And I mean the same bleed with the same
   15   correct?                                                   15   consequences, the same severity, requiring the same
   16      A. Correct.                                             16   treatment.
   17      Q. You're not aware of any information to suggest       17          MS. WAY: Same.
   18   that there might be some level of anticoagulation in a     18          THE WITNESS: Yes, she could have.
   19   patient on rivaroxaban where the medication might need     19   BY MR. HONNOLD:
   20   to be either temporarily stopped in terms of missing one   20      Q. Okay. But are you saying that she would have?
   21   dose or two or stopped for a longer duration?              21   Is that your -- is that what your opinion is in this
   22      A. Not that I know of. Not in VTE patients that I       22   case? I'm trying to figure out.
   23   know of.                                                   23      A. Would have? I don't know if I can say would
   24      Q. Have you ever read any of the writings by a          24   have. I can say that she -- I'm not sure what other way


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    1   to say this, could have, because we see patients who        1     Q. Dr. Jones told us in his deposition that there
    2   bleed all the time with ulcers who are not on any           2   probably was a time, in fact, that Ms. Mingo was able to
    3   anticoagulants. So I guess that's what I'm basing my        3   fully respond with the clotting cascade and it likely
    4   answer on. It may not be quite the way --                   4   did prevent her from bleeding as some -- prevent her
    5      Q. What are the possible effects or contributing         5   from bleeding at some point?
    6   factors that rivaroxaban might have had on the nature       6         MS. HOFFMANN: There's no question. You've
    7   and severity of Ms. Mingo's gastrointestinal bleed?         7     just made a statement.
    8      A. Okay. So rivaroxaban works as a blood thinner         8         MR. HONNOLD: Okay, and I'm going to ask a
    9   and as an anticoagulant, so it prevents clots from          9     question.
   10   forming. So -- let me think of the question.               10         MS. HOFFMANN: I'm sorry. You stopped.
   11          One way that it might have contributed -- so        11         MR. HONNOLD: Sometimes you get too excited.
   12   the first question you asked me, I thought "caused," but   12     See, you get afraid. You think that I'm not going
   13   never mind, you said "contributed" -- is it did its job.   13     to do what I'm supposed to do, but it must be
   14   It thinned the blood, it prevented clots from forming.     14     something --
   15   So when she started bleeding, she did not form a clot.     15         MS. HOFFMANN: No. Sometimes what happens is,
   16      Q. Okay. So that would be one way then that             16     not you, but people sometimes make a statement, and
   17   rivaroxaban contributed or influenced the nature and       17     then they pause, and the person that they're making
   18   severity of Ms. Mingo's GI bleed; correct?                 18     the statement to thinks they're supposed to respond
   19      A. It could have. So if I can go back, I know I         19     to it.
   20   said -- you asked me a question earlier, and now my        20         MR. HONNOLD: Okay.
   21   mind is -- my mind thought you said "did it cause it,"     21         MS. HOFFMANN: And I just want to make sure the
   22   but you said "contributing to," so now if I could -- I     22     doctor knows that in the absence of you posing a
   23   don't know if I can correct it or not, but I thought you   23     question, he need not respond.
   24   said "caused," but you said "contributed."                 24         MR. HONNOLD: Okay. Fair enough.


                                                    Page 203                                                        Page 205
    1     Q. What if I did say "caused"?                            1
    2     A. I would say my answer would be the same, that I        2   BY MR. HONNOLD:
    3   didn't think it caused.                                     3     Q. Okay. So are you aware of any medical facts in
    4     Q. Okay. But when I asked contributed, you gave           4   the medical records that you've looked at for Ms. Mingo
    5   me the answer that you gave me; correct?                    5   to suggest that at some point she might have had some
    6     A. Correct.                                               6   gastrointestinal bleeding and her body was or her body's
    7     Q. Okay. And the answer that you gave me                  7   coagulation cascade was functioning normally and she was
    8   suggested that there was something about being on           8   able to clot?
    9   rivaroxaban that altered the natural state of her           9         MS. HOFFMANN: Objection.
   10   coagulation, bodily coagulation function or the            10         THE WITNESS: I'm not quite sure how to answer
   11   coagulation cascade; right?                                11     that, because if -- as I think back to her medical
   12     A. Yes, that's what anticoagulants do.                   12     record, she had been on Lovenox for a week, she had
   13     Q. Okay. And in the absence of her being on              13     been on aspirin and was taking aspirin. She'd
   14   rivaroxaban, what would have happened would have been      14     gotten a dose of Coumadin. So I'm not sure how to
   15   that her Factor Xa would not have been inhibited and it    15     answer that. Could she have formed a clot before
   16   would have been active and viable in the clotting          16     all the anticoagulants were on board? Possibly.
   17   cascade and she would have been able to generate           17   BY MR. HONNOLD:
   18   thrombin; correct?                                         18     Q. Okay. Is it possible in Ms. Mingo's case that
   19     A. Possibly.                                             19   if she'd been taken off rivaroxaban a week before she
   20     Q. Okay. Are you -- do you have any awareness            20   had her acute bleed and went into the hospital and had
   21   that Ms. Mingo had any underlying disorder of              21   the endoscopy and the ulcer was discovered, is it
   22   coagulation that -- that stopped -- that inhibited her     22   possible that if she'd stopped taking rivaroxaban then
   23   from being able to make thrombin?                          23   that she would not have had this bleeding event? Is
   24     A. I didn't see any evidence of that.                    24   that possible?


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    1          MS. WAY: Objection.                                  1       A. Yes.
    2          MS. HOFFMANN: Objection.                             2       Q. In some patients gastrointestinal bleeding can
    3          THE WITNESS: It may be possible. I don't know        3   result in multisystem organ failure; correct?
    4       how likely it is.                                       4       A. Yes.
    5   BY MR. HONNOLD:                                             5       Q. In some patients severe gastrointestinal
    6       Q. You discussed before that patients on Xarelto        6   bleeding can result in cardiac instability; correct?
    7   can have serious and even in some occasions fatal           7       A. Yes.
    8   bleeding; correct?                                          8       Q. Sometimes can result in heart failure?
    9       A. Correct.                                             9       A. Congestive heart failure? I'm not sure if --
   10       Q. Can GI bleeding in some patients go on to be a      10       Q. How about cardiac arrest?
   11   medically severe condition?                                11       A. Okay. Yes.
   12       A. In some patients, it could be. In Ms. Mingo's       12       Q. Cardiac arrest can be induced by hypovolemia or
   13   case, it was not.                                          13   a reduction either in actual volume of flow to the heart
   14       Q. Okay. In some patients, are you aware that GI       14   or the level of oxygen provided to the heart muscle;
   15   bleeding can even lead to death?                           15   right?
   16       A. Yes, in some patients it can.                       16       A. Correct.
   17       Q. Have you reviewed any adverse event reports as      17       Q. If a severe gastrointestinal bleed can be
   18   it relates to rivaroxaban that make reports of patients    18   prevented in patients taking anticoagulants, you as a
   19   dying as a result of severe gastrointestinal bleeding?     19   physician would like to take reasonable steps to avoid
   20          MS. HOFFMANN: Objection.                            20   it; correct?
   21          THE WITNESS: Not VTE patients that I'm aware        21       A. Sorry. Repeat that question.
   22       of. Or -- so I haven't reviewed everything in the      22       Q. If a severe gastrointestinal bleed can be
   23       medical literature, but as far as I know, I have not   23   prevented in patients taking an anticoagulant, that is
   24       in VTE patients.                                       24   something that you as a physician would like to take


                                                      Page 207                                                  Page 209
    1                                                               1   reasonable steps to avoid; correct?
    2   BY MR. HONNOLD:                                             2      A. If we could do that, yes, but that's definitely
    3     Q. Have you ever seen VTE patients have severe            3   not something that's within our control.
    4   gastrointestinal bleeds as a result of the anticoagulant    4      Q. And your thought is that, as it relates to
    5   they're taking?                                             5   rivaroxaban, that's something that can't be in your
    6     A. Yes.                                                   6   control; right?
    7     Q. Okay. Have you ever dealt with a patient on            7          MS. WAY: Objection.
    8   rivaroxaban who had a severe gastrointestinal bleed?        8          THE WITNESS: As what relates to rivaroxaban?
    9        MS. HOFFMANN: Objection.                               9   BY MR. HONNOLD:
   10        THE WITNESS: What would you mean by "severe"?         10      Q. As it relates to rivaroxaban, there's no way to
   11   BY MR. HONNOLD:                                            11   know whether a patient is at an increased risk of having
   12     Q. What do you mean by "severe gastrointestinal          12   a gastrointestinal bleed; right?
   13   bleed"?                                                    13          MS. HOFFMANN: Objection.
   14     A. To me, severe gastrointestinal bleeds are             14          MS. WAY: Object to form.
   15   patients that are in the ICU, they're unstable, they're    15          THE WITNESS: So I wouldn't say that's just by
   16   in shock.                                                  16      rivaroxaban. There's no way to know if any patient
   17     Q. Have you seen patients like that before on            17      is at increased risk of GI bleeding with any
   18   rivaroxaban?                                               18      anticoagulant. Patients could be at increased risk
   19     A. I have not, actually.                                 19      of bleeding on an anticoagulant or not if they have
   20     Q. Okay. Have you seen patients like that taking         20      peptic ulcer disease.
   21   warfarin?                                                  21   BY MR. HONNOLD:
   22     A. I have.                                               22      Q. But in terms of the risk of GI bleeding in a
   23     Q. So in some patients gastrointestinal bleeding         23   patient that does have some underlying damage in their
   24   can result in shock; correct?                              24   mucosa of their gastrointestinal tract, if a patient has


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    1   an INR of 6, they have a greater risk of a GI bleed than    1            MS. WAY: And you went from 1 to 4.
    2   a patient not on warfarin at all; correct?                  2            MR. HONNOLD: Now I flummoxed myself, and I've
    3     A. For those warfarin patients, yes.                      3     now figured out something I want to do, and I just
    4     Q. And, in fact, a patient on warfarin with an --         4     need to find it.
    5   with an INR of 6, they have a greater risk of a GI bleed    5   BY MR. HONNOLD:
    6   at that site than a patient with an INR of 2; right?        6     Q. I'm going to hand you now what I previously
    7         MS. HOFFMANN: Objection.                              7   marked as Exhibit 3. Do you see that looks like a copy
    8         THE WITNESS: I don't know if there's really           8   of a package insert for Eliquis?
    9     that much of a linear correlation. Probably I would       9     A. Yes.
   10     say yes, but I don't know if you can say 2 versus 4      10     Q. Have you ever reviewed -- first, have you
   11     versus 6. Probably that's true, but I don't know if      11   reviewed that document as part of your work in this
   12     there's direct evidence that really shows that. I        12   case?
   13     think that's what most people would believe.             13     A. I have not reviewed specifically the Eliquis PI
   14   BY MR. HONNOLD:                                            14   for --
   15     Q. And your understanding about rivaroxaban is           15     Q. In the course of your practice taking care of
   16   that there isn't any laboratory tests that you can make    16   patients, do you think you ever would have reviewed or
   17   such a determination from; correct?                        17   become familiar with the Eliquis package insert?
   18     A. Correct.                                              18     A. Yes.
   19         MR. HONNOLD: Thank you, Doctor, for your time        19     Q. Have you ever sat down and done kind of a
   20     and courtesy. It's a pleasure meeting you.               20   section by section comparison of the differences in
   21         THE WITNESS: Thank you.                              21   information between the Eliquis package insert and the
   22         MR. HONNOLD: Take care.                              22   rivaroxaban package insert?
   23         MS. WAY: Can we take just a quick break?             23     A. I have not.
   24         MR. HONNOLD: Sure.                                   24     Q. In your practice, do you generally consider


                                                      Page 211                                                     Page 213
    1        THE VIDEOGRAPHER: The time now is 3:09 p.m.            1   them to be very similar drugs?
    2     We are off the record.                                    2      A. For the most part, yes.
    3        (Recess from 3:09 p.m. until 3:20 p.m.)                3      Q. Okay. Are there particular patient situations,
    4        THE VIDEOGRAPHER: The time is 3:20 p.m. We're          4   though, where you would intentionally or consciously
    5     back on the record.                                       5   prescribe one of them over another for a particular
    6        MS. WAY: We'll read and sign and reserve our           6   patient?
    7     questions for trial.                                      7      A. Two things come to mind. Sometimes one
    8        MR. HONNOLD: Would you all care if I asked one         8   insurance company covers one and not the other.
    9     more quick question? There was some -- there was an       9         The second thing that comes to mind is
   10     exhibit I marked and I forgot to mention it, and         10   sometimes some patients do much better with once daily.
   11     there's -- do you care? It's not going to be --          11   I should have stated it a lot of patients do better with
   12        MS. WAY: That's fine.                                 12   once daily oral medications than twice daily. Not the
   13        MR. HONNOLD: -- revolutionary or                      13   same for everybody, so I think it would be on a case by
   14     groundbreaking in any way. I marked something as         14   case basis.
   15     Exhibit 3. Is that --                                    15      Q. And when you say they do better, do they do
   16        MS. WAY: You didn't.                                  16   better in terms of efficacy or safety, or just in terms
   17        MS. HOFFMANN: You pulled it back. It was              17   of their ability to take their medicine?
   18     another package insert.                                  18      A. Compliance with the ability to take medicine.
   19        MR. HONNOLD: I put a sticker on it. I put             19      Q. Other than those two things that you mentioned,
   20     a -- where did I put it?                                 20   whether it's third party payment information or issues
   21        MS. HOFFMANN: You started to. It was a                21   of compliance for some patients, do you generally
   22     package insert. You started out with two product         22   consider them to be very similar drugs?
   23     labels.                                                  23      A. I think so, yes.
   24        MR. HONNOLD: And I said, "Strike that."               24      Q. And would you prescribe them for the same


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    1    medical conditions in -- in similar patients?                   1               INSTRUCTIONS TO WITNESS
    2       A. Yes.                                                      2
    3       Q. Okay. You view them -- but for what you                   3
    4    mentioned, you view them as being interchangeable?              4         Please read your deposition over carefully and
    5           MS. HOFFMANN: Objection.                                 5    make any necessary corrections. You should state the
    6           MS. WAY: Objection.                                      6    reason in the appropriate space on the errata sheet for
    7    BY MR. HONNOLD:                                                 7    any corrections that are made.
    8       Q. In your practice?                                         8
    9       A. Interchangeable or used for the -- I'm not sure           9         After doing so, please sign the errata sheet
   10    what you mean by "interchangeable."                            10    and date it. It will be attached to your deposition.
   11       Q. Well, do you identify significant distinctions           11
   12    between them for any reason?                                   12          It is imperative that you return the original
   13       A. Other than the dosing, I don't think so.                 13    errata sheet to the deposing attorney within thirty (30)
   14           MR. HONNOLD: Okay. That's all the questions I           14    days of receipt of the deposition transcript by you. If
   15       have for you. Thank you, Doctor.                            15    you fail to do so, the deposition transcript may be
   16           THE VIDEOGRAPHER: The time now is 3:22 p.m.             16    deemed to be accurate and may be used in court.
   17       Today's deposition of Dr. Demondes Haynes,                  17
   18       consisting of five disks, is now completed.                 18
   19           (Whereupon, the deposition concluded at                 19
   20    3:22 p.m.)                                                     20
   21                                                                   21
   22                                                                   22
   23                                                                   23
   24                                                                   24


                                                             Page 215                                                 Page 217
    1               CERTIFICATE                                          1              ------
    2                                                                    2              ERRATA
    3         I, JOAN L. PITT, Registered Merit Reporter,                3              ------
    4   Certified Realtime Reporter, and Florida Professional            4   PAGE LINE CHANGE
    5   Reporter, do hereby certify that, pursuant to notice,            5   ____ ____ _________________________________________
    6   the deposition of DEMONDES HAYNES, MD, was duly taken on         6   REASON: _____________________________________________
    7   February 14, 2017, at 9:14 a.m., before me.                      7   ____ ____ _________________________________________
    8         The said DEMONDES HAYNES, MD, was duly sworn by            8   REASON: _____________________________________________
    9   me according to law to tell the truth, the whole truth,          9   ____ ____ _________________________________________
   10   and nothing but the truth, and thereupon did testify as         10   REASON: _____________________________________________
   11   set forth in the above transcript of testimony. The             11   ____ ____ _________________________________________
   12   testimony was taken down by me stenographically. I do           12   REASON: _____________________________________________
   13   further certify that the above deposition is full,              13   ____ ____ _________________________________________
   14   complete, and a true record of all the testimony given          14   REASON: _____________________________________________
   15   by the said witness.                                            15   ____ ____ _________________________________________
   16                                                                   16   REASON: _____________________________________________
   17         _____________________________________________             17   ____ ____ _________________________________________
   18         JOAN L. PITT, RMR, CRR, FPR                               18   REASON: _____________________________________________
   19                                                                   19   ____ ____ _________________________________________
   20         (The foregoing certification of this transcript           20   REASON: _____________________________________________
   21   does not apply to any reproduction of the same by any           21   ____ ____ _________________________________________
   22   means, unless under the direct control and/or                   22   REASON: _____________________________________________
   23   supervision of the certifying reporter.)                        23   ____ ____ _________________________________________
   24                                                                   24   REASON: _____________________________________________



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    1            ACKNOWLEDGMENT OF DEPONENT
    2
    3        I, ______________________________, do hereby
    4   acknowledge that I have read the foregoing pages,
    5   1 - 219, and that the same is a correct transcription of
    6   the answers given by me to the questions therein
    7   propounded, except for the corrections or changes in
    8   form or substance, if any, noted in the attached Errata
    9   Sheet.
   10
   11
   12   ________________________________ ________________
   13   DEMONDES HAYNES, MD                      DATE
   14
   15
   16
   17
   18   Subscribed and sworn to before me this
   19   ____ day of ______________, 20___.
   20   My Commission expires: _________________
   21
   22   ________________________________________
        Notary Public
   23
   24


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    1                   LAWYER'S NOTES
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